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                                 Exhibit A
    Case 8:19-mc-00005-AG-DFM Document 26-1 Filed 10/12/18 Page 2 of 185 Page ID #:401


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                10 Costa Mesa, CA 92626-1925
                   Tel: (714) 540-1235
                11 Fax: (714) 755-8290
                12 Attorneys for Defendant
                   Steven A. Sugarman
                13
                14                      UNITED STATES DISTRICT COURT
                15                     CENTRAL DISTRICT OF CALIFORNIA
                16
                17 IN RE BANC OF CALIFORNIA               CASE NO. 8:17-00118-AG-DFM
                   SECURITIES LITIGATION                  consolidated with
                18                                        CASE NO. 8:17-cv-00138-AG-DFM
                19                                        DEFENDANT STEVEN A.
                                                          SUGARMAN’S NOTICE OF THIRD
                20                                        PARTY SUBPOENAS TO PRODUCE
                                                          DOCUMENTS
                21 This Document Relates to:
                22         ALL ACTIONS                    Judge:     Hon. Andrew J. Guilford
                                                          Courtroom: 10D
                23
                                                          Trial Date:   October 22, 2019
                24
                25
                26
                27
                28
                                                                         CASE NO. 8:17-cv-00118-AG-DFM
ATTORNEYS AT LAW
  LOS ANGELES
                                                                 NOTICE OF THIRD PARTY SUBPOENAS TO
                                                                                PRODUCE DOCUMENTS
    Case 8:19-mc-00005-AG-DFM Document 26-1 Filed 10/12/18 Page 3 of 185 Page ID #:402


                   1 TO ALL PARTIES AND THEIR RESPECTIVE COUNSEL OF RECORD:
                   2              PLEASE TAKE NOTICE that pursuant to Rule 45 of the Federal Rules of
                   3 Civil Procedure, Defendant Steven A. Sugarman in the above-captioned action will
                   4 promptly serve a Subpoena for Production of Documents in a Civil Action on the
                   5 following non-parties. True and correct copies of the Subpoenas are attached hereto as
                   6 Exhibits 1-10.
                   7
                   8               Non-Party                   Date/Time                 Location
                   9   Castalian Partners Value Fund LP,     August 8, 2018 First Legal Records c/o Metro
                10     c/o Harvard Business Services,        at 9:00 a.m.   Legal Services, Inc., 330
                       Inc.,                                                Second Ave. South, Ste. 150,
                11     16192 Coastal Highway, Lewes                         Minneapolis, MN 55401,
                12     Delaware 19958                                       (877) 591-9979
                13     James Gibson, LLC                     August 8, 2018 First Legal Records c/o Metro
                       200 Water Street, Suite 200           at 9:00 a.m.   Legal Services, Inc., 330
                14
                       Excelsior, MN 55331                                  Second Ave. South, Ste. 150,
                15                                                          Minneapolis, MN 55401,
                                                                            (877) 591-9979
                16
                17     Stevenson Capital Partners Limited August 8, 2018      First Legal Records c/o
                       Partnership, c/o Lawrence          at 9:00 a.m.        Beehive Attorney Service,
                18     Spielman SK8P, LLP                                     10808 S. River Front Pkwy,
                19     1745 Broadway, 18th Floor, New                         Ste. 3032, South Jordan, UT
                       York, NY 10019                                         84095, (877) 591-9979
                20
                       CSS, LLC, c/o Jennifer Zordani,       August 8, 2018    Latham & Watkins LLP
                21     120 N. La Salle Street, Suite 2000,   at 9:00 a.m.      330 North Wabash, Suite
                22     Chicago, IL 60602                                       2800
                                                                               Chicago, IL 60611
                23
                24     Adam J. Denno JT Ten,                 August 8, 2018 First Legal Records c/o
                25     3038 N Raleigh Street                 at 9:00 a.m.   Dispatch Legal Services, 5910
                       Denver, CO 80212                                     S. University Blvd., Unit C18-
                26                                                          146, Greenwood Village, CO
                27                                                          80121, (877) 591-9979

                28
                                                                                   CASE NO. 8:17-cv-00118-AG-DFM
ATTORNEYS AT LAW
  LOS ANGELES                                                    2         NOTICE OF THIRD PARTY SUBPOENAS TO
                                                                                          PRODUCE DOCUMENTS
    Case 8:19-mc-00005-AG-DFM Document 26-1 Filed 10/12/18 Page 4 of 185 Page ID #:403


                   1   Kalyn Matthews Denno,               August 8, 2018 First Legal Records c/o
                   2   3038 N Raleigh Street Denver, CO    at 9:00 a.m.   Dispatch Legal Services, 5910
                       80212                                              S. University Blvd., Unit C18-
                   3                                                      146, Greenwood Village, CO
                   4                                                      80121, (877) 591-9979
                   5   David Matthews,                     August 8, 2018 First Legal Records c/o
                       5638 Tremont Street, Dallas Texas   at 9:00 a.m.   Courier Management Systems,
                   6
                       75214                                              1150 Empire Central Place,
                   7                                                      Ste. 106-A, Dallas, TX 75247,
                                                                          (877) 591-9979
                   8
                   9   Gary Matthews,                      August 8, 2018 First Legal Records c/o
                                                                          Executive Investigative
                       5623 Suwanee Road, Fairway, KS      at 9:00 a.m.   Service, 927 S. Sunset Dr.,
                10     66205                                              Olathe, KS 66061, (877) 591-
                                                                          9979
                11
                12     Keith Allen Dilling,                August 8, 2018 First Legal Records c/o
                13     13208 Meandering Way,               at 9:00 a.m.   Courier Management Systems,
                       Dallas TX 75240                                    1150 Empire Central Place,
                14                                                        Ste. 106-A, Dallas, TX 75247,
                15                                                        (877) 591-9979
                16     Rosemary Norris Hall,               August 8, 2018 First Legal Records c/o
                       6848 Bandera Avenue, Apartment      at 9:00 a.m.   Courier Management Systems,
                17
                       237, Dallas, TX 75225                              1150 Empire Central Place,
                18                                                        Ste. 106-A, Dallas, TX 75247,
                                                                          (877) 591-9979
                19
                20     Michelman & Robinson                August 8, 2018 Latham & Watkins LLP
                       10880 Wilshire Boulevard            at 9:00 a.m.   355 S. Grand Ave., Suite 100
                21     19th Floor                                         Los Angeles, CA 90071
                22     Los Angeles, CA 90024

                23
                24
                25 Dated: July 17, 2018                        LATHAM & WATKINS LLP

                26                                             By: /s/ Kristen M. Tuey
                27                                                 Kristen M. Tuey

                28                                                 Attorneys for Defendant Steven A.
                                                                   Sugarman
                                                                               CASE NO. 8:17-cv-00118-AG-DFM
ATTORNEYS AT LAW
  LOS ANGELES                                                  3       NOTICE OF THIRD PARTY SUBPOENAS TO
                                                                                      PRODUCE DOCUMENTS
Case 8:19-mc-00005-AG-DFM Document 26-1 Filed 10/12/18 Page 5 of 185 Page ID #:404
Case 8:19-mc-00005-AG-DFM Document 26-1 Filed 10/12/18 Page 6 of 185 Page ID #:405




                      EXHIBIT 1
   Case 8:19-mc-00005-AG-DFM Document 26-1 Filed 10/12/18 Page 7 of 185 Page ID #:406
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Central District
                                                       __________ Districtofof
                                                                             California
                                                                               __________
        In re Banc of California Securities Litigation
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. SACV 17-00118 AG (DFMx)
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                               Castalian Partners Value Fund LP, c/o Harvard Business Services, Inc.,
                                              16192 Coastal Highway, Lewes Delaware 19958
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A



  Place: First Legal Records c/o Metro Legal Services, Inc., 330                        Date and Time:
           Second Ave. South, Ste. 150, Minneapolis, MN 55401,                                               08/08/2018 9:00 am
           (877) 591-9979

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/17/2018

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Kristen M. Tuey
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Defendant Steven A. Sugarman                                            , who issues or requests this subpoena, are:
Latham & Watkins LLP, 355 S. Grand Ave., Ste 100, Los Angeles, CA 90071, 213.485.1234, kristen.tuey@lw.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
   Case 8:19-mc-00005-AG-DFM Document 26-1 Filed 10/12/18 Page 8 of 185 Page ID #:407
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. SACV 17-00118 AG (DFMx)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
   Case 8:19-mc-00005-AG-DFM Document 26-1 Filed 10/12/18 Page 9 of 185 Page ID #:408
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           ATTACHMENT A

 I.         DEFINITIONS

            Unless otherwise stated, the terms set forth below are defined as follows:

            1.     “Affiliate” shall mean a person that directly, or indirectly through one or more

 intermediaries, controls or is controlled by, or is under common control with, the person

 specified.

            2.     “And” and “or” shall be construed either disjunctively or conjunctively, as

 necessary by the context, to bring within the scope of the definition, instruction, or request all

 responses that might otherwise be construed to be outside of its scope by any other construction.
            3.     The terms “all,” “any,” and “each” shall each be construed as encompassing any

 and all.

            4.     “Aurelius” shall mean the author listed on the byline of the blog

 post entitled “BANC: Extensive Ties to Notorious Fraudster Jason Galanis Make Shares Un-

 Investible,” posted on the website SeekingAlpha.com on October 18, 2016.

            5.     “Banc” shall collectively refer to Defendant Banc of California, Inc., Banc of

 California, N.A., and, without limitation, its predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf. As used

 herein, “Banc” shall be construed either disjunctively or conjunctively, to include Banc of

 California, Inc. individually as well as collectively with Banc of California, N.A. or any other

 affiliate, and as necessary by the context, to bring within the scope of the definition, instruction,

 or request all responses that might otherwise be construed to be outside of its scope by any other

 construction.

            6.     “Banc Securities” means any security, financial interest, preferred share, common

 share, option, note, treasury stock, bond, debenture, evidence of indebtedness, collateral trust

 certificate, transferable share, voting trust certificate or any other certificate of interest or

 participation (whether permanent, temporary or interim), or any warrant, contract, option

                           ATTACHMENT A TO SUBPOENA (DOCUMENTS) TO CASTALIAN PARTNERS
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 (including puts or calls), or right to subscribe to, purchase, borrow against, or sell any of the

 foregoing concerning Banc.

         7.      “Blog” refers to the blog post entitled “BANC: Extensive Ties to Notorious

 Fraudster Jason Galanis Make Shares Un-Investible,” posted on the website SeekingAlpha.com

 by “Aurelius” on October 18, 2016.

         8.      “Bloomberg News” shall mean Bloomberg News and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.
         9.      “Board” or “Boards” shall mean individually and collectively the Board of

 Directors of Banc of California, Inc. and Banc of California, N.A.

         10.     “Castalian Partners Value Fund, LP” shall mean Castalian Partners Value Fund,

 LP, and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on its behalf.

         11.     “Communication” or “communications” means e-mail, text message, letter

 (including attachments) or any other transmittal of information (in the form of facts, ideas,

 inquiries or otherwise).

         12.     “Concerning” means relating to, referring to, describing, evidencing, or

 constituting.

         13.     “COR Clearing” shall mean COR Clearing, LLC and, without limitation, its

 current or former predecessors, successors, parents, subsidiaries, affiliates, divisions, directors,

 officers, employees, principals, trustees, agents, representatives, consultants, internal and

 external attorneys, or any other person acting on their behalf.

         14.     “COR Securities Holdings” shall mean COR Securities Holdings, Inc. and,

 without limitation, its current or former predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

                        ATTACHMENT A TO SUBPOENA (DOCUMENTS) TO CASTALIAN PARTNERS
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 consultants, internal and external attorneys, or any other person acting on their behalf.

        15.      “CSS LLC” shall mean CSS LLC and, without limitation, its predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, employees, principals,

 trustees, agents, representatives, consultants, internal and external attorneys, or any other

 person acting on their behalf.

        16.      “Document” or “documents” is defined to mean all documents, electronically

 stored information, and tangible things in the broadest sense under Rule 34 of the Federal Rules

 of Civil Procedure, and shall mean anything that can be read, viewed, heard, or otherwise

 understood. Subject to and in accordance with the Instructions herein, “document” shall not be

 limited in any way with respect to medium, embodiment, or process of creation, generation, or

 reproduction; “document” shall include, without limitation, all preliminary, intermediate, and

 final versions thereof, as well as any notations, comments, and marginalia (handwritten or

 otherwise) appearing thereon or therein; “document” shall include originals (or high quality

 duplicates), all non-identical copies or drafts, and all attachments, exhibits, or similar items. Any

 document bearing on any sheet or side thereof, any marks, including, without limitation, initials,

 notations, comments, or marginalia of any character which are not part of the original text or

 reproduction thereof, shall be considered a separate document. Document or documents shall

 include without limitation any and all Communications.

        17.     “Electronic data” refers to any original and any non-identical copies (whether

 non-identical because of notes made on copies or attached comments, annotations, marks,

 transmission notations, or highlighting of any kind), mechanical, facsimile, electronic, magnetic,

 digital, or other programs (whether private, commercial, or work-in-progress), programming

 notes or instructions, activity listings of electronic mail or “e-mail” receipts or transmittals,

 output resulting from the use of any software program, including word processing documents,

 spreadsheets, database files, charts, graphs, and outlines, electronic mail, operating systems,

 source code of all types, programming languages, linkers and compilers, peripheral drives, PDF

 files, PRF files, batch files, ASCII files, crosswalks, code keys, pull down tables, logs, file

                        ATTACHMENT A TO SUBPOENA (DOCUMENTS) TO CASTALIAN PARTNERS
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 layouts, or any miscellaneous files or file fragments, regardless of the media on which they

 reside and regardless of whether said electronic data consists of an active file, backup file,

 deleted file, or file fragment. “Electronic data” also includes, without limitation, any items

 stored on computer memory or memories, hard drives, zip drives, CD-ROM discs or in any other

 vehicle for electronic or digital data storage or transmittal, files, folder tabs, or containers and

 labels appended to or associated with any physical storage device associated with each original

 and each copy.

         18.      “Endicott Management Co.” shall mean Endicott Management Company and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.
         19.      “FIG Partners” shall mean FIG Partners and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         20.      “G2 Trading LLC” shall mean G2 Trading LLC or G-2 Trading LLC and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         21.      “Galanis” shall mean Jason W. Galanis and any of his agents, representatives,

 consultants, attorneys, or any other person acting on his behalf.

         22.      “Alleged Galanis Entity” shall mean Gerova Financial Group, Ltd., Hughes

 Capital Management, LLC, Atlantic Asset Management LLC, Burnham Securities, Inc.,

 Burnham Financial Group, Burnham Asset Management Corporation, BAM Holdings, LLC,

 Thorsdale Fiduciary and Guaranty Company Ltd., Valor Group Ltd., Valorlife, Wealth

 Assurance Holdings Ltd., Wealth-Assurance AG, Wealth Assurance Private Client

 Corporation, Valorlife Lebensversicherungs AG, Holmby Capital Group, IP Global Investors

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 Ltd., Prospect Global Resources, Inc., Private Equity Management LLC, Malaga Asset

 Management, LLC, Stanwich Absolute Return, Ltd., Bel Air LLC, Emerging Markets Global

 Hedge Ltd., Little Giggles LLC, Galanis Family Trust, Rosemont Seneca Bohai LLC, BOE

 Capital LLC, BFG Socially Responsible Investing Limited, GMT Duncan LLC, COR Fund

 Advisors, and COR International, including, without limitation, any of their predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, principals, trustees,

 agents, representatives, consultants, attorneys, or any other person acting on their behalf.

 Nothing in this definition shall admit, concede, or suggest that Jason Galanis had any control

 over such entities.
         23.     “Investors” shall mean persons or entities who engage in TRANSACTIONS in

 SECURITIES and with respect to Castalian Partners Value Fund, LP, any individual or entity

 which invested in or owns a financial interest in Castalian Partners Value Fund, LP.

         24.     “JCSD Partners LP” shall mean JCSD Partners LP and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         25.      “KBW” shall mean Keefe, Bruyette & Woods, Inc. and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         26.     “Patriot Capital” shall mean Patriot Capital and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         27.     “Peak 6 Capital Management LLC” shall mean Peak 6 Capital Management,

 LLC and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

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 consultants, internal and external attorneys, or any other person acting on their behalf.

         28.      “PL Capital” shall mean PL Capital, LLC and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         29.     “Person” shall mean any natural person or any legal entity, including, without

 limitation, any business or governmental entity or association.

         30.     “Refer, reflect, or relate to” and similar terms, used together or alone, shall mean

 all information, facts, or documents that directly, indirectly, or in any other way support,

 concern, negate, bear upon, touch upon, incorporate, affect, include, pertain to, or are otherwise

 connected with the subject matter about which the request is made.
         31.      “Regulators” shall refer to the regulatory agencies responsible for

 overseeing the securities industry or banking industry, including without limitation the

 Federal Reserve Board, United States Department of the Treasury, the Office of the

 Comptroller of the Currency, or the Financial Industry Regulatory Authority (FINRA).

         32.      “SEC” shall mean the United States Securities and Exchange Commission,

 including all present or former officers, employees, directors, employees, agents,

 attorneys, advisors, accountants, consultants, and all other persons acting or purporting to

 act on its behalf.

         33.     “Securities” shall have the meaning set forth in the Securities Exchange Act of

 1934, 15 U.S.C. §§ 78a, et seq.

         34.     “Seeking Alpha” shall mean SeekingAlpha of SeekingAlpha.com, any of its

 direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present or former officers, employees, directors, employees, agents, advisors, and all other

 persons acting or purporting to act on its behalf.

         35.     “Shorts” shall mean INVESTORS engaged in the practice of short selling

 SECURITIES, including without limitation INVESTORS who sold BANC short in October

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 2016.

         36.      “Sparrow Fund Management” shall mean any of the following entities and

 their direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present and former officers, directors, employees, agents, advisors, and all other persons

 acting or purporting to act on their behalf, including Sparrow Fund Management LP,

 Sparrow Fund Management LLP, Sparrow GP, LLC, Sparrow Partners, LP, and Sparrow

 Fund Performance, LLC.

         37.     “Stifel” shall mean Stifel Financial Corp., any of its direct or indirect

 subsidiaries, divisions or affiliates, parents, predecessors, successors, present or former

 officers, employees, directors, employees, agents, advisors, and all other persons acting or

 purporting to act on its behalf.
         38.      “Sugarman” shall mean Steven A. Sugarman and any of his agents,

 representatives, consultants, attorneys, or any other person acting on his behalf.

         39.      “This action” shall mean the present lawsuit, In re Banc of California Securities

 Litigation, Case No. SACV 17-00118 AG (DFMx), pending in the United States District Court

 for the Central District of California.

         40.      “Transactions” shall mean any actual or attempted orders, purchases,

 acquisitions, sales, swaps, dispositions, tenders, donations, receipt, gifts, transfers, puts, calls,

 short sales, equities, debt, derivatives, or any other means by which YOU, whether for your

 own account or benefit or for the account or benefit of any other person, acquired or disposed

 of any interest in securities.

         41.     “Wellington Management” shall mean Wellington Management Company LLP

 and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         42.      “You,” or “your” means (a) Castalian Partners Value Fund, LP; (b) any owned,

 operated or affiliated predecessors, successors, parents, subsidiaries, affiliates, divisions,

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 advisors, partnerships, funds, investment vehicles owned, controlled by, associated with

 Castalian Partners Value Fund, LP or in which Castalian Partners Value Fund, LP invested

 (collectively “Castalian Affiliates”); and (c) any directors, officers, employees, agents, advisors,

 representatives, and all other persons acting or purporting to act on behalf of Castalian Partners

 Value Fund, LP or Castalian Affiliates.

        43.     As used herein, the use of the singular form of any word shall include the plural

 form of the same and vice versa.

 II.    INSTRUCTIONS
        1.      In responding to these requests, you shall produce all responsive documents

 which are in your possession, custody, or control, or in the possession, custody, or control of

 your predecessors, successors, partners, managing agents, agents, employees, accountants, or any

 other representative. A document shall be deemed to be within your control if you have the

 ability or right to secure the document or a copy of the document from another person having

 possession or custody of the document.

        2.      All documents should be produced: (a) as they are kept in the ordinary course of

 business, complete with legible copies of the labels of file folders, binders, containers, or other

 devices from which they were taken, or (b) organized according to the request to which they

 respond.

        3.      If any responsive document was, but no longer is, in your possession or subject to

 your control, state whether the document is: (a) missing or lost; (b) destroyed; (c) transferred

 voluntarily or involuntarily to others; or (d) otherwise disposed of, and in each instance identify

 the name and address of its current or last known custodian, and the circumstances surrounding

 such disposition.

        4.      If you claim any form of privilege or any other objection, whether based on

 statute, common law, or otherwise, as a ground for not producing any requested document,

 please furnish a list identifying each document for which the privilege or other objection is

 claimed together with the following information:

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                        a.      the privilege being asserted;

                        b.      the person on whose behalf the privilege is asserted;

                        c.      a precise statement of the facts upon which the claim of privilege is

                                based; and

                        d.      identify the purported privileged document, including:

                                (1)     its nature, e.g., letter, memorandum, tape, etc.;

                                (2)     the date it was prepared;

                                (3)     the date the document bears;
                                (4)     the date the document was sent;

                                (5)     the date it was received;

                                (6)     the name of the person who prepared the document;

                                (7)     the name(s) of the person(s) who received the document;

                                (8)     the name of each person to whom it was sent or was

                                        intended to be sent, including all addressees and all

                                        recipients of copies; and

                                (9)     a statement of whom each identified person represented or

                                        purported to represent at all relevant times.

        5.      If a portion of any document responsive to these requests is withheld under claim

 of privilege pursuant to Instruction 4, any non-privileged portion of such document must be

 produced with the portion claimed to be privileged redacted.

        6.      You are to produce each document requested herein in its entirety, without

 deletion or excision (except as qualified by Instructions 4 and 5 above) regardless of whether you

 consider the entire document to be relevant or responsive to the requests.

        7.      The singular of any term includes the plural, the use of one gender or pronoun

 shall include all others, as appropriate in the context, and the disjunctive shall include the

 conjunctive, and vice versa. Construe the terms “and” and “or” as used in this document in the

 conjunctive and disjunctive so as to produce the broadest scope of documents pursuant to each

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 request.

           8.      The requests herein are continuing so that any additional documents responsive to

 the requests herein that you acquire or discover, up to and including the time of trial, shall be

 furnished through prompt supplemental responses as required by Fed. R. Civ. P. 26(e). This

 paragraph shall not be construed to alter your obligations to comply with all other instructions

 herein.

 III.      RELEVANT TIME PERIOD

           Unless otherwise specifically indicated, the requests herein refer to the period from

 October 1, 2015 to April 30, 2017 (the “Relevant Period”), and shall include documents and

 information that relate to such period, even though prepared or published outside of the Relevant

 Period. If a document prepared before this period is necessary for a correct or complete

 understanding of any document covered by a request, you must produce the earlier document as

 well. If any document is undated and the date of its preparation cannot be determined, the

 document shall be produced if otherwise responsive to the request.
 IV.       DOCUMENT REQUESTS

           REQUEST NO. 1:

           All COMMUNICATIONS with BANC, or third parties representing BANC in connection

with the COMMUNICATION, including without limitation:

                • Non-disclosure agreements;

                • Due diligence materials obtained from BANC;

                • Documents regarding potential investments in BANC;

                • COMMUNICATIONS with BANC board members, officers, or other

                  representatives; and

                • COMMUNICATIONS regarding SUGARMAN, GALANIS, any ALLEGED

                  GALANIS ENTITY, AURELIUS, or Winston & Strawn LLP.

           REQUEST NO. 2:

           All DOCUMENTS that reflect YOUR TRANSACTIONS in BANC SECURITIES,

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including without limitation:

            • The total position YOU held in BANC SECURITIES at the end of the trading day

               of October 17, 2016;

            • The total amount of put options YOU held in BANC SECURITIES at the end of the

               trading day of October 17, 2016;

            • YOUR transactions in BANC SECURITIES on October 18, 19, 20, and 21, 2016,

               and throughout the Relevant Period; and

            • Documents sufficient to reflect or calculate the amount of profit YOU earned on all

               put options YOU held in BANC SECURITIES that were set to expire on or after

               October 21, 2016.

        REQUEST NO. 3:
        All DOCUMENTS that refer, reflect or relate to the basis for YOUR decision to engage

 in any TRANSACTIONS in BANC SECURITIES including without limitation:

            • All investment memorandum, emails, models, and other analysis relating to

               TRANSACTIONS in BANC SECURITIES;

            • All investment committee minutes, resolutions or other COMMUNICATIONS

               regarding any TRANSACTION in BANC SECURITIES; and

            • All research, investigations, analysis or reports prepared by YOU, private

               investigators, investigation research firms or other third parties regarding BANC,

               GALANIS, or any ALLEGED GALANIS ENTITY.

        REQUEST NO. 4:

        All DOCUMENTS and COMMUNICATIONS that refer, reflect or relate to the

BLOG or AURELIUS, including without limitation any COMMUNICATIONS with

AURELIUS or SEEKING ALPHA, and including without limitation any DOCUMENTS

relating to AURELIUS’s identity.

        REQUEST NO. 5:

        All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU

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 and any third party regarding BANC, SUGARMAN, GALANIS, ALLEGED GALANIS

 ENTITY, the BLOG, or AURELIUS, including without limitation COMMUNICATIONS

 between YOU and any of the following people or entities: BLOOMBERG NEWS, PEAK 6

 CAPITAL MANAGEMENT LLC, James Gibson, Gary Robert Mathews, CSS LLC, Keith

 Allen Dilling, David Mathews, Rosemary Norris Hall, Kalyn Mathews Denno, Adam Denno,

 JCSD PARTNERS LP, G2 TRADING LLC, Jacques Brousseau, Andrew Left, Michael David

 Gold, Kenneth Gold, Zeke Faux, Jenny Surane, Dakin Campbell, Eben Novy-Williams, Steven

 Didion, Richard Lashley, PL CAPITAL, W. Kirk Wycoff, PATRIOT CAPITAL, ENDICOTT

 MANAGEMENT CO., Basswood, Halle Bennett, KBW, STIFEL, Jeffrey Karish, Jonah Schnel,

 Robert Sznewajs, SUGARMAN, Francisco Turner, Jason Sugarman, Nathan Koppikar,

 SPARROW FUND MANAGEMENT, Andrew Secrist, Christopher Carroll, Tim Coffey, FIG

 PARTNERS, Thomas Michaud (or Thomas Beaulieu Michaud), BofI Holding Inc., COR

 CLEARING, COR SECURITIES HOLDINGS, Zeke Faux, Jenny Surane, Dakin Campbell, or

 GALANIS.

       REQUEST NO. 6:
      All COMMUNICATIONS with and DOCUMENTS that refer, reflect or relate to

GALANIS or any ALLEGED GALANIS ENTITY.

       REQUEST NO. 7:

      All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

COR CLEARING or COR SECURITIES HOLDINGS regarding BANC or SUGARMAN.

      REQUEST NO. 8:

      All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

Robbins Geller Rudman & Dowd, Bragar Eagel & Squire, P.C., Bronstein, Gewirtz & Grossman,

LLC, Faruqi & Faruqi, LLP, Glancy Prongay & Murray LLP, Goldberg Law PC, Hagens Berman

Sobol Shapiro LLP, Holzer & Holzer, LLC, Hynes Keller & Hernandez, LLC, Johnson & Weaver,

LLP, Khang & Khang LLP, Law Offices of Howard G. Smith, Levi & Korsinsky, LLP, Lifshitz &

Miller Law Firm, Lundin Law PC, Rosen Law Firm, the SEC, other REGULATORS, or other

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BANC INVESTORS or SHORTS, or any representatives thereof, relating to BANC or

SUGARMAN.

       REQUEST NO. 9:

       All CORRESPONDENCE with any of the following people or entities from 2013 to the

present: PATRIOT CAPITAL (including W. Kirk Wycoff); PL CAPITAL (including Richard

Lashley); Halle Benett, Jeffrey Karish, SUGARMAN, Francisco Turner, Jonah Schnel, Chad

Brownstein, COR CLEARING or its current or former employees, PEAK 6 CAPITAL

MANAGEMENT LLC, James Gibson, Nathan Koppikar, SPARROW FUND MANAGEMENT,

BLOOMBERG NEWS (or its journalists), or FIG PARTNERS.

       REQUEST NO. 10:
       All CORRESPONDENCE with any of the following people or entities: GALANIS, John

Galanis, Jared Galanis, Hugh Dunkerely, Gary T. Hirst, Bevan T. Cooney, Michelle A. Morton,

Devon D. Archer, Ymer Shahini, Derek Hamels, Francisco Martin or Monet Berger.

       REQUEST NO. 11:

       All INVESTORS in YOU as of October 18, 2016, including contact information sufficient

to identify the principals, addresses, and contact information associated with the INVESTOR.




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                   EXHIBIT 2
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                                         #:423
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Central District
                                                       __________ Districtofof
                                                                             California
                                                                               __________
        In re Banc of California Securities Litigation
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. SACV 17-00118 AG (DFMx)
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                James Gibson, LLC 200 Water Street, Suite 200 Excelsior, MN 55331

                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A



  Place: First Legal Records c/o Metro Legal Services, Inc., 330                        Date and Time:
           Second Ave. South, Ste. 150, Minneapolis, MN 55401,                                               08/08/2018 9:00 am
           (877) 591-9979

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/17/2018

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Kristen M. Tuey
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Defendant Steven A. Sugarman                                            , who issues or requests this subpoena, are:
Latham & Watkins LLP, 355 S. Grand Ave., Ste 100, Los Angeles, CA 90071, 213.485.1234, kristen.tuey@lw.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                                        #:424
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. SACV 17-00118 AG (DFMx)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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                                         #:425
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           ATTACHMENT A

 I.         DEFINITIONS

            Unless otherwise stated, the terms set forth below are defined as follows:

            1.     “Gibson,” “you,” or “your” shall mean James Gibson and any employees,

 agents, advisors, representatives, consultants, attorneys, and all other persons acting or

 purporting to act on your behalf.

            2.     “Affiliate” shall mean a person that directly, or indirectly through one or more

 intermediaries, controls or is controlled by, or is under common control with, the person

 specified.
            3.     “And” and “or” shall be construed either disjunctively or conjunctively, as

 necessary by the context, to bring within the scope of the definition, instruction, or request all

 responses that might otherwise be construed to be outside of its scope by any other construction.

            4.     The terms “all,” “any,” and “each” shall each be construed as encompassing any

 and all.

            5.     “Aurelius” shall mean the author listed on the byline of the blog

 post entitled “BANC: Extensive Ties to Notorious Fraudster Jason Galanis Make Shares Un-

 Investible,” posted on the website SeekingAlpha.com on October 18, 2016.

            6.     “Banc” shall collectively refer to Defendant Banc of California, Inc., Banc of

 California, N.A., and, without limitation, its predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf. As used

 herein, “Banc” shall be construed either disjunctively or conjunctively, to include Banc of

 California, Inc. individually as well as collectively with Banc of California, N.A. or any other

 affiliate, and as necessary by the context, to bring within the scope of the definition, instruction,

 or request all responses that might otherwise be construed to be outside of its scope by any other

 construction.

            7.     “Banc Securities” means any security, financial interest, preferred share, common

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 share, option, note, treasury stock, bond, debenture, evidence of indebtedness, collateral trust

 certificate, transferable share, voting trust certificate or any other certificate of interest or

 participation (whether permanent, temporary or interim), or any warrant, contract, option

 (including puts or calls), or right to subscribe to, purchase, borrow against, or sell any of the

 foregoing concerning Banc.

         8.      “Blog” refers to the blog post entitled “BANC: Extensive Ties to Notorious

 Fraudster Jason Galanis Make Shares Un-Investible,” posted on the website SeekingAlpha.com

 by “Aurelius” on October 18, 2016.
         9.      “Bloomberg News” shall mean Bloomberg News and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         10.      “Board” or “Boards” shall mean individually and collectively the Board of

 Directors of Banc of California, Inc. and Banc of California, N.A.

         11.     “Castalian Partners Value Fund, LP” shall mean Castalian Partners Value Fund,

 LP, and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on its behalf.

         12.      “Communication” or “communications” means e-mail, text message, letter

 (including attachments) or any other transmittal of information (in the form of facts, ideas,

 inquiries or otherwise).

         13.     “Concerning” means relating to, referring to, describing, evidencing, or

 constituting.

         14.     “COR Clearing” shall mean COR Clearing, LLC and, without limitation, its

 current or former predecessors, successors, parents, subsidiaries, affiliates, divisions, directors,

 officers, employees, principals, trustees, agents, representatives, consultants, internal and

 external attorneys, or any other person acting on their behalf.

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         15.     “COR Securities Holdings” shall mean COR Securities Holdings, Inc. and,

 without limitation, its current or former predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf.

         16.     “CSS LLC” shall mean CSS LLC and, without limitation, its predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, employees, principals,

 trustees, agents, representatives, consultants, internal and external attorneys, or any other

 person acting on their behalf.
         17.     “Document” or “documents” is defined to mean all documents, electronically

 stored information, and tangible things in the broadest sense under Rule 34 of the Federal Rules

 of Civil Procedure, and shall mean anything that can be read, viewed, heard, or otherwise

 understood. Subject to and in accordance with the Instructions herein, “document” shall not be

 limited in any way with respect to medium, embodiment, or process of creation, generation, or

 reproduction; “document” shall include, without limitation, all preliminary, intermediate, and

 final versions thereof, as well as any notations, comments, and marginalia (handwritten or

 otherwise) appearing thereon or therein; “document” shall include originals (or high quality

 duplicates), all non-identical copies or drafts, and all attachments, exhibits, or similar items. Any

 document bearing on any sheet or side thereof, any marks, including, without limitation, initials,

 notations, comments, or marginalia of any character which are not part of the original text or

 reproduction thereof, shall be considered a separate document. Document or documents shall

 include without limitation any and all Communications.

         18.     “Electronic data” refers to any original and any non-identical copies (whether

 non-identical because of notes made on copies or attached comments, annotations, marks,

 transmission notations, or highlighting of any kind), mechanical, facsimile, electronic, magnetic,

 digital, or other programs (whether private, commercial, or work-in-progress), programming

 notes or instructions, activity listings of electronic mail or “e-mail” receipts or transmittals,

 output resulting from the use of any software program, including word processing documents,

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 spreadsheets, database files, charts, graphs, and outlines, electronic mail, operating systems,

 source code of all types, programming languages, linkers and compilers, peripheral drives, PDF

 files, PRF files, batch files, ASCII files, crosswalks, code keys, pull down tables, logs, file

 layouts, or any miscellaneous files or file fragments, regardless of the media on which they

 reside and regardless of whether said electronic data consists of an active file, backup file,

 deleted file, or file fragment. “Electronic data” also includes, without limitation, any items

 stored on computer memory or memories, hard drives, zip drives, CD-ROM discs or in any other

 vehicle for electronic or digital data storage or transmittal, files, folder tabs, or containers and

 labels appended to or associated with any physical storage device associated with each original

 and each copy.
         19.      “Endicott Management Co.” shall mean Endicott Management Company and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         20.      “FIG Partners” shall mean FIG Partners and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         21.      “G2 Trading LLC” shall mean G2 Trading LLC or G-2 Trading LLC and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         22.      “Galanis” shall mean Jason W. Galanis and any of his agents, representatives,

 consultants, attorneys, or any other person acting on his behalf.

         23.      “Alleged Galanis Entity” shall mean Gerova Financial Group, Ltd., Hughes

 Capital Management, LLC, Atlantic Asset Management LLC, Burnham Securities, Inc.,

 Burnham Financial Group, Burnham Asset Management Corporation, BAM Holdings, LLC,

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 Thorsdale Fiduciary and Guaranty Company Ltd., Valor Group Ltd., Valorlife, Wealth

 Assurance Holdings Ltd., Wealth-Assurance AG, Wealth Assurance Private Client

 Corporation, Valorlife Lebensversicherungs AG, Holmby Capital Group, IP Global Investors

 Ltd., Prospect Global Resources, Inc., Private Equity Management LLC, Malaga Asset

 Management, LLC, Stanwich Absolute Return, Ltd., Bel Air LLC, Emerging Markets Global

 Hedge Ltd., Little Giggles LLC, Galanis Family Trust, Rosemont Seneca Bohai LLC, BOE

 Capital LLC, BFG Socially Responsible Investing Limited, GMT Duncan LLC, COR Fund

 Advisors, and COR International, including, without limitation, any of their predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, principals, trustees,

 agents, representatives, consultants, attorneys, or any other person acting on their behalf.

 Nothing in this definition shall admit, concede, or suggest that Jason Galanis had any control

 over such entities.
         24.     “Investors” shall mean persons or entities who engage in TRANSACTIONS in

 SECURITIES.

         25.     “JCSD Partners LP” shall mean JCSD Partners LP and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         26.      “KBW” shall mean Keefe, Bruyette & Woods, Inc. and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         27.     “Patriot Capital” shall mean Patriot Capital and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         28.     “Peak 6 Capital Management LLC” shall mean Peak 6 Capital Management,

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 LLC and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf.

         29.      “PL Capital” shall mean PL Capital, LLC and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         30.     “Person” shall mean any natural person or any legal entity, including, without

 limitation, any business or governmental entity or association.
         31.     “Refer, reflect, or relate to” and similar terms, used together or alone, shall mean

 all information, facts, or documents that directly, indirectly, or in any other way support,

 concern, negate, bear upon, touch upon, incorporate, affect, include, pertain to, or are otherwise

 connected with the subject matter about which the request is made.

         32.      “Regulators” shall refer to the regulatory agencies responsible for

 overseeing the securities industry or banking industry, including without limitation the

 Federal Reserve Board, United States Department of the Treasury, the Office of the

 Comptroller of the Currency, or the Financial Industry Regulatory Authority (FINRA).

         33.      “SEC” shall mean the United States Securities and Exchange Commission,

 including all present or former officers, employees, directors, employees, agents,

 attorneys, advisors, accountants, consultants, and all other persons acting or purporting to

 act on its behalf.

         34.     “Securities” shall have the meaning set forth in the Securities Exchange Act of

 1934, 15 U.S.C. §§ 78a, et seq.

         35.     “Seeking Alpha” shall mean SeekingAlpha of SeekingAlpha.com, any of its

 direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present or former officers, employees, directors, employees, agents, advisors, and all other

 persons acting or purporting to act on its behalf.

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         36.     “Shorts” shall mean INVESTORS engaged in the practice of short selling

 SECURITIES, including without limitation INVESTORS who sold BANC short in October

 2016.

         37.      “Sparrow Fund Management” shall mean any of the following entities and

 their direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present and former officers, directors, employees, agents, advisors, and all other persons

 acting or purporting to act on their behalf, including Sparrow Fund Management LP,

 Sparrow Fund Management LLP, Sparrow GP, LLC, Sparrow Partners, LP, and Sparrow

 Fund Performance, LLC.
         38.     “Stifel” shall mean Stifel Financial Corp., any of its direct or indirect

 subsidiaries, divisions or affiliates, parents, predecessors, successors, present or former

 officers, employees, directors, employees, agents, advisors, and all other persons acting or

 purporting to act on its behalf.

         39.      “Sugarman” shall mean Steven A. Sugarman and any of his agents,

 representatives, consultants, attorneys, or any other person acting on his behalf.

         40.      “This action” shall mean the present lawsuit, In re Banc of California Securities

 Litigation, Case No. SACV 17-00118 AG (DFMx), pending in the United States District Court

 for the Central District of California.

         41.      “Transactions” shall mean any actual or attempted orders, purchases,

 acquisitions, sales, swaps, dispositions, tenders, donations, receipt, gifts, transfers, puts, calls,

 short sales, equities, debt, derivatives, or any other means by which YOU, whether for your

 own account or benefit or for the account or benefit of any other person, acquired or disposed

 of any interest in securities.

         42.     “Wellington Management” shall mean Wellington Management Company LLP

 and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

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        43.     As used herein, the use of the singular form of any word shall include the plural

 form of the same and vice versa.

 II.    INSTRUCTIONS

        1.      In responding to these requests, you shall produce all responsive documents

 which are in your possession, custody, or control, or in the possession, custody, or control of

 your predecessors, successors, partners, managing agents, agents, employees, accountants, or any

 other representative. A document shall be deemed to be within your control if you have the

 ability or right to secure the document or a copy of the document from another person having

 possession or custody of the document.
        2.      All documents should be produced: (a) as they are kept in the ordinary course of

 business, complete with legible copies of the labels of file folders, binders, containers, or other

 devices from which they were taken, or (b) organized according to the request to which they

 respond.

        3.      If any responsive document was, but no longer is, in your possession or subject to

 your control, state whether the document is: (a) missing or lost; (b) destroyed; (c) transferred

 voluntarily or involuntarily to others; or (d) otherwise disposed of, and in each instance identify

 the name and address of its current or last known custodian, and the circumstances surrounding

 such disposition.

        4.      If you claim any form of privilege or any other objection, whether based on

 statute, common law, or otherwise, as a ground for not producing any requested document,

 please furnish a list identifying each document for which the privilege or other objection is

 claimed together with the following information:

                        a.      the privilege being asserted;

                        b.      the person on whose behalf the privilege is asserted;

                        c.      a precise statement of the facts upon which the claim of privilege is

                                based; and

                        d.      identify the purported privileged document, including:

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                                (1)     its nature, e.g., letter, memorandum, tape, etc.;

                                (2)     the date it was prepared;

                                (3)     the date the document bears;

                                (4)     the date the document was sent;

                                (5)     the date it was received;

                                (6)     the name of the person who prepared the document;

                                (7)     the name(s) of the person(s) who received the document;

                                (8)     the name of each person to whom it was sent or was

                                        intended to be sent, including all addressees and all

                                        recipients of copies; and
                                (9)     a statement of whom each identified person represented or

                                        purported to represent at all relevant times.

        5.      If a portion of any document responsive to these requests is withheld under claim

 of privilege pursuant to Instruction 4, any non-privileged portion of such document must be

 produced with the portion claimed to be privileged redacted.

        6.      You are to produce each document requested herein in its entirety, without

 deletion or excision (except as qualified by Instructions 4 and 5 above) regardless of whether you

 consider the entire document to be relevant or responsive to the requests.

        7.      The singular of any term includes the plural, the use of one gender or pronoun

 shall include all others, as appropriate in the context, and the disjunctive shall include the

 conjunctive, and vice versa. Construe the terms “and” and “or” as used in this document in the

 conjunctive and disjunctive so as to produce the broadest scope of documents pursuant to each

 request.

        8.      The requests herein are continuing so that any additional documents responsive to

 the requests herein that you acquire or discover, up to and including the time of trial, shall be

 furnished through prompt supplemental responses as required by Fed. R. Civ. P. 26(e). This

 paragraph shall not be construed to alter your obligations to comply with all other instructions

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 herein.

 III.      RELEVANT TIME PERIOD

           Unless otherwise specifically indicated, the requests herein refer to the period from

 October 1, 2015 to April 30, 2017 (the “Relevant Period”), and shall include documents and

 information that relate to such period, even though prepared or published outside of the Relevant

 Period. If a document prepared before this period is necessary for a correct or complete

 understanding of any document covered by a request, you must produce the earlier document as

 well. If any document is undated and the date of its preparation cannot be determined, the

 document shall be produced if otherwise responsive to the request.
 IV.       DOCUMENT REQUESTS

           REQUEST NO. 1:

           All COMMUNICATIONS with BANC, or third parties representing BANC in connection

with the COMMUNICATION, including without limitation:

              • Non-disclosure agreements;

              • Due diligence materials obtained from BANC;

              • Documents regarding potential investments in BANC;

              • COMMUNICATIONS with BANC board members, officers, or other

                 representatives; and

              • COMMUNICATIONS regarding SUGARMAN, GALANIS, any ALLEGED

                 GALANIS ENTITY, AURELIUS, or Winston & Strawn LLP.

           REQUEST NO. 2:

           All DOCUMENTS that reflect YOUR TRANSACTIONS in BANC SECURITIES,

including without limitation:

              • The total position YOU held in BANC SECURITIES at the end of the trading day

                 of October 17, 2016;

              • The total amount of put options YOU held in BANC SECURITIES at the end of the

                 trading day of October 17, 2016;

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           • YOUR transactions in BANC SECURITIES on October 18, 19, 20, and 21, 2016,

               and throughout the Relevant Period; and

           • Documents sufficient to reflect or calculate the amount of profit YOU earned on all

              put options YOU held in BANC SECURITIES that were set to expire on or after

              October 21, 2016.

        REQUEST NO. 3:

        All DOCUMENTS that refer, reflect or relate to the basis for YOUR decision to engage

 in any TRANSACTIONS in BANC SECURITIES including without limitation:

           • All investment memorandum, emails, models, and other analysis relating to

              TRANSACTIONS in BANC SECURITIES;

           • All investment committee minutes, resolutions or other COMMUNICATIONS

              regarding any TRANSACTION in BANC SECURITIES; and

           • All research, investigations, analysis or reports prepared by YOU, private

              investigators, investigation research firms or other third parties regarding BANC,

              GALANIS, or any ALLEGED GALANIS ENTITY.

        REQUEST NO. 4:
        All DOCUMENTS and COMMUNICATIONS that refer, reflect or relate to the

BLOG or AURELIUS, including without limitation any COMMUNICATIONS with

AURELIUS or SEEKING ALPHA, and including without limitation any DOCUMENTS

relating to AURELIUS’s identity.

        REQUEST NO. 5:

        All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU

 and any third party regarding BANC, SUGARMAN, GALANIS, ALLEGED GALANIS

 ENTITY, the BLOG, or AURELIUS, including without limitation COMMUNICATIONS

 between YOU and any of the following people or entities: BLOOMBERG NEWS, PEAK 6

 CAPITAL MANAGEMENT LLC, James Gibson, Gary Robert Mathews, CSS LLC, Keith

 Allen Dilling, David Mathews, Rosemary Norris Hall, Kalyn Mathews Denno, Adam Denno,

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 JCSD PARTNERS LP, G2 TRADING LLC, Jacques Brousseau, Andrew Left, Michael David

 Gold, Kenneth Gold, Zeke Faux, Jenny Surane, Dakin Campbell, Eben Novy-Williams, Steven

 Didion, Richard Lashley, PL CAPITAL, W. Kirk Wycoff, PATRIOT CAPITAL, ENDICOTT

 MANAGEMENT CO., Basswood, Halle Bennett, KBW, STIFEL, Jeffrey Karish, Jonah Schnel,

 Robert Sznewajs, SUGARMAN, Francisco Turner, Jason Sugarman, Nathan Koppikar,

 SPARROW FUND MANAGEMENT, Andrew Secrist, Christopher Carroll, Tim Coffey, FIG

 PARTNERS, Thomas Michaud (or Thomas Beaulieu Michaud), BofI Holding Inc., COR

 CLEARING, COR SECURITIES HOLDINGS, Zeke Faux, Jenny Surane, Dakin Campbell, or

 GALANIS.

       REQUEST NO. 6:
      All COMMUNICATIONS with and DOCUMENTS that refer, reflect or relate to

GALANIS or any ALLEGED GALANIS ENTITY.

       REQUEST NO. 7:

      All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

COR CLEARING or COR SECURITIES HOLDINGS regarding BANC or SUGARMAN.

      REQUEST NO. 8:

      All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

Robbins Geller Rudman & Dowd, Bragar Eagel & Squire, P.C., Bronstein, Gewirtz & Grossman,

LLC, Faruqi & Faruqi, LLP, Glancy Prongay & Murray LLP, Goldberg Law PC, Hagens Berman

Sobol Shapiro LLP, Holzer & Holzer, LLC, Hynes Keller & Hernandez, LLC, Johnson & Weaver,

LLP, Khang & Khang LLP, Law Offices of Howard G. Smith, Levi & Korsinsky, LLP, Lifshitz &

Miller Law Firm, Lundin Law PC, Rosen Law Firm, the SEC, other REGULATORS, or other

BANC INVESTORS or SHORTS, or any representatives thereof, relating to BANC or

SUGARMAN.

      REQUEST NO. 9:

      All CORRESPONDENCE with any of the following people or entities from 2013 to the

present: PATRIOT CAPITAL (including W. Kirk Wycoff); PL CAPITAL (including Richard

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Lashley); Halle Benett, Jeffrey Karish, SUGARMAN, Francisco Turner, Jonah Schnel, Chad

Brownstein, COR CLEARING or its current or former employees, PEAK 6 CAPITAL

MANAGEMENT LLC, James Gibson, Nathan Koppikar, SPARROW FUND MANAGEMENT,

CASTALIAN PARTNERS VALUE FUND, LP, BLOOMBERG NEWS (or its journalists), or FIG

PARTNERS.

       REQUEST NO. 10:

       All CORRESPONDENCE with any of the following people or entities: GALANIS, John

Galanis, Jared Galanis, Hugh Dunkerely, Gary T. Hirst, Bevan T. Cooney, Michelle A. Morton,

Devon D. Archer, Ymer Shahini, Derek Hamels, Francisco Martin or Monet Berger.




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                   EXHIBIT 3
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                                         #:440
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Central District
                                                       __________ Districtofof
                                                                             California
                                                                               __________
        In re Banc of California Securities Litigation
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. SACV 17-00118 AG (DFMx)
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                       Stevenson Capital Partners Limited Partnership, c/o Lawrence Spielman SK8P, LLP
                                           1745 Broadway, 18th Floor, New York, NY 10019
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A



  Place: First Legal Records c/o Beehive Attorney Service,                              Date and Time:
           10808 S. River Front Pkwy, Ste. 3032, South Jordan,                                               08/08/2018 9:00 am
           UT 84095, (877) 591-9979

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/17/2018

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Kristen M. Tuey
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Defendant Steven A. Sugarman                                            , who issues or requests this subpoena, are:
Latham & Watkins LLP, 355 S. Grand Ave., Ste 100, Los Angeles, CA 90071, 213.485.1234, kristen.tuey@lw.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                                        #:441
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. SACV 17-00118 AG (DFMx)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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                                         #:442
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           ATTACHMENT A

 I.         DEFINITIONS

            Unless otherwise stated, the terms set forth below are defined as follows:

            1.     “Affiliate” shall mean a person that directly, or indirectly through one or more

 intermediaries, controls or is controlled by, or is under common control with, the person

 specified.

            2.     “And” and “or” shall be construed either disjunctively or conjunctively, as

 necessary by the context, to bring within the scope of the definition, instruction, or request all

 responses that might otherwise be construed to be outside of its scope by any other construction.
            3.     The terms “all,” “any,” and “each” shall each be construed as encompassing any

 and all.

            4.     “Aurelius” shall mean the author listed on the byline of the blog

 post entitled “BANC: Extensive Ties to Notorious Fraudster Jason Galanis Make Shares Un-

 Investible,” posted on the website SeekingAlpha.com on October 18, 2016.

            5.     “Banc” shall collectively refer to Defendant Banc of California, Inc., Banc of

 California, N.A., and, without limitation, its predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf. As used

 herein, “Banc” shall be construed either disjunctively or conjunctively, to include Banc of

 California, Inc. individually as well as collectively with Banc of California, N.A. or any other

 affiliate, and as necessary by the context, to bring within the scope of the definition, instruction,

 or request all responses that might otherwise be construed to be outside of its scope by any other

 construction.

            6.     “Banc Securities” means any security, financial interest, preferred share, common

 share, option, note, treasury stock, bond, debenture, evidence of indebtedness, collateral trust

 certificate, transferable share, voting trust certificate or any other certificate of interest or

 participation (whether permanent, temporary or interim), or any warrant, contract, option

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 (including puts or calls), or right to subscribe to, purchase, borrow against, or sell any of the

 foregoing concerning Banc.

         7.      “Blog” refers to the blog post entitled “BANC: Extensive Ties to Notorious

 Fraudster Jason Galanis Make Shares Un-Investible,” posted on the website SeekingAlpha.com

 by “Aurelius” on October 18, 2016.

         8.      “Bloomberg News” shall mean Bloomberg News and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.
         9.      “Board” or “Boards” shall mean individually and collectively the Board of

 Directors of Banc of California, Inc. and Banc of California, N.A.

         10.     “Castalian Partners Value Fund, LP” shall mean Castalian Partners Value Fund,

 LP, and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on its behalf.

         11.     “Communication” or “communications” means e-mail, text message, letter

 (including attachments) or any other transmittal of information (in the form of facts, ideas,

 inquiries or otherwise).

         12.     “Concerning” means relating to, referring to, describing, evidencing, or

 constituting.

         13.     “COR Clearing” shall mean COR Clearing, LLC and, without limitation, its

 current or former predecessors, successors, parents, subsidiaries, affiliates, divisions, directors,

 officers, employees, principals, trustees, agents, representatives, consultants, internal and

 external attorneys, or any other person acting on their behalf.

         14.     “COR Securities Holdings” shall mean COR Securities Holdings, Inc. and,

 without limitation, its current or former predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

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 consultants, internal and external attorneys, or any other person acting on their behalf.

        15.      “CSS LLC” shall mean CSS LLC and, without limitation, its predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, employees, principals,

 trustees, agents, representatives, consultants, internal and external attorneys, or any other

 person acting on their behalf.

        16.      “Document” or “documents” is defined to mean all documents, electronically

 stored information, and tangible things in the broadest sense under Rule 34 of the Federal Rules

 of Civil Procedure, and shall mean anything that can be read, viewed, heard, or otherwise

 understood. Subject to and in accordance with the Instructions herein, “document” shall not be

 limited in any way with respect to medium, embodiment, or process of creation, generation, or

 reproduction; “document” shall include, without limitation, all preliminary, intermediate, and

 final versions thereof, as well as any notations, comments, and marginalia (handwritten or

 otherwise) appearing thereon or therein; “document” shall include originals (or high quality

 duplicates), all non-identical copies or drafts, and all attachments, exhibits, or similar items. Any

 document bearing on any sheet or side thereof, any marks, including, without limitation, initials,

 notations, comments, or marginalia of any character which are not part of the original text or

 reproduction thereof, shall be considered a separate document. Document or documents shall

 include without limitation any and all Communications.

        17.     “Electronic data” refers to any original and any non-identical copies (whether

 non-identical because of notes made on copies or attached comments, annotations, marks,

 transmission notations, or highlighting of any kind), mechanical, facsimile, electronic, magnetic,

 digital, or other programs (whether private, commercial, or work-in-progress), programming

 notes or instructions, activity listings of electronic mail or “e-mail” receipts or transmittals,

 output resulting from the use of any software program, including word processing documents,

 spreadsheets, database files, charts, graphs, and outlines, electronic mail, operating systems,

 source code of all types, programming languages, linkers and compilers, peripheral drives, PDF

 files, PRF files, batch files, ASCII files, crosswalks, code keys, pull down tables, logs, file

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 layouts, or any miscellaneous files or file fragments, regardless of the media on which they

 reside and regardless of whether said electronic data consists of an active file, backup file,

 deleted file, or file fragment. “Electronic data” also includes, without limitation, any items

 stored on computer memory or memories, hard drives, zip drives, CD-ROM discs or in any other

 vehicle for electronic or digital data storage or transmittal, files, folder tabs, or containers and

 labels appended to or associated with any physical storage device associated with each original

 and each copy.

         18.      “Endicott Management Co.” shall mean Endicott Management Company and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.
         19.      “FIG Partners” shall mean FIG Partners and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         20.      “G2 Trading LLC” shall mean G2 Trading LLC or G-2 Trading LLC and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         21.      “Galanis” shall mean Jason W. Galanis and any of his agents, representatives,

 consultants, attorneys, or any other person acting on his behalf.

         22.      “Alleged Galanis Entity” shall mean Gerova Financial Group, Ltd., Hughes

 Capital Management, LLC, Atlantic Asset Management LLC, Burnham Securities, Inc.,

 Burnham Financial Group, Burnham Asset Management Corporation, BAM Holdings, LLC,

 Thorsdale Fiduciary and Guaranty Company Ltd., Valor Group Ltd., Valorlife, Wealth

 Assurance Holdings Ltd., Wealth-Assurance AG, Wealth Assurance Private Client

 Corporation, Valorlife Lebensversicherungs AG, Holmby Capital Group, IP Global Investors

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 Ltd., Prospect Global Resources, Inc., Private Equity Management LLC, Malaga Asset

 Management, LLC, Stanwich Absolute Return, Ltd., Bel Air LLC, Emerging Markets Global

 Hedge Ltd., Little Giggles LLC, Galanis Family Trust, Rosemont Seneca Bohai LLC, BOE

 Capital LLC, BFG Socially Responsible Investing Limited, GMT Duncan LLC, COR Fund

 Advisors, and COR International, including, without limitation, any of their predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, principals, trustees,

 agents, representatives, consultants, attorneys, or any other person acting on their behalf.

 Nothing in this definition shall admit, concede, or suggest that Jason Galanis had any control

 over such entities.
         23.     “Investors” shall mean persons or entities who engage in TRANSACTIONS in

 SECURITIES and with respect to Stevenson Capital Partners Limited Partnership, any

 individual or entity which invested in or owns a financial interest in Stevenson Capital Partners

 Limited Partnership.

         24.     “JCSD Partners LP” shall mean JCSD Partners LP and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         25.      “KBW” shall mean Keefe, Bruyette & Woods, Inc. and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         26.     “Patriot Capital” shall mean Patriot Capital and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         27.     “Peak 6 Capital Management LLC” shall mean Peak 6 Capital Management,

 LLC and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

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 divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf.

         28.      “PL Capital” shall mean PL Capital, LLC and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         29.     “Person” shall mean any natural person or any legal entity, including, without

 limitation, any business or governmental entity or association.
         30.     “Refer, reflect, or relate to” and similar terms, used together or alone, shall mean

 all information, facts, or documents that directly, indirectly, or in any other way support,

 concern, negate, bear upon, touch upon, incorporate, affect, include, pertain to, or are otherwise

 connected with the subject matter about which the request is made.

         31.      “Regulators” shall refer to the regulatory agencies responsible for

 overseeing the securities industry or banking industry, including without limitation the

 Federal Reserve Board, United States Department of the Treasury, the Office of the

 Comptroller of the Currency, or the Financial Industry Regulatory Authority (FINRA).

         32.      “SEC” shall mean the United States Securities and Exchange Commission,

 including all present or former officers, employees, directors, employees, agents,

 attorneys, advisors, accountants, consultants, and all other persons acting or purporting to

 act on its behalf.

         33.     “Securities” shall have the meaning set forth in the Securities Exchange Act of

 1934, 15 U.S.C. §§ 78a, et seq.

         34.     “Seeking Alpha” shall mean SeekingAlpha of SeekingAlpha.com, any of its

 direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present or former officers, employees, directors, employees, agents, advisors, and all other

 persons acting or purporting to act on its behalf.

         35.     “Shorts” shall mean INVESTORS engaged in the practice of short selling

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 SECURITIES, including without limitation INVESTORS who sold BANC short in October

 2016.

         36.      “Sparrow Fund Management” shall mean any of the following entities and

 their direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present and former officers, directors, employees, agents, advisors, and all other persons

 acting or purporting to act on their behalf, including Sparrow Fund Management LP,

 Sparrow Fund Management LLP, Sparrow GP, LLC, Sparrow Partners, LP, and Sparrow

 Fund Performance, LLC.
         37.     “Stifel” shall mean Stifel Financial Corp., any of its direct or indirect

 subsidiaries, divisions or affiliates, parents, predecessors, successors, present or former

 officers, employees, directors, employees, agents, advisors, and all other persons acting or

 purporting to act on its behalf.

         38.      “Sugarman” shall mean Steven A. Sugarman and any of his agents,

 representatives, consultants, attorneys, or any other person acting on his behalf.

         39.      “This action” shall mean the present lawsuit, In re Banc of California Securities

 Litigation, Case No. SACV 17-00118 AG (DFMx), pending in the United States District Court

 for the Central District of California.

         40.      “Transactions” shall mean any actual or attempted orders, purchases,

 acquisitions, sales, swaps, dispositions, tenders, donations, receipt, gifts, transfers, puts, calls,

 short sales, equities, debt, derivatives, or any other means by which YOU, whether for your

 own account or benefit or for the account or benefit of any other person, acquired or disposed

 of any interest in securities.

         41.     “Wellington Management” shall mean Wellington Management Company LLP

 and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         42.      “You,” or “your” means (a) Stevenson Capital Partners Limited Partnership; (b)

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 any owned, operated or affiliated predecessors, successors, parents, subsidiaries, affiliates,

 divisions, advisors, partnerships, funds, investment vehicles owned, controlled by, associated

 with Stevenson Capital Partners Limited Partnership or in which Stevenson Capital Partners

 Limited Partnership invested (collectively “Stevenson Affiliates”); and (c) any directors,

 officers, employees, agents, advisors, representatives, and all other persons acting or purporting

 to act on behalf of Stevenson Capital Partners Limited Partnership or Stevenson Affiliates.

        43.     As used herein, the use of the singular form of any word shall include the plural

 form of the same and vice versa.
 II.    INSTRUCTIONS

        1.      In responding to these requests, you shall produce all responsive documents

 which are in your possession, custody, or control, or in the possession, custody, or control of

 your predecessors, successors, partners, managing agents, agents, employees, accountants, or any

 other representative. A document shall be deemed to be within your control if you have the

 ability or right to secure the document or a copy of the document from another person having

 possession or custody of the document.

        2.      All documents should be produced: (a) as they are kept in the ordinary course of

 business, complete with legible copies of the labels of file folders, binders, containers, or other

 devices from which they were taken, or (b) organized according to the request to which they

 respond.

        3.      If any responsive document was, but no longer is, in your possession or subject to

 your control, state whether the document is: (a) missing or lost; (b) destroyed; (c) transferred

 voluntarily or involuntarily to others; or (d) otherwise disposed of, and in each instance identify

 the name and address of its current or last known custodian, and the circumstances surrounding

 such disposition.

        4.      If you claim any form of privilege or any other objection, whether based on

 statute, common law, or otherwise, as a ground for not producing any requested document,

 please furnish a list identifying each document for which the privilege or other objection is

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 claimed together with the following information:

                        a.      the privilege being asserted;

                        b.      the person on whose behalf the privilege is asserted;

                        c.      a precise statement of the facts upon which the claim of privilege is

                                based; and

                        d.      identify the purported privileged document, including:

                                (1)     its nature, e.g., letter, memorandum, tape, etc.;

                                (2)     the date it was prepared;
                                (3)     the date the document bears;

                                (4)     the date the document was sent;

                                (5)     the date it was received;

                                (6)     the name of the person who prepared the document;

                                (7)     the name(s) of the person(s) who received the document;

                                (8)     the name of each person to whom it was sent or was

                                        intended to be sent, including all addressees and all

                                        recipients of copies; and

                                (9)     a statement of whom each identified person represented or

                                        purported to represent at all relevant times.

        5.      If a portion of any document responsive to these requests is withheld under claim

 of privilege pursuant to Instruction 4, any non-privileged portion of such document must be

 produced with the portion claimed to be privileged redacted.

        6.      You are to produce each document requested herein in its entirety, without

 deletion or excision (except as qualified by Instructions 4 and 5 above) regardless of whether you

 consider the entire document to be relevant or responsive to the requests.

        7.      The singular of any term includes the plural, the use of one gender or pronoun

 shall include all others, as appropriate in the context, and the disjunctive shall include the

 conjunctive, and vice versa. Construe the terms “and” and “or” as used in this document in the

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 conjunctive and disjunctive so as to produce the broadest scope of documents pursuant to each

 request.

           8.      The requests herein are continuing so that any additional documents responsive to

 the requests herein that you acquire or discover, up to and including the time of trial, shall be

 furnished through prompt supplemental responses as required by Fed. R. Civ. P. 26(e). This

 paragraph shall not be construed to alter your obligations to comply with all other instructions

 herein.

 III.      RELEVANT TIME PERIOD

           Unless otherwise specifically indicated, the requests herein refer to the period from

 October 1, 2015 to April 30, 2017 (the “Relevant Period”), and shall include documents and

 information that relate to such period, even though prepared or published outside of the Relevant

 Period. If a document prepared before this period is necessary for a correct or complete

 understanding of any document covered by a request, you must produce the earlier document as

 well. If any document is undated and the date of its preparation cannot be determined, the

 document shall be produced if otherwise responsive to the request.
 IV.       DOCUMENT REQUESTS

           REQUEST NO. 1:

           All COMMUNICATIONS with BANC, or third parties representing BANC in connection

with the COMMUNICATION, including without limitation:

                • Non-disclosure agreements;

                • Due diligence materials obtained from BANC;

                • Documents regarding potential investments in BANC;

                • COMMUNICATIONS with BANC board members, officers, or other

                  representatives; and

                • COMMUNICATIONS regarding SUGARMAN, GALANIS, any ALLEGED

                  GALANIS ENTITY, AURELIUS, or Winston & Strawn LLP.



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        REQUEST NO. 2:

        All DOCUMENTS that reflect YOUR TRANSACTIONS in BANC SECURITIES,

including without limitation:

            • The total position YOU held in BANC SECURITIES at the end of the trading day

               of October 17, 2016;

            • The total amount of put options YOU held in BANC SECURITIES at the end of the

               trading day of October 17, 2016;

            • YOUR transactions in BANC SECURITIES on October 18, 19, 20, and 21, 2016,

               and throughout the Relevant Period; and

            • Documents sufficient to reflect or calculate the amount of profit YOU earned on all

               put options YOU held in BANC SECURITIES that were set to expire on or after

               October 21, 2016.

        REQUEST NO. 3:
        All DOCUMENTS that refer, reflect or relate to the basis for YOUR decision to engage

 in any TRANSACTIONS in BANC SECURITIES including without limitation:

            • All investment memorandum, emails, models, and other analysis relating to

               TRANSACTIONS in BANC SECURITIES;

            • All investment committee minutes, resolutions or other COMMUNICATIONS

               regarding any TRANSACTION in BANC SECURITIES; and

            • All research, investigations, analysis or reports prepared by YOU, private

               investigators, investigation research firms or other third parties regarding BANC,

               GALANIS, or any ALLEGED GALANIS ENTITY.

        REQUEST NO. 4:

        All DOCUMENTS and COMMUNICATIONS that refer, reflect or relate to the

BLOG or AURELIUS, including without limitation any COMMUNICATIONS with

AURELIUS or SEEKING ALPHA, and including without limitation any DOCUMENTS

relating to AURELIUS’s identity.

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       REQUEST NO. 5:

       All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU

 and any third party regarding BANC, SUGARMAN, GALANIS, ALLEGED GALANIS

 ENTITY, the BLOG, or AURELIUS, including without limitation COMMUNICATIONS

 between YOU and any of the following people or entities: BLOOMBERG NEWS, PEAK 6

 CAPITAL MANAGEMENT LLC, James Gibson, Gary Robert Mathews, CSS LLC, Keith

 Allen Dilling, David Mathews, Rosemary Norris Hall, Kalyn Mathews Denno, Adam Denno,

 JCSD PARTNERS LP, G2 TRADING LLC, Jacques Brousseau, Andrew Left, Michael David

 Gold, Kenneth Gold, Zeke Faux, Jenny Surane, Dakin Campbell, Eben Novy-Williams, Steven

 Didion, Richard Lashley, PL CAPITAL, W. Kirk Wycoff, PATRIOT CAPITAL, ENDICOTT

 MANAGEMENT CO., Basswood, Halle Bennett, KBW, STIFEL, Jeffrey Karish, Jonah Schnel,

 Robert Sznewajs, SUGARMAN, Francisco Turner, Jason Sugarman, Nathan Koppikar,

 SPARROW FUND MANAGEMENT, Andrew Secrist, Christopher Carroll, Tim Coffey, FIG

 PARTNERS, Thomas Michaud (or Thomas Beaulieu Michaud), BofI Holding Inc., COR

 CLEARING, COR SECURITIES HOLDINGS, Zeke Faux, Jenny Surane, Dakin Campbell, or

 GALANIS.

       REQUEST NO. 6:
      All COMMUNICATIONS with and DOCUMENTS that refer, reflect or relate to

GALANIS or any ALLEGED GALANIS ENTITY.

       REQUEST NO. 7:

      All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

COR CLEARING or COR SECURITIES HOLDINGS regarding BANC or SUGARMAN.

      REQUEST NO. 8:

      All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

Robbins Geller Rudman & Dowd, Bragar Eagel & Squire, P.C., Bronstein, Gewirtz & Grossman,

LLC, Faruqi & Faruqi, LLP, Glancy Prongay & Murray LLP, Goldberg Law PC, Hagens Berman

Sobol Shapiro LLP, Holzer & Holzer, LLC, Hynes Keller & Hernandez, LLC, Johnson & Weaver,

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LLP, Khang & Khang LLP, Law Offices of Howard G. Smith, Levi & Korsinsky, LLP, Lifshitz &

Miller Law Firm, Lundin Law PC, Rosen Law Firm, the SEC, other REGULATORS, or other

BANC INVESTORS or SHORTS, or any representatives thereof, relating to BANC or

SUGARMAN.

       REQUEST NO. 9:

       All CORRESPONDENCE with any of the following people or entities from 2013 to the

present: PATRIOT CAPITAL (including W. Kirk Wycoff); PL CAPITAL (including Richard

Lashley); Halle Benett, Jeffrey Karish, SUGARMAN, Francisco Turner, Jonah Schnel, Chad

Brownstein, COR CLEARING or its current or former employees, PEAK 6 CAPITAL

MANAGEMENT LLC, James Gibson, Nathan Koppikar, SPARROW FUND MANAGEMENT,

BLOOMBERG NEWS (or its journalists), or FIG PARTNERS.

       REQUEST NO. 10:
       All CORRESPONDENCE with any of the following people or entities: GALANIS, John

Galanis, Jared Galanis, Hugh Dunkerely, Gary T. Hirst, Bevan T. Cooney, Michelle A. Morton,

Devon D. Archer, Ymer Shahini, Derek Hamels, Francisco Martin or Monet Berger.

       REQUEST NO. 11:

       All INVESTORS in YOU as of October 18, 2016, including contact information sufficient

to identify the principals, addresses, and contact information associated with the INVESTOR.




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                   EXHIBIT 4
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                                         #:457
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Central District
                                                       __________ Districtofof
                                                                             California
                                                                               __________
        In re Banc of California Securities Litigation
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. SACV 17-00118 AG (DFMx)
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                     CSS, LLC, c/o Jennifer Zordani, 120 N. La Salle Street, Suite 2000, Chicago, IL 60602

                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A



  Place: Latham & Watkins LLP                                                           Date and Time:
           330 North Wabash, Suite 2800                                                                      08/08/2018 9:00 am
           Chicago, IL 60611

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/17/2018

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Kristen M. Tuey
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Defendant Steven A. Sugarman                                            , who issues or requests this subpoena, are:
Latham & Watkins LLP, 355 S. Grand Ave., Ste 100, Los Angeles, CA 90071, 213.485.1234, kristen.tuey@lw.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. SACV 17-00118 AG (DFMx)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           ATTACHMENT A

 I.         DEFINITIONS

            Unless otherwise stated, the terms set forth below are defined as follows:

            1.     “Affiliate” shall mean a person that directly, or indirectly through one or more

 intermediaries, controls or is controlled by, or is under common control with, the person

 specified.

            2.     “And” and “or” shall be construed either disjunctively or conjunctively, as

 necessary by the context, to bring within the scope of the definition, instruction, or request all

 responses that might otherwise be construed to be outside of its scope by any other construction.
            3.     The terms “all,” “any,” and “each” shall each be construed as encompassing any

 and all.

            4.     “Aurelius” shall mean the author listed on the byline of the blog

 post entitled “BANC: Extensive Ties to Notorious Fraudster Jason Galanis Make Shares Un-

 Investible,” posted on the website SeekingAlpha.com on October 18, 2016.

            5.     “Banc” shall collectively refer to Defendant Banc of California, Inc., Banc of

 California, N.A., and, without limitation, its predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf. As used

 herein, “Banc” shall be construed either disjunctively or conjunctively, to include Banc of

 California, Inc. individually as well as collectively with Banc of California, N.A. or any other

 affiliate, and as necessary by the context, to bring within the scope of the definition, instruction,

 or request all responses that might otherwise be construed to be outside of its scope by any other

 construction.

            6.     “Banc Securities” means any security, financial interest, preferred share, common

 share, option, note, treasury stock, bond, debenture, evidence of indebtedness, collateral trust

 certificate, transferable share, voting trust certificate or any other certificate of interest or

 participation (whether permanent, temporary or interim), or any warrant, contract, option

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 (including puts or calls), or right to subscribe to, purchase, borrow against, or sell any of the

 foregoing concerning Banc.

         7.      “Blog” refers to the blog post entitled “BANC: Extensive Ties to Notorious

 Fraudster Jason Galanis Make Shares Un-Investible,” posted on the website SeekingAlpha.com

 by “Aurelius” on October 18, 2016.

         8.      “Bloomberg News” shall mean Bloomberg News and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.
         9.      “Board” or “Boards” shall mean individually and collectively the Board of

 Directors of Banc of California, Inc. and Banc of California, N.A.

         10.     “Castalian Partners Value Fund, LP” shall mean Castalian Partners Value Fund,

 LP, and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on its behalf.

         11.     “Communication” or “communications” means e-mail, text message, letter

 (including attachments) or any other transmittal of information (in the form of facts, ideas,

 inquiries or otherwise).

         12.     “Concerning” means relating to, referring to, describing, evidencing, or

 constituting.

         13.     “COR Clearing” shall mean COR Clearing, LLC and, without limitation, its

 current or former predecessors, successors, parents, subsidiaries, affiliates, divisions, directors,

 officers, employees, principals, trustees, agents, representatives, consultants, internal and

 external attorneys, or any other person acting on their behalf.

         14.     “COR Securities Holdings” shall mean COR Securities Holdings, Inc. and,

 without limitation, its current or former predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

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 consultants, internal and external attorneys, or any other person acting on their behalf.

        15.      “CSS LLC” shall mean CSS LLC and, without limitation, its predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, employees, principals,

 trustees, agents, representatives, consultants, internal and external attorneys, or any other

 person acting on their behalf.

        16.      “Document” or “documents” is defined to mean all documents, electronically

 stored information, and tangible things in the broadest sense under Rule 34 of the Federal Rules

 of Civil Procedure, and shall mean anything that can be read, viewed, heard, or otherwise

 understood. Subject to and in accordance with the Instructions herein, “document” shall not be

 limited in any way with respect to medium, embodiment, or process of creation, generation, or

 reproduction; “document” shall include, without limitation, all preliminary, intermediate, and

 final versions thereof, as well as any notations, comments, and marginalia (handwritten or

 otherwise) appearing thereon or therein; “document” shall include originals (or high quality

 duplicates), all non-identical copies or drafts, and all attachments, exhibits, or similar items. Any

 document bearing on any sheet or side thereof, any marks, including, without limitation, initials,

 notations, comments, or marginalia of any character which are not part of the original text or

 reproduction thereof, shall be considered a separate document. Document or documents shall

 include without limitation any and all Communications.

        17.     “Electronic data” refers to any original and any non-identical copies (whether

 non-identical because of notes made on copies or attached comments, annotations, marks,

 transmission notations, or highlighting of any kind), mechanical, facsimile, electronic, magnetic,

 digital, or other programs (whether private, commercial, or work-in-progress), programming

 notes or instructions, activity listings of electronic mail or “e-mail” receipts or transmittals,

 output resulting from the use of any software program, including word processing documents,

 spreadsheets, database files, charts, graphs, and outlines, electronic mail, operating systems,

 source code of all types, programming languages, linkers and compilers, peripheral drives, PDF

 files, PRF files, batch files, ASCII files, crosswalks, code keys, pull down tables, logs, file

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 layouts, or any miscellaneous files or file fragments, regardless of the media on which they

 reside and regardless of whether said electronic data consists of an active file, backup file,

 deleted file, or file fragment. “Electronic data” also includes, without limitation, any items

 stored on computer memory or memories, hard drives, zip drives, CD-ROM discs or in any other

 vehicle for electronic or digital data storage or transmittal, files, folder tabs, or containers and

 labels appended to or associated with any physical storage device associated with each original

 and each copy.

         18.      “Endicott Management Co.” shall mean Endicott Management Company and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.
         19.      “FIG Partners” shall mean FIG Partners and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         20.      “G2 Trading LLC” shall mean G2 Trading LLC or G-2 Trading LLC and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         21.      “Galanis” shall mean Jason W. Galanis and any of his agents, representatives,

 consultants, attorneys, or any other person acting on his behalf.

         22.      “Alleged Galanis Entity” shall mean Gerova Financial Group, Ltd., Hughes

 Capital Management, LLC, Atlantic Asset Management LLC, Burnham Securities, Inc.,

 Burnham Financial Group, Burnham Asset Management Corporation, BAM Holdings, LLC,

 Thorsdale Fiduciary and Guaranty Company Ltd., Valor Group Ltd., Valorlife, Wealth

 Assurance Holdings Ltd., Wealth-Assurance AG, Wealth Assurance Private Client

 Corporation, Valorlife Lebensversicherungs AG, Holmby Capital Group, IP Global Investors

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 Ltd., Prospect Global Resources, Inc., Private Equity Management LLC, Malaga Asset

 Management, LLC, Stanwich Absolute Return, Ltd., Bel Air LLC, Emerging Markets Global

 Hedge Ltd., Little Giggles LLC, Galanis Family Trust, Rosemont Seneca Bohai LLC, BOE

 Capital LLC, BFG Socially Responsible Investing Limited, GMT Duncan LLC, COR Fund

 Advisors, and COR International, including, without limitation, any of their predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, principals, trustees,

 agents, representatives, consultants, attorneys, or any other person acting on their behalf.

 Nothing in this definition shall admit, concede, or suggest that Jason Galanis had any control

 over such entities.
         23.     “Investors” shall mean persons or entities who engage in TRANSACTIONS in

 SECURITIES and with respect to CSS, LLC, any individual or entity which invested in or

 owns a financial interest in CSS, LLC.

         24.     “JCSD Partners LP” shall mean JCSD Partners LP and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         25.      “KBW” shall mean Keefe, Bruyette & Woods, Inc. and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         26.     “Patriot Capital” shall mean Patriot Capital and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         27.     “Peak 6 Capital Management LLC” shall mean Peak 6 Capital Management,

 LLC and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

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 consultants, internal and external attorneys, or any other person acting on their behalf.

         28.      “PL Capital” shall mean PL Capital, LLC and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         29.     “Person” shall mean any natural person or any legal entity, including, without

 limitation, any business or governmental entity or association.

         30.     “Refer, reflect, or relate to” and similar terms, used together or alone, shall mean

 all information, facts, or documents that directly, indirectly, or in any other way support,

 concern, negate, bear upon, touch upon, incorporate, affect, include, pertain to, or are otherwise

 connected with the subject matter about which the request is made.
         31.      “Regulators” shall refer to the regulatory agencies responsible for

 overseeing the securities industry or banking industry, including without limitation the

 Federal Reserve Board, United States Department of the Treasury, the Office of the

 Comptroller of the Currency, or the Financial Industry Regulatory Authority (FINRA).

         32.      “SEC” shall mean the United States Securities and Exchange Commission,

 including all present or former officers, employees, directors, employees, agents,

 attorneys, advisors, accountants, consultants, and all other persons acting or purporting to

 act on its behalf.

         33.     “Securities” shall have the meaning set forth in the Securities Exchange Act of

 1934, 15 U.S.C. §§ 78a, et seq.

         34.     “Seeking Alpha” shall mean SeekingAlpha of SeekingAlpha.com, any of its

 direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present or former officers, employees, directors, employees, agents, advisors, and all other

 persons acting or purporting to act on its behalf.

         35.     “Shorts” shall mean INVESTORS engaged in the practice of short selling

 SECURITIES, including without limitation INVESTORS who sold BANC short in October

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 2016.

         36.      “Sparrow Fund Management” shall mean any of the following entities and

 their direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present and former officers, directors, employees, agents, advisors, and all other persons

 acting or purporting to act on their behalf, including Sparrow Fund Management LP,

 Sparrow Fund Management LLP, Sparrow GP, LLC, Sparrow Partners, LP, and Sparrow

 Fund Performance, LLC.

         37.     “Stifel” shall mean Stifel Financial Corp., any of its direct or indirect

 subsidiaries, divisions or affiliates, parents, predecessors, successors, present or former

 officers, employees, directors, employees, agents, advisors, and all other persons acting or

 purporting to act on its behalf.
         38.      “Sugarman” shall mean Steven A. Sugarman and any of his agents,

 representatives, consultants, attorneys, or any other person acting on his behalf.

         39.      “This action” shall mean the present lawsuit, In re Banc of California Securities

 Litigation, Case No. SACV 17-00118 AG (DFMx), pending in the United States District Court

 for the Central District of California.

         40.      “Transactions” shall mean any actual or attempted orders, purchases,

 acquisitions, sales, swaps, dispositions, tenders, donations, receipt, gifts, transfers, puts, calls,

 short sales, equities, debt, derivatives, or any other means by which YOU, whether for your

 own account or benefit or for the account or benefit of any other person, acquired or disposed

 of any interest in securities.

         41.     “Wellington Management” shall mean Wellington Management Company LLP

 and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         42.      “You,” or “your” means (a) CSS, LLC; (b) any owned, operated or affiliated

 predecessors, successors, parents, subsidiaries, affiliates, divisions, advisors, partnerships, funds,

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 investment vehicles owned, controlled by, associated with CSS, LLC or in which CSS, LLC

 (collectively “CSS Affiliates”); and (c) any directors, officers, employees, agents, advisors,

 representatives, and all other persons acting or purporting to act on behalf of CSS, LLC or CSS

 Affiliates.

         43.    As used herein, the use of the singular form of any word shall include the plural

 form of the same and vice versa.

 II.     INSTRUCTIONS

         1.     In responding to these requests, you shall produce all responsive documents

 which are in your possession, custody, or control, or in the possession, custody, or control of

 your predecessors, successors, partners, managing agents, agents, employees, accountants, or any

 other representative. A document shall be deemed to be within your control if you have the

 ability or right to secure the document or a copy of the document from another person having

 possession or custody of the document.
         2.     All documents should be produced: (a) as they are kept in the ordinary course of

 business, complete with legible copies of the labels of file folders, binders, containers, or other

 devices from which they were taken, or (b) organized according to the request to which they

 respond.

         3.     If any responsive document was, but no longer is, in your possession or subject to

 your control, state whether the document is: (a) missing or lost; (b) destroyed; (c) transferred

 voluntarily or involuntarily to others; or (d) otherwise disposed of, and in each instance identify

 the name and address of its current or last known custodian, and the circumstances surrounding

 such disposition.

         4.     If you claim any form of privilege or any other objection, whether based on

 statute, common law, or otherwise, as a ground for not producing any requested document,

 please furnish a list identifying each document for which the privilege or other objection is

 claimed together with the following information:

                        a.      the privilege being asserted;

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                        b.      the person on whose behalf the privilege is asserted;

                        c.      a precise statement of the facts upon which the claim of privilege is

                                based; and

                        d.      identify the purported privileged document, including:

                                (1)     its nature, e.g., letter, memorandum, tape, etc.;

                                (2)     the date it was prepared;

                                (3)     the date the document bears;

                                (4)     the date the document was sent;
                                (5)     the date it was received;

                                (6)     the name of the person who prepared the document;

                                (7)     the name(s) of the person(s) who received the document;

                                (8)     the name of each person to whom it was sent or was

                                        intended to be sent, including all addressees and all

                                        recipients of copies; and

                                (9)     a statement of whom each identified person represented or

                                        purported to represent at all relevant times.

        5.      If a portion of any document responsive to these requests is withheld under claim

 of privilege pursuant to Instruction 4, any non-privileged portion of such document must be

 produced with the portion claimed to be privileged redacted.

        6.      You are to produce each document requested herein in its entirety, without

 deletion or excision (except as qualified by Instructions 4 and 5 above) regardless of whether you

 consider the entire document to be relevant or responsive to the requests.

        7.      The singular of any term includes the plural, the use of one gender or pronoun

 shall include all others, as appropriate in the context, and the disjunctive shall include the

 conjunctive, and vice versa. Construe the terms “and” and “or” as used in this document in the

 conjunctive and disjunctive so as to produce the broadest scope of documents pursuant to each

 request.

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           8.      The requests herein are continuing so that any additional documents responsive to

 the requests herein that you acquire or discover, up to and including the time of trial, shall be

 furnished through prompt supplemental responses as required by Fed. R. Civ. P. 26(e). This

 paragraph shall not be construed to alter your obligations to comply with all other instructions

 herein.

 III.      RELEVANT TIME PERIOD

           Unless otherwise specifically indicated, the requests herein refer to the period from

 October 1, 2015 to April 30, 2017 (the “Relevant Period”), and shall include documents and

 information that relate to such period, even though prepared or published outside of the Relevant

 Period. If a document prepared before this period is necessary for a correct or complete

 understanding of any document covered by a request, you must produce the earlier document as

 well. If any document is undated and the date of its preparation cannot be determined, the

 document shall be produced if otherwise responsive to the request.
 IV.       DOCUMENT REQUESTS

           REQUEST NO. 1:

           All COMMUNICATIONS with BANC, or third parties representing BANC in connection

with the COMMUNICATION, including without limitation:

                • Non-disclosure agreements;

                • Due diligence materials obtained from BANC;

                • Documents regarding potential investments in BANC;

                • COMMUNICATIONS with BANC board members, officers, or other

                  representatives; and

                • COMMUNICATIONS regarding SUGARMAN, GALANIS, any ALLEGED

                  GALANIS ENTITY, AURELIUS, or Winston & Strawn LLP.

           REQUEST NO. 2:

           All DOCUMENTS that reflect YOUR TRANSACTIONS in BANC SECURITIES,

including without limitation:

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           • The total position YOU held in BANC SECURITIES at the end of the trading day

              of October 17, 2016;

           • The total amount of put options YOU held in BANC SECURITIES at the end of the

              trading day of October 17, 2016;

           • YOUR transactions in BANC SECURITIES on October 18, 19, 20, and 21, 2016,

              and throughout the Relevant Period; and

           • Documents sufficient to reflect or calculate the amount of profit YOU earned on all

              put options YOU held in BANC SECURITIES that were set to expire on or after

              October 21, 2016.

        REQUEST NO. 3:
        All DOCUMENTS that refer, reflect or relate to the basis for YOUR decision to engage

 in any TRANSACTIONS in BANC SECURITIES including without limitation:

           • All investment memorandum, emails, models, and other analysis relating to

              TRANSACTIONS in BANC SECURITIES;

           • All investment committee minutes, resolutions or other COMMUNICATIONS

              regarding any TRANSACTION in BANC SECURITIES; and

           • All research, investigations, analysis or reports prepared by YOU, private

              investigators, investigation research firms or other third parties regarding BANC,

              GALANIS, or any ALLEGED GALANIS ENTITY.

        REQUEST NO. 4:

        All DOCUMENTS and COMMUNICATIONS that refer, reflect or relate to the

BLOG or AURELIUS, including without limitation any COMMUNICATIONS with

AURELIUS or SEEKING ALPHA, and including without limitation any DOCUMENTS

relating to AURELIUS’s identity.

        REQUEST NO. 5:

        All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU

 and any third party regarding BANC, SUGARMAN, GALANIS, ALLEGED GALANIS

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 ENTITY, the BLOG, or AURELIUS, including without limitation COMMUNICATIONS

 between YOU and any of the following people or entities: BLOOMBERG NEWS, PEAK 6

 CAPITAL MANAGEMENT LLC, James Gibson, Gary Robert Mathews, CSS LLC, Keith

 Allen Dilling, David Mathews, Rosemary Norris Hall, Kalyn Mathews Denno, Adam Denno,

 JCSD PARTNERS LP, G2 TRADING LLC, Jacques Brousseau, Andrew Left, Michael David

 Gold, Kenneth Gold, Zeke Faux, Jenny Surane, Dakin Campbell, Eben Novy-Williams, Steven

 Didion, Richard Lashley, PL CAPITAL, W. Kirk Wycoff, PATRIOT CAPITAL, ENDICOTT

 MANAGEMENT CO., Basswood, Halle Bennett, KBW, STIFEL, Jeffrey Karish, Jonah Schnel,

 Robert Sznewajs, SUGARMAN, Francisco Turner, Jason Sugarman, Nathan Koppikar,

 SPARROW FUND MANAGEMENT, Andrew Secrist, Christopher Carroll, Tim Coffey, FIG

 PARTNERS, Thomas Michaud (or Thomas Beaulieu Michaud), BofI Holding Inc., COR

 CLEARING, COR SECURITIES HOLDINGS, Zeke Faux, Jenny Surane, Dakin Campbell, or

 GALANIS.

       REQUEST NO. 6:
      All COMMUNICATIONS with and DOCUMENTS that refer, reflect or relate to

GALANIS or any ALLEGED GALANIS ENTITY.

       REQUEST NO. 7:

      All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

COR CLEARING or COR SECURITIES HOLDINGS regarding BANC or SUGARMAN.

      REQUEST NO. 8:

      All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

Robbins Geller Rudman & Dowd, Bragar Eagel & Squire, P.C., Bronstein, Gewirtz & Grossman,

LLC, Faruqi & Faruqi, LLP, Glancy Prongay & Murray LLP, Goldberg Law PC, Hagens Berman

Sobol Shapiro LLP, Holzer & Holzer, LLC, Hynes Keller & Hernandez, LLC, Johnson & Weaver,

LLP, Khang & Khang LLP, Law Offices of Howard G. Smith, Levi & Korsinsky, LLP, Lifshitz &

Miller Law Firm, Lundin Law PC, Rosen Law Firm, the SEC, other REGULATORS, or other

BANC INVESTORS or SHORTS, or any representatives thereof, relating to BANC or

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SUGARMAN.

       REQUEST NO. 9:

       All CORRESPONDENCE with any of the following people or entities from 2013 to the

present: PATRIOT CAPITAL (including W. Kirk Wycoff); PL CAPITAL (including Richard

Lashley); Halle Benett, Jeffrey Karish, SUGARMAN, Francisco Turner, Jonah Schnel, Chad

Brownstein, COR CLEARING or its current or former employees, PEAK 6 CAPITAL

MANAGEMENT LLC, James Gibson, Nathan Koppikar, SPARROW FUND MANAGEMENT,

BLOOMBERG NEWS (or its journalists), or FIG PARTNERS.

       REQUEST NO. 10:
       All CORRESPONDENCE with any of the following people or entities: GALANIS, John

Galanis, Jared Galanis, Hugh Dunkerely, Gary T. Hirst, Bevan T. Cooney, Michelle A. Morton,

Devon D. Archer, Ymer Shahini, Derek Hamels, Francisco Martin or Monet Berger.

       REQUEST NO. 11:

       All INVESTORS in YOU as of October 18, 2016, including contact information sufficient

to identify the principals, addresses, and contact information associated with the INVESTOR.




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                   EXHIBIT 5
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Central District
                                                       __________ Districtofof
                                                                             California
                                                                               __________
        In re Banc of California Securities Litigation
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. SACV 17-00118 AG (DFMx)
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                    Adam J. Denno, 3038 N Raleigh Street
                                                                 Denver, CO 80212
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A



  Place: First Legal Records c/o Dispatch Legal Services, 5910                          Date and Time:
           S. University Blvd., Unit C18-146, Greenwood Village,                                             08/08/2018 9:00 am
           CO 80121, (877) 591-9979

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/17/2018

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Kristen M. Tuey
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Defendant Steven A. Sugarman                                            , who issues or requests this subpoena, are:
Latham & Watkins LLP, 355 S. Grand Ave., Ste 100, Los Angeles, CA 90071, 213.485.1234, kristen.tuey@lw.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. SACV 17-00118 AG (DFMx)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           ATTACHMENT A

 I.         DEFINITIONS

            Unless otherwise stated, the terms set forth below are defined as follows:

            1.     “Denno,” “you,” or “your” shall mean Adam J. Denno and any employees,

 agents, advisors, representatives, consultants, attorneys, and all other persons acting or

 purporting to act on your behalf.

            2.     “Affiliate” shall mean a person that directly, or indirectly through one or more

 intermediaries, controls or is controlled by, or is under common control with, the person

 specified.
            3.     “And” and “or” shall be construed either disjunctively or conjunctively, as

 necessary by the context, to bring within the scope of the definition, instruction, or request all

 responses that might otherwise be construed to be outside of its scope by any other construction.

            4.     The terms “all,” “any,” and “each” shall each be construed as encompassing any

 and all.

            5.     “Aurelius” shall mean the author listed on the byline of the blog

 post entitled “BANC: Extensive Ties to Notorious Fraudster Jason Galanis Make Shares Un-

 Investible,” posted on the website SeekingAlpha.com on October 18, 2016.

            6.     “Banc” shall collectively refer to Defendant Banc of California, Inc., Banc of

 California, N.A., and, without limitation, its predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf. As used

 herein, “Banc” shall be construed either disjunctively or conjunctively, to include Banc of

 California, Inc. individually as well as collectively with Banc of California, N.A. or any other

 affiliate, and as necessary by the context, to bring within the scope of the definition, instruction,

 or request all responses that might otherwise be construed to be outside of its scope by any other

 construction.

            7.     “Banc Securities” means any security, financial interest, preferred share, common

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 share, option, note, treasury stock, bond, debenture, evidence of indebtedness, collateral trust

 certificate, transferable share, voting trust certificate or any other certificate of interest or

 participation (whether permanent, temporary or interim), or any warrant, contract, option

 (including puts or calls), or right to subscribe to, purchase, borrow against, or sell any of the

 foregoing concerning Banc.

         8.      “Blog” refers to the blog post entitled “BANC: Extensive Ties to Notorious

 Fraudster Jason Galanis Make Shares Un-Investible,” posted on the website SeekingAlpha.com

 by “Aurelius” on October 18, 2016.
         9.      “Bloomberg News” shall mean Bloomberg News and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         10.      “Board” or “Boards” shall mean individually and collectively the Board of

 Directors of Banc of California, Inc. and Banc of California, N.A.

         11.     “Castalian Partners Value Fund, LP” shall mean Castalian Partners Value Fund,

 LP, and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on its behalf.

         12.      “Communication” or “communications” means e-mail, text message, letter

 (including attachments) or any other transmittal of information (in the form of facts, ideas,

 inquiries or otherwise).

         13.     “Concerning” means relating to, referring to, describing, evidencing, or

 constituting.

         14.     “COR Clearing” shall mean COR Clearing, LLC and, without limitation, its

 current or former predecessors, successors, parents, subsidiaries, affiliates, divisions, directors,

 officers, employees, principals, trustees, agents, representatives, consultants, internal and

 external attorneys, or any other person acting on their behalf.

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         15.     “COR Securities Holdings” shall mean COR Securities Holdings, Inc. and,

 without limitation, its current or former predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf.

         16.     “CSS LLC” shall mean CSS LLC and, without limitation, its predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, employees, principals,

 trustees, agents, representatives, consultants, internal and external attorneys, or any other

 person acting on their behalf.
         17.     “Document” or “documents” is defined to mean all documents, electronically

 stored information, and tangible things in the broadest sense under Rule 34 of the Federal Rules

 of Civil Procedure, and shall mean anything that can be read, viewed, heard, or otherwise

 understood. Subject to and in accordance with the Instructions herein, “document” shall not be

 limited in any way with respect to medium, embodiment, or process of creation, generation, or

 reproduction; “document” shall include, without limitation, all preliminary, intermediate, and

 final versions thereof, as well as any notations, comments, and marginalia (handwritten or

 otherwise) appearing thereon or therein; “document” shall include originals (or high quality

 duplicates), all non-identical copies or drafts, and all attachments, exhibits, or similar items. Any

 document bearing on any sheet or side thereof, any marks, including, without limitation, initials,

 notations, comments, or marginalia of any character which are not part of the original text or

 reproduction thereof, shall be considered a separate document. Document or documents shall

 include without limitation any and all Communications.

         18.     “Electronic data” refers to any original and any non-identical copies (whether

 non-identical because of notes made on copies or attached comments, annotations, marks,

 transmission notations, or highlighting of any kind), mechanical, facsimile, electronic, magnetic,

 digital, or other programs (whether private, commercial, or work-in-progress), programming

 notes or instructions, activity listings of electronic mail or “e-mail” receipts or transmittals,

 output resulting from the use of any software program, including word processing documents,

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 spreadsheets, database files, charts, graphs, and outlines, electronic mail, operating systems,

 source code of all types, programming languages, linkers and compilers, peripheral drives, PDF

 files, PRF files, batch files, ASCII files, crosswalks, code keys, pull down tables, logs, file

 layouts, or any miscellaneous files or file fragments, regardless of the media on which they

 reside and regardless of whether said electronic data consists of an active file, backup file,

 deleted file, or file fragment. “Electronic data” also includes, without limitation, any items

 stored on computer memory or memories, hard drives, zip drives, CD-ROM discs or in any other

 vehicle for electronic or digital data storage or transmittal, files, folder tabs, or containers and

 labels appended to or associated with any physical storage device associated with each original

 and each copy.
         19.      “Endicott Management Co.” shall mean Endicott Management Company and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         20.      “FIG Partners” shall mean FIG Partners and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         21.      “G2 Trading LLC” shall mean G2 Trading LLC or G-2 Trading LLC and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         22.      “Galanis” shall mean Jason W. Galanis and any of his agents, representatives,

 consultants, attorneys, or any other person acting on his behalf.

         23.      “Alleged Galanis Entity” shall mean Gerova Financial Group, Ltd., Hughes

 Capital Management, LLC, Atlantic Asset Management LLC, Burnham Securities, Inc.,

 Burnham Financial Group, Burnham Asset Management Corporation, BAM Holdings, LLC,

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 Thorsdale Fiduciary and Guaranty Company Ltd., Valor Group Ltd., Valorlife, Wealth

 Assurance Holdings Ltd., Wealth-Assurance AG, Wealth Assurance Private Client

 Corporation, Valorlife Lebensversicherungs AG, Holmby Capital Group, IP Global Investors

 Ltd., Prospect Global Resources, Inc., Private Equity Management LLC, Malaga Asset

 Management, LLC, Stanwich Absolute Return, Ltd., Bel Air LLC, Emerging Markets Global

 Hedge Ltd., Little Giggles LLC, Galanis Family Trust, Rosemont Seneca Bohai LLC, BOE

 Capital LLC, BFG Socially Responsible Investing Limited, GMT Duncan LLC, COR Fund

 Advisors, and COR International, including, without limitation, any of their predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, principals, trustees,

 agents, representatives, consultants, attorneys, or any other person acting on their behalf.

 Nothing in this definition shall admit, concede, or suggest that Jason Galanis had any control

 over such entities.
         24.     “Investors” shall mean persons or entities who engage in TRANSACTIONS in

 SECURITIES.

         25.     “JCSD Partners LP” shall mean JCSD Partners LP and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         26.      “KBW” shall mean Keefe, Bruyette & Woods, Inc. and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         27.     “Patriot Capital” shall mean Patriot Capital and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         28.     “Peak 6 Capital Management LLC” shall mean Peak 6 Capital Management,

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 LLC and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf.

         29.      “PL Capital” shall mean PL Capital, LLC and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         30.     “Person” shall mean any natural person or any legal entity, including, without

 limitation, any business or governmental entity or association.
         31.     “Refer, reflect, or relate to” and similar terms, used together or alone, shall mean

 all information, facts, or documents that directly, indirectly, or in any other way support,

 concern, negate, bear upon, touch upon, incorporate, affect, include, pertain to, or are otherwise

 connected with the subject matter about which the request is made.

         32.      “Regulators” shall refer to the regulatory agencies responsible for

 overseeing the securities industry or banking industry, including without limitation the

 Federal Reserve Board, United States Department of the Treasury, the Office of the

 Comptroller of the Currency, or the Financial Industry Regulatory Authority (FINRA).

         33.      “SEC” shall mean the United States Securities and Exchange Commission,

 including all present or former officers, employees, directors, employees, agents,

 attorneys, advisors, accountants, consultants, and all other persons acting or purporting to

 act on its behalf.

         34.     “Securities” shall have the meaning set forth in the Securities Exchange Act of

 1934, 15 U.S.C. §§ 78a, et seq.

         35.     “Seeking Alpha” shall mean SeekingAlpha of SeekingAlpha.com, any of its

 direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present or former officers, employees, directors, employees, agents, advisors, and all other

 persons acting or purporting to act on its behalf.

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         36.     “Shorts” shall mean INVESTORS engaged in the practice of short selling

 SECURITIES, including without limitation INVESTORS who sold BANC short in October

 2016.

         37.      “Sparrow Fund Management” shall mean any of the following entities and

 their direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present and former officers, directors, employees, agents, advisors, and all other persons

 acting or purporting to act on their behalf, including Sparrow Fund Management LP,

 Sparrow Fund Management LLP, Sparrow GP, LLC, Sparrow Partners, LP, and Sparrow

 Fund Performance, LLC.
         38.     “Stifel” shall mean Stifel Financial Corp., any of its direct or indirect

 subsidiaries, divisions or affiliates, parents, predecessors, successors, present or former

 officers, employees, directors, employees, agents, advisors, and all other persons acting or

 purporting to act on its behalf.

         39.      “Sugarman” shall mean Steven A. Sugarman and any of his agents,

 representatives, consultants, attorneys, or any other person acting on his behalf.

         40.      “This action” shall mean the present lawsuit, In re Banc of California Securities

 Litigation, Case No. SACV 17-00118 AG (DFMx), pending in the United States District Court

 for the Central District of California.

         41.      “Transactions” shall mean any actual or attempted orders, purchases,

 acquisitions, sales, swaps, dispositions, tenders, donations, receipt, gifts, transfers, puts, calls,

 short sales, equities, debt, derivatives, or any other means by which YOU, whether for your

 own account or benefit or for the account or benefit of any other person, acquired or disposed

 of any interest in securities.

         42.     “Wellington Management” shall mean Wellington Management Company LLP

 and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

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        43.     As used herein, the use of the singular form of any word shall include the plural

 form of the same and vice versa.

 II.    INSTRUCTIONS

        1.      In responding to these requests, you shall produce all responsive documents

 which are in your possession, custody, or control, or in the possession, custody, or control of

 your predecessors, successors, partners, managing agents, agents, employees, accountants, or any

 other representative. A document shall be deemed to be within your control if you have the

 ability or right to secure the document or a copy of the document from another person having

 possession or custody of the document.
        2.      All documents should be produced: (a) as they are kept in the ordinary course of

 business, complete with legible copies of the labels of file folders, binders, containers, or other

 devices from which they were taken, or (b) organized according to the request to which they

 respond.

        3.      If any responsive document was, but no longer is, in your possession or subject to

 your control, state whether the document is: (a) missing or lost; (b) destroyed; (c) transferred

 voluntarily or involuntarily to others; or (d) otherwise disposed of, and in each instance identify

 the name and address of its current or last known custodian, and the circumstances surrounding

 such disposition.

        4.      If you claim any form of privilege or any other objection, whether based on

 statute, common law, or otherwise, as a ground for not producing any requested document,

 please furnish a list identifying each document for which the privilege or other objection is

 claimed together with the following information:

                        a.      the privilege being asserted;

                        b.      the person on whose behalf the privilege is asserted;

                        c.      a precise statement of the facts upon which the claim of privilege is

                                based; and

                        d.      identify the purported privileged document, including:

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                                (1)     its nature, e.g., letter, memorandum, tape, etc.;

                                (2)     the date it was prepared;

                                (3)     the date the document bears;

                                (4)     the date the document was sent;

                                (5)     the date it was received;

                                (6)     the name of the person who prepared the document;

                                (7)     the name(s) of the person(s) who received the document;

                                (8)     the name of each person to whom it was sent or was

                                        intended to be sent, including all addressees and all

                                        recipients of copies; and
                                (9)     a statement of whom each identified person represented or

                                        purported to represent at all relevant times.

        5.      If a portion of any document responsive to these requests is withheld under claim

 of privilege pursuant to Instruction 4, any non-privileged portion of such document must be

 produced with the portion claimed to be privileged redacted.

        6.      You are to produce each document requested herein in its entirety, without

 deletion or excision (except as qualified by Instructions 4 and 5 above) regardless of whether you

 consider the entire document to be relevant or responsive to the requests.

        7.      The singular of any term includes the plural, the use of one gender or pronoun

 shall include all others, as appropriate in the context, and the disjunctive shall include the

 conjunctive, and vice versa. Construe the terms “and” and “or” as used in this document in the

 conjunctive and disjunctive so as to produce the broadest scope of documents pursuant to each

 request.

        8.      The requests herein are continuing so that any additional documents responsive to

 the requests herein that you acquire or discover, up to and including the time of trial, shall be

 furnished through prompt supplemental responses as required by Fed. R. Civ. P. 26(e). This

 paragraph shall not be construed to alter your obligations to comply with all other instructions

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 herein.

 III.      RELEVANT TIME PERIOD

           Unless otherwise specifically indicated, the requests herein refer to the period from

 October 1, 2015 to April 30, 2017 (the “Relevant Period”), and shall include documents and

 information that relate to such period, even though prepared or published outside of the Relevant

 Period. If a document prepared before this period is necessary for a correct or complete

 understanding of any document covered by a request, you must produce the earlier document as

 well. If any document is undated and the date of its preparation cannot be determined, the

 document shall be produced if otherwise responsive to the request.
 IV.       DOCUMENT REQUESTS

           REQUEST NO. 1:

           All COMMUNICATIONS with BANC, or third parties representing BANC in connection

with the COMMUNICATION, including without limitation:

              • Non-disclosure agreements;

              • Due diligence materials obtained from BANC;

              • Documents regarding potential investments in BANC;

              • COMMUNICATIONS with BANC board members, officers, or other

                 representatives; and

              • COMMUNICATIONS regarding SUGARMAN, GALANIS, any ALLEGED

                 GALANIS ENTITY, AURELIUS, or Winston & Strawn LLP.

           REQUEST NO. 2:

           All DOCUMENTS that reflect YOUR TRANSACTIONS in BANC SECURITIES,

including without limitation:

              • The total position YOU held in BANC SECURITIES at the end of the trading day

                 of October 17, 2016;

              • The total amount of put options YOU held in BANC SECURITIES at the end of the

                 trading day of October 17, 2016;

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           • YOUR transactions in BANC SECURITIES on October 18, 19, 20, and 21, 2016,

               and throughout the Relevant Period; and

           • Documents sufficient to reflect or calculate the amount of profit YOU earned on all

              put options YOU held in BANC SECURITIES that were set to expire on or after

              October 21, 2016.

        REQUEST NO. 3:

        All DOCUMENTS that refer, reflect or relate to the basis for YOUR decision to engage

 in any TRANSACTIONS in BANC SECURITIES including without limitation:

           • All investment memorandum, emails, models, and other analysis relating to

              TRANSACTIONS in BANC SECURITIES;

           • All investment committee minutes, resolutions or other COMMUNICATIONS

              regarding any TRANSACTION in BANC SECURITIES; and

           • All research, investigations, analysis or reports prepared by YOU, private

              investigators, investigation research firms or other third parties regarding BANC,

              GALANIS, or any ALLEGED GALANIS ENTITY.

        REQUEST NO. 4:
        All DOCUMENTS and COMMUNICATIONS that refer, reflect or relate to the

BLOG or AURELIUS, including without limitation any COMMUNICATIONS with

AURELIUS or SEEKING ALPHA, and including without limitation any DOCUMENTS

relating to AURELIUS’s identity.

        REQUEST NO. 5:

        All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU

 and any third party regarding BANC, SUGARMAN, GALANIS, ALLEGED GALANIS

 ENTITY, the BLOG, or AURELIUS, including without limitation COMMUNICATIONS

 between YOU and any of the following people or entities: BLOOMBERG NEWS, PEAK 6

 CAPITAL MANAGEMENT LLC, James Gibson, Gary Robert Mathews, CSS LLC, Keith

 Allen Dilling, David Mathews, Rosemary Norris Hall, Kalyn Mathews Denno, Adam Denno,

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 JCSD PARTNERS LP, G2 TRADING LLC, Jacques Brousseau, Andrew Left, Michael David

 Gold, Kenneth Gold, Zeke Faux, Jenny Surane, Dakin Campbell, Eben Novy-Williams, Steven

 Didion, Richard Lashley, PL CAPITAL, W. Kirk Wycoff, PATRIOT CAPITAL, ENDICOTT

 MANAGEMENT CO., Basswood, Halle Bennett, KBW, STIFEL, Jeffrey Karish, Jonah Schnel,

 Robert Sznewajs, SUGARMAN, Francisco Turner, Jason Sugarman, Nathan Koppikar,

 SPARROW FUND MANAGEMENT, Andrew Secrist, Christopher Carroll, Tim Coffey, FIG

 PARTNERS, Thomas Michaud (or Thomas Beaulieu Michaud), BofI Holding Inc., COR

 CLEARING, COR SECURITIES HOLDINGS, Zeke Faux, Jenny Surane, Dakin Campbell, or

 GALANIS.

       REQUEST NO. 6:
      All COMMUNICATIONS with and DOCUMENTS that refer, reflect or relate to

GALANIS or any ALLEGED GALANIS ENTITY.

       REQUEST NO. 7:

      All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

COR CLEARING or COR SECURITIES HOLDINGS regarding BANC or SUGARMAN.

      REQUEST NO. 8:

      All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

Robbins Geller Rudman & Dowd, Bragar Eagel & Squire, P.C., Bronstein, Gewirtz & Grossman,

LLC, Faruqi & Faruqi, LLP, Glancy Prongay & Murray LLP, Goldberg Law PC, Hagens Berman

Sobol Shapiro LLP, Holzer & Holzer, LLC, Hynes Keller & Hernandez, LLC, Johnson & Weaver,

LLP, Khang & Khang LLP, Law Offices of Howard G. Smith, Levi & Korsinsky, LLP, Lifshitz &

Miller Law Firm, Lundin Law PC, Rosen Law Firm, the SEC, other REGULATORS, or other

BANC INVESTORS or SHORTS, or any representatives thereof, relating to BANC or

SUGARMAN.

      REQUEST NO. 9:

      All CORRESPONDENCE with any of the following people or entities from 2013 to the

present: PATRIOT CAPITAL (including W. Kirk Wycoff); PL CAPITAL (including Richard

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Lashley); Halle Benett, Jeffrey Karish, SUGARMAN, Francisco Turner, Jonah Schnel, Chad

Brownstein, COR CLEARING or its current or former employees, PEAK 6 CAPITAL

MANAGEMENT LLC, James Gibson, Nathan Koppikar, SPARROW FUND MANAGEMENT,

CASTALIAN PARTNERS VALUE FUND, LP, BLOOMBERG NEWS (or its journalists), or FIG

PARTNERS.

       REQUEST NO. 10:

       All CORRESPONDENCE with any of the following people or entities: GALANIS, John

Galanis, Jared Galanis, Hugh Dunkerely, Gary T. Hirst, Bevan T. Cooney, Michelle A. Morton,

Devon D. Archer, Ymer Shahini, Derek Hamels, Francisco Martin or Monet Berger.




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                   EXHIBIT 6
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                                         #:491
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Central District
                                                       __________ Districtofof
                                                                             California
                                                                               __________
        In re Banc of California Securities Litigation
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. SACV 17-00118 AG (DFMx)
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                   Kalyn Matthews Denno, 3038 N Raleigh Street Denver, CO 80212

                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A



  Place: First Legal Records c/o Dispatch Legal Services, 5910                          Date and Time:
           S. University Blvd., Unit C18-146, Greenwood Village,                                             08/08/2018 9:00 am
           CO 80121, (877) 591-9979

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/17/2018

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Kristen M. Tuey
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Defendant Steven A. Sugarman                                            , who issues or requests this subpoena, are:
Latham & Watkins LLP, 355 S. Grand Ave., Ste 100, Los Angeles, CA 90071, 213.485.1234, kristen.tuey@lw.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. SACV 17-00118 AG (DFMx)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           ATTACHMENT A

 I.         DEFINITIONS

            Unless otherwise stated, the terms set forth below are defined as follows:

            1.     “Denno,” “you,” or “your” shall mean Kalyn Mathews Denno and any

 employees, agents, advisors, representatives, consultants, attorneys, and all other persons

 acting or purporting to act on your behalf.

            2.     “Affiliate” shall mean a person that directly, or indirectly through one or more

 intermediaries, controls or is controlled by, or is under common control with, the person

 specified.
            3.     “And” and “or” shall be construed either disjunctively or conjunctively, as

 necessary by the context, to bring within the scope of the definition, instruction, or request all

 responses that might otherwise be construed to be outside of its scope by any other construction.

            4.     The terms “all,” “any,” and “each” shall each be construed as encompassing any

 and all.

            5.     “Aurelius” shall mean the author listed on the byline of the blog

 post entitled “BANC: Extensive Ties to Notorious Fraudster Jason Galanis Make Shares Un-

 Investible,” posted on the website SeekingAlpha.com on October 18, 2016.

            6.     “Banc” shall collectively refer to Defendant Banc of California, Inc., Banc of

 California, N.A., and, without limitation, its predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf. As used

 herein, “Banc” shall be construed either disjunctively or conjunctively, to include Banc of

 California, Inc. individually as well as collectively with Banc of California, N.A. or any other

 affiliate, and as necessary by the context, to bring within the scope of the definition, instruction,

 or request all responses that might otherwise be construed to be outside of its scope by any other

 construction.

            7.     “Banc Securities” means any security, financial interest, preferred share, common

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 share, option, note, treasury stock, bond, debenture, evidence of indebtedness, collateral trust

 certificate, transferable share, voting trust certificate or any other certificate of interest or

 participation (whether permanent, temporary or interim), or any warrant, contract, option

 (including puts or calls), or right to subscribe to, purchase, borrow against, or sell any of the

 foregoing concerning Banc.

         8.      “Blog” refers to the blog post entitled “BANC: Extensive Ties to Notorious

 Fraudster Jason Galanis Make Shares Un-Investible,” posted on the website SeekingAlpha.com

 by “Aurelius” on October 18, 2016.
         9.      “Bloomberg News” shall mean Bloomberg News and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         10.      “Board” or “Boards” shall mean individually and collectively the Board of

 Directors of Banc of California, Inc. and Banc of California, N.A.

         11.     “Castalian Partners Value Fund, LP” shall mean Castalian Partners Value Fund,

 LP, and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on its behalf.

         12.      “Communication” or “communications” means e-mail, text message, letter

 (including attachments) or any other transmittal of information (in the form of facts, ideas,

 inquiries or otherwise).

         13.     “Concerning” means relating to, referring to, describing, evidencing, or

 constituting.

         14.     “COR Clearing” shall mean COR Clearing, LLC and, without limitation, its

 current or former predecessors, successors, parents, subsidiaries, affiliates, divisions, directors,

 officers, employees, principals, trustees, agents, representatives, consultants, internal and

 external attorneys, or any other person acting on their behalf.

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         15.     “COR Securities Holdings” shall mean COR Securities Holdings, Inc. and,

 without limitation, its current or former predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf.

         16.     “CSS LLC” shall mean CSS LLC and, without limitation, its predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, employees, principals,

 trustees, agents, representatives, consultants, internal and external attorneys, or any other

 person acting on their behalf.
         17.     “Document” or “documents” is defined to mean all documents, electronically

 stored information, and tangible things in the broadest sense under Rule 34 of the Federal Rules

 of Civil Procedure, and shall mean anything that can be read, viewed, heard, or otherwise

 understood. Subject to and in accordance with the Instructions herein, “document” shall not be

 limited in any way with respect to medium, embodiment, or process of creation, generation, or

 reproduction; “document” shall include, without limitation, all preliminary, intermediate, and

 final versions thereof, as well as any notations, comments, and marginalia (handwritten or

 otherwise) appearing thereon or therein; “document” shall include originals (or high quality

 duplicates), all non-identical copies or drafts, and all attachments, exhibits, or similar items. Any

 document bearing on any sheet or side thereof, any marks, including, without limitation, initials,

 notations, comments, or marginalia of any character which are not part of the original text or

 reproduction thereof, shall be considered a separate document. Document or documents shall

 include without limitation any and all Communications.

         18.     “Electronic data” refers to any original and any non-identical copies (whether

 non-identical because of notes made on copies or attached comments, annotations, marks,

 transmission notations, or highlighting of any kind), mechanical, facsimile, electronic, magnetic,

 digital, or other programs (whether private, commercial, or work-in-progress), programming

 notes or instructions, activity listings of electronic mail or “e-mail” receipts or transmittals,

 output resulting from the use of any software program, including word processing documents,

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 spreadsheets, database files, charts, graphs, and outlines, electronic mail, operating systems,

 source code of all types, programming languages, linkers and compilers, peripheral drives, PDF

 files, PRF files, batch files, ASCII files, crosswalks, code keys, pull down tables, logs, file

 layouts, or any miscellaneous files or file fragments, regardless of the media on which they

 reside and regardless of whether said electronic data consists of an active file, backup file,

 deleted file, or file fragment. “Electronic data” also includes, without limitation, any items

 stored on computer memory or memories, hard drives, zip drives, CD-ROM discs or in any other

 vehicle for electronic or digital data storage or transmittal, files, folder tabs, or containers and

 labels appended to or associated with any physical storage device associated with each original

 and each copy.
         19.      “Endicott Management Co.” shall mean Endicott Management Company and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         20.      “FIG Partners” shall mean FIG Partners and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         21.      “G2 Trading LLC” shall mean G2 Trading LLC or G-2 Trading LLC and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         22.      “Galanis” shall mean Jason W. Galanis and any of his agents, representatives,

 consultants, attorneys, or any other person acting on his behalf.

         23.      “Alleged Galanis Entity” shall mean Gerova Financial Group, Ltd., Hughes

 Capital Management, LLC, Atlantic Asset Management LLC, Burnham Securities, Inc.,

 Burnham Financial Group, Burnham Asset Management Corporation, BAM Holdings, LLC,

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 Thorsdale Fiduciary and Guaranty Company Ltd., Valor Group Ltd., Valorlife, Wealth

 Assurance Holdings Ltd., Wealth-Assurance AG, Wealth Assurance Private Client

 Corporation, Valorlife Lebensversicherungs AG, Holmby Capital Group, IP Global Investors

 Ltd., Prospect Global Resources, Inc., Private Equity Management LLC, Malaga Asset

 Management, LLC, Stanwich Absolute Return, Ltd., Bel Air LLC, Emerging Markets Global

 Hedge Ltd., Little Giggles LLC, Galanis Family Trust, Rosemont Seneca Bohai LLC, BOE

 Capital LLC, BFG Socially Responsible Investing Limited, GMT Duncan LLC, COR Fund

 Advisors, and COR International, including, without limitation, any of their predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, principals, trustees,

 agents, representatives, consultants, attorneys, or any other person acting on their behalf.

 Nothing in this definition shall admit, concede, or suggest that Jason Galanis had any control

 over such entities.
         24.     “Investors” shall mean persons or entities who engage in TRANSACTIONS in

 SECURITIES.

         25.     “JCSD Partners LP” shall mean JCSD Partners LP and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         26.      “KBW” shall mean Keefe, Bruyette & Woods, Inc. and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         27.     “Patriot Capital” shall mean Patriot Capital and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         28.     “Peak 6 Capital Management LLC” shall mean Peak 6 Capital Management,

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 LLC and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf.

         29.      “PL Capital” shall mean PL Capital, LLC and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         30.     “Person” shall mean any natural person or any legal entity, including, without

 limitation, any business or governmental entity or association.
         31.     “Refer, reflect, or relate to” and similar terms, used together or alone, shall mean

 all information, facts, or documents that directly, indirectly, or in any other way support,

 concern, negate, bear upon, touch upon, incorporate, affect, include, pertain to, or are otherwise

 connected with the subject matter about which the request is made.

         32.      “Regulators” shall refer to the regulatory agencies responsible for

 overseeing the securities industry or banking industry, including without limitation the

 Federal Reserve Board, United States Department of the Treasury, the Office of the

 Comptroller of the Currency, or the Financial Industry Regulatory Authority (FINRA).

         33.      “SEC” shall mean the United States Securities and Exchange Commission,

 including all present or former officers, employees, directors, employees, agents,

 attorneys, advisors, accountants, consultants, and all other persons acting or purporting to

 act on its behalf.

         34.     “Securities” shall have the meaning set forth in the Securities Exchange Act of

 1934, 15 U.S.C. §§ 78a, et seq.

         35.     “Seeking Alpha” shall mean SeekingAlpha of SeekingAlpha.com, any of its

 direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present or former officers, employees, directors, employees, agents, advisors, and all other

 persons acting or purporting to act on its behalf.

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         36.     “Shorts” shall mean INVESTORS engaged in the practice of short selling

 SECURITIES, including without limitation INVESTORS who sold BANC short in October

 2016.

         37.      “Sparrow Fund Management” shall mean any of the following entities and

 their direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present and former officers, directors, employees, agents, advisors, and all other persons

 acting or purporting to act on their behalf, including Sparrow Fund Management LP,

 Sparrow Fund Management LLP, Sparrow GP, LLC, Sparrow Partners, LP, and Sparrow

 Fund Performance, LLC.
         38.     “Stifel” shall mean Stifel Financial Corp., any of its direct or indirect

 subsidiaries, divisions or affiliates, parents, predecessors, successors, present or former

 officers, employees, directors, employees, agents, advisors, and all other persons acting or

 purporting to act on its behalf.

         39.      “Sugarman” shall mean Steven A. Sugarman and any of his agents,

 representatives, consultants, attorneys, or any other person acting on his behalf.

         40.      “This action” shall mean the present lawsuit, In re Banc of California Securities

 Litigation, Case No. SACV 17-00118 AG (DFMx), pending in the United States District Court

 for the Central District of California.

         41.      “Transactions” shall mean any actual or attempted orders, purchases,

 acquisitions, sales, swaps, dispositions, tenders, donations, receipt, gifts, transfers, puts, calls,

 short sales, equities, debt, derivatives, or any other means by which YOU, whether for your

 own account or benefit or for the account or benefit of any other person, acquired or disposed

 of any interest in securities.

         42.     “Wellington Management” shall mean Wellington Management Company LLP

 and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

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        43.     As used herein, the use of the singular form of any word shall include the plural

 form of the same and vice versa.

 II.    INSTRUCTIONS

        1.      In responding to these requests, you shall produce all responsive documents

 which are in your possession, custody, or control, or in the possession, custody, or control of

 your predecessors, successors, partners, managing agents, agents, employees, accountants, or any

 other representative. A document shall be deemed to be within your control if you have the

 ability or right to secure the document or a copy of the document from another person having

 possession or custody of the document.
        2.      All documents should be produced: (a) as they are kept in the ordinary course of

 business, complete with legible copies of the labels of file folders, binders, containers, or other

 devices from which they were taken, or (b) organized according to the request to which they

 respond.

        3.      If any responsive document was, but no longer is, in your possession or subject to

 your control, state whether the document is: (a) missing or lost; (b) destroyed; (c) transferred

 voluntarily or involuntarily to others; or (d) otherwise disposed of, and in each instance identify

 the name and address of its current or last known custodian, and the circumstances surrounding

 such disposition.

        4.      If you claim any form of privilege or any other objection, whether based on

 statute, common law, or otherwise, as a ground for not producing any requested document,

 please furnish a list identifying each document for which the privilege or other objection is

 claimed together with the following information:

                        a.      the privilege being asserted;

                        b.      the person on whose behalf the privilege is asserted;

                        c.      a precise statement of the facts upon which the claim of privilege is

                                based; and

                        d.      identify the purported privileged document, including:

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                                (1)     its nature, e.g., letter, memorandum, tape, etc.;

                                (2)     the date it was prepared;

                                (3)     the date the document bears;

                                (4)     the date the document was sent;

                                (5)     the date it was received;

                                (6)     the name of the person who prepared the document;

                                (7)     the name(s) of the person(s) who received the document;

                                (8)     the name of each person to whom it was sent or was

                                        intended to be sent, including all addressees and all

                                        recipients of copies; and
                                (9)     a statement of whom each identified person represented or

                                        purported to represent at all relevant times.

        5.      If a portion of any document responsive to these requests is withheld under claim

 of privilege pursuant to Instruction 4, any non-privileged portion of such document must be

 produced with the portion claimed to be privileged redacted.

        6.      You are to produce each document requested herein in its entirety, without

 deletion or excision (except as qualified by Instructions 4 and 5 above) regardless of whether you

 consider the entire document to be relevant or responsive to the requests.

        7.      The singular of any term includes the plural, the use of one gender or pronoun

 shall include all others, as appropriate in the context, and the disjunctive shall include the

 conjunctive, and vice versa. Construe the terms “and” and “or” as used in this document in the

 conjunctive and disjunctive so as to produce the broadest scope of documents pursuant to each

 request.

        8.      The requests herein are continuing so that any additional documents responsive to

 the requests herein that you acquire or discover, up to and including the time of trial, shall be

 furnished through prompt supplemental responses as required by Fed. R. Civ. P. 26(e). This

 paragraph shall not be construed to alter your obligations to comply with all other instructions

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  herein.

  III.      RELEVANT TIME PERIOD

            Unless otherwise specifically indicated, the requests herein refer to the period from

  October 1, 2015 to April 30, 2017 (the “Relevant Period”), and shall include documents and

  information that relate to such period, even though prepared or published outside of the Relevant

  Period. If a document prepared before this period is necessary for a correct or complete

  understanding of any document covered by a request, you must produce the earlier document as

  well. If any document is undated and the date of its preparation cannot be determined, the

  document shall be produced if otherwise responsive to the request.
  IV.       DOCUMENT REQUESTS

            REQUEST NO. 1:

            All COMMUNICATIONS with BANC, or third parties representing BANC in connection

 with the COMMUNICATION, including without limitation:

               • Non-disclosure agreements;

               • Due diligence materials obtained from BANC;

               • Documents regarding potential investments in BANC;

               • COMMUNICATIONS with BANC board members, officers, or other

                  representatives; and

               • COMMUNICATIONS regarding SUGARMAN, GALANIS, any ALLEGED

                  GALANIS ENTITY, AURELIUS, or Winston & Strawn LLP.

            REQUEST NO. 2:

            All DOCUMENTS that reflect YOUR TRANSACTIONS in BANC SECURITIES,

 including without limitation:

               • The total position YOU held in BANC SECURITIES at the end of the trading day

                  of October 17, 2016;

               • The total amount of put options YOU held in BANC SECURITIES at the end of the

                  trading day of October 17, 2016;

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            • YOUR transactions in BANC SECURITIES on October 18, 19, 20, and 21, 2016,

                and throughout the Relevant Period; and

            • Documents sufficient to reflect or calculate the amount of profit YOU earned on all

               put options YOU held in BANC SECURITIES that were set to expire on or after

               October 21, 2016.

         REQUEST NO. 3:

         All DOCUMENTS that refer, reflect or relate to the basis for YOUR decision to engage

 in any TRANSACTIONS in BANC SECURITIES including without limitation:

            • All investment memorandum, emails, models, and other analysis relating to

               TRANSACTIONS in BANC SECURITIES;

            • All investment committee minutes, resolutions or other COMMUNICATIONS

               regarding any TRANSACTION in BANC SECURITIES; and

            • All research, investigations, analysis or reports prepared by YOU, private

               investigators, investigation research firms or other third parties regarding BANC,

               GALANIS, or any ALLEGED GALANIS ENTITY.

         REQUEST NO. 4:
         All DOCUMENTS and COMMUNICATIONS that refer, reflect or relate to the

 BLOG or AURELIUS, including without limitation any COMMUNICATIONS with

 AURELIUS or SEEKING ALPHA, and including without limitation any DOCUMENTS

 relating to AURELIUS’s identity.

         REQUEST NO. 5:

         All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU

 and any third party regarding BANC, SUGARMAN, GALANIS, ALLEGED GALANIS

 ENTITY, the BLOG, or AURELIUS, including without limitation COMMUNICATIONS

 between YOU and any of the following people or entities: BLOOMBERG NEWS, PEAK 6

 CAPITAL MANAGEMENT LLC, James Gibson, Gary Robert Mathews, CSS LLC, Keith

 Allen Dilling, David Mathews, Rosemary Norris Hall, Kalyn Mathews Denno, Adam Denno,

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 JCSD PARTNERS LP, G2 TRADING LLC, Jacques Brousseau, Andrew Left, Michael David

 Gold, Kenneth Gold, Zeke Faux, Jenny Surane, Dakin Campbell, Eben Novy-Williams, Steven

 Didion, Richard Lashley, PL CAPITAL, W. Kirk Wycoff, PATRIOT CAPITAL, ENDICOTT

 MANAGEMENT CO., Basswood, Halle Bennett, KBW, STIFEL, Jeffrey Karish, Jonah Schnel,

 Robert Sznewajs, SUGARMAN, Francisco Turner, Jason Sugarman, Nathan Koppikar,

 SPARROW FUND MANAGEMENT, Andrew Secrist, Christopher Carroll, Tim Coffey, FIG

 PARTNERS, Thomas Michaud (or Thomas Beaulieu Michaud), BofI Holding Inc., COR

 CLEARING, COR SECURITIES HOLDINGS, Zeke Faux, Jenny Surane, Dakin Campbell, or

 GALANIS.

        REQUEST NO. 6:
       All COMMUNICATIONS with and DOCUMENTS that refer, reflect or relate to

 GALANIS or any ALLEGED GALANIS ENTITY.

        REQUEST NO. 7:

       All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

 COR CLEARING or COR SECURITIES HOLDINGS regarding BANC or SUGARMAN.

       REQUEST NO. 8:

       All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

 Robbins Geller Rudman & Dowd, Bragar Eagel & Squire, P.C., Bronstein, Gewirtz & Grossman,

 LLC, Faruqi & Faruqi, LLP, Glancy Prongay & Murray LLP, Goldberg Law PC, Hagens Berman

 Sobol Shapiro LLP, Holzer & Holzer, LLC, Hynes Keller & Hernandez, LLC, Johnson & Weaver,

 LLP, Khang & Khang LLP, Law Offices of Howard G. Smith, Levi & Korsinsky, LLP, Lifshitz &

 Miller Law Firm, Lundin Law PC, Rosen Law Firm, the SEC, other REGULATORS, or other

 BANC INVESTORS or SHORTS, or any representatives thereof, relating to BANC or

 SUGARMAN.

       REQUEST NO. 9:

       All CORRESPONDENCE with any of the following people or entities from 2013 to the

 present: PATRIOT CAPITAL (including W. Kirk Wycoff); PL CAPITAL (including Richard

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 Lashley); Halle Benett, Jeffrey Karish, SUGARMAN, Francisco Turner, Jonah Schnel, Chad

 Brownstein, COR CLEARING or its current or former employees, PEAK 6 CAPITAL

 MANAGEMENT LLC, James Gibson, Nathan Koppikar, SPARROW FUND MANAGEMENT,

 CASTALIAN PARTNERS VALUE FUND, LP, BLOOMBERG NEWS (or its journalists), or FIG

 PARTNERS.

        REQUEST NO. 10:

        All CORRESPONDENCE with any of the following people or entities: GALANIS, John

 Galanis, Jared Galanis, Hugh Dunkerely, Gary T. Hirst, Bevan T. Cooney, Michelle A. Morton,

 Devon D. Archer, Ymer Shahini, Derek Hamels, Francisco Martin or Monet Berger.




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                    EXHIBIT 7
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Central District
                                                       __________ Districtofof
                                                                             California
                                                                               __________
        In re Banc of California Securities Litigation
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. SACV 17-00118 AG (DFMx)
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                       David Matthews, 5638 Tremont Street, Dallas Texas 75214

                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A



  Place: First Legal Records c/o Courier Management Systems,                            Date and Time:
           1150 Empire Central Place, Ste. 106-A, Dallas, TX                                                 08/08/2018 9:00 am
           75247, (877) 591-9979

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/17/2018

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Kristen M. Tuey
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Defendant Steven A. Sugarman                                            , who issues or requests this subpoena, are:
Latham & Watkins LLP, 355 S. Grand Ave., Ste 100, Los Angeles, CA 90071, 213.485.1234, kristen.tuey@lw.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. SACV 17-00118 AG (DFMx)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           ATTACHMENT A

 I.         DEFINITIONS

            Unless otherwise stated, the terms set forth below are defined as follows:

            1.     “Mathews,” “you,” or “your” shall mean David Mathews and any employees,

 agents, advisors, representatives, consultants, attorneys, and all other persons acting or

 purporting to act on your behalf.

            2.     “Affiliate” shall mean a person that directly, or indirectly through one or more

 intermediaries, controls or is controlled by, or is under common control with, the person

 specified.
            3.     “And” and “or” shall be construed either disjunctively or conjunctively, as

 necessary by the context, to bring within the scope of the definition, instruction, or request all

 responses that might otherwise be construed to be outside of its scope by any other construction.

            4.     The terms “all,” “any,” and “each” shall each be construed as encompassing any

 and all.

            5.     “Aurelius” shall mean the author listed on the byline of the blog

 post entitled “BANC: Extensive Ties to Notorious Fraudster Jason Galanis Make Shares Un-

 Investible,” posted on the website SeekingAlpha.com on October 18, 2016.

            6.     “Banc” shall collectively refer to Defendant Banc of California, Inc., Banc of

 California, N.A., and, without limitation, its predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf. As used

 herein, “Banc” shall be construed either disjunctively or conjunctively, to include Banc of

 California, Inc. individually as well as collectively with Banc of California, N.A. or any other

 affiliate, and as necessary by the context, to bring within the scope of the definition, instruction,

 or request all responses that might otherwise be construed to be outside of its scope by any other

 construction.

            7.     “Banc Securities” means any security, financial interest, preferred share, common

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 share, option, note, treasury stock, bond, debenture, evidence of indebtedness, collateral trust

 certificate, transferable share, voting trust certificate or any other certificate of interest or

 participation (whether permanent, temporary or interim), or any warrant, contract, option

 (including puts or calls), or right to subscribe to, purchase, borrow against, or sell any of the

 foregoing concerning Banc.

         8.      “Blog” refers to the blog post entitled “BANC: Extensive Ties to Notorious

 Fraudster Jason Galanis Make Shares Un-Investible,” posted on the website SeekingAlpha.com

 by “Aurelius” on October 18, 2016.
         9.      “Bloomberg News” shall mean Bloomberg News and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         10.      “Board” or “Boards” shall mean individually and collectively the Board of

 Directors of Banc of California, Inc. and Banc of California, N.A.

         11.     “Castalian Partners Value Fund, LP” shall mean Castalian Partners Value Fund,

 LP, and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on its behalf.

         12.      “Communication” or “communications” means e-mail, text message, letter

 (including attachments) or any other transmittal of information (in the form of facts, ideas,

 inquiries or otherwise).

         13.     “Concerning” means relating to, referring to, describing, evidencing, or

 constituting.

         14.     “COR Clearing” shall mean COR Clearing, LLC and, without limitation, its

 current or former predecessors, successors, parents, subsidiaries, affiliates, divisions, directors,

 officers, employees, principals, trustees, agents, representatives, consultants, internal and

 external attorneys, or any other person acting on their behalf.

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         15.     “COR Securities Holdings” shall mean COR Securities Holdings, Inc. and,

 without limitation, its current or former predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf.

         16.     “CSS LLC” shall mean CSS LLC and, without limitation, its predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, employees, principals,

 trustees, agents, representatives, consultants, internal and external attorneys, or any other

 person acting on their behalf.
         17.     “Document” or “documents” is defined to mean all documents, electronically

 stored information, and tangible things in the broadest sense under Rule 34 of the Federal Rules

 of Civil Procedure, and shall mean anything that can be read, viewed, heard, or otherwise

 understood. Subject to and in accordance with the Instructions herein, “document” shall not be

 limited in any way with respect to medium, embodiment, or process of creation, generation, or

 reproduction; “document” shall include, without limitation, all preliminary, intermediate, and

 final versions thereof, as well as any notations, comments, and marginalia (handwritten or

 otherwise) appearing thereon or therein; “document” shall include originals (or high quality

 duplicates), all non-identical copies or drafts, and all attachments, exhibits, or similar items. Any

 document bearing on any sheet or side thereof, any marks, including, without limitation, initials,

 notations, comments, or marginalia of any character which are not part of the original text or

 reproduction thereof, shall be considered a separate document. Document or documents shall

 include without limitation any and all Communications.

         18.     “Electronic data” refers to any original and any non-identical copies (whether

 non-identical because of notes made on copies or attached comments, annotations, marks,

 transmission notations, or highlighting of any kind), mechanical, facsimile, electronic, magnetic,

 digital, or other programs (whether private, commercial, or work-in-progress), programming

 notes or instructions, activity listings of electronic mail or “e-mail” receipts or transmittals,

 output resulting from the use of any software program, including word processing documents,

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 spreadsheets, database files, charts, graphs, and outlines, electronic mail, operating systems,

 source code of all types, programming languages, linkers and compilers, peripheral drives, PDF

 files, PRF files, batch files, ASCII files, crosswalks, code keys, pull down tables, logs, file

 layouts, or any miscellaneous files or file fragments, regardless of the media on which they

 reside and regardless of whether said electronic data consists of an active file, backup file,

 deleted file, or file fragment. “Electronic data” also includes, without limitation, any items

 stored on computer memory or memories, hard drives, zip drives, CD-ROM discs or in any other

 vehicle for electronic or digital data storage or transmittal, files, folder tabs, or containers and

 labels appended to or associated with any physical storage device associated with each original

 and each copy.
         19.      “Endicott Management Co.” shall mean Endicott Management Company and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         20.      “FIG Partners” shall mean FIG Partners and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         21.      “G2 Trading LLC” shall mean G2 Trading LLC or G-2 Trading LLC and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         22.      “Galanis” shall mean Jason W. Galanis and any of his agents, representatives,

 consultants, attorneys, or any other person acting on his behalf.

         23.      “Alleged Galanis Entity” shall mean Gerova Financial Group, Ltd., Hughes

 Capital Management, LLC, Atlantic Asset Management LLC, Burnham Securities, Inc.,

 Burnham Financial Group, Burnham Asset Management Corporation, BAM Holdings, LLC,

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 Thorsdale Fiduciary and Guaranty Company Ltd., Valor Group Ltd., Valorlife, Wealth

 Assurance Holdings Ltd., Wealth-Assurance AG, Wealth Assurance Private Client

 Corporation, Valorlife Lebensversicherungs AG, Holmby Capital Group, IP Global Investors

 Ltd., Prospect Global Resources, Inc., Private Equity Management LLC, Malaga Asset

 Management, LLC, Stanwich Absolute Return, Ltd., Bel Air LLC, Emerging Markets Global

 Hedge Ltd., Little Giggles LLC, Galanis Family Trust, Rosemont Seneca Bohai LLC, BOE

 Capital LLC, BFG Socially Responsible Investing Limited, GMT Duncan LLC, COR Fund

 Advisors, and COR International, including, without limitation, any of their predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, principals, trustees,

 agents, representatives, consultants, attorneys, or any other person acting on their behalf.

 Nothing in this definition shall admit, concede, or suggest that Jason Galanis had any control

 over such entities.
         24.     “Investors” shall mean persons or entities who engage in TRANSACTIONS in

 SECURITIES.

         25.     “JCSD Partners LP” shall mean JCSD Partners LP and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         26.      “KBW” shall mean Keefe, Bruyette & Woods, Inc. and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         27.     “Patriot Capital” shall mean Patriot Capital and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         28.     “Peak 6 Capital Management LLC” shall mean Peak 6 Capital Management,

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 LLC and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf.

         29.      “PL Capital” shall mean PL Capital, LLC and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         30.     “Person” shall mean any natural person or any legal entity, including, without

 limitation, any business or governmental entity or association.
         31.     “Refer, reflect, or relate to” and similar terms, used together or alone, shall mean

 all information, facts, or documents that directly, indirectly, or in any other way support,

 concern, negate, bear upon, touch upon, incorporate, affect, include, pertain to, or are otherwise

 connected with the subject matter about which the request is made.

         32.      “Regulators” shall refer to the regulatory agencies responsible for

 overseeing the securities industry or banking industry, including without limitation the

 Federal Reserve Board, United States Department of the Treasury, the Office of the

 Comptroller of the Currency, or the Financial Industry Regulatory Authority (FINRA).

         33.      “SEC” shall mean the United States Securities and Exchange Commission,

 including all present or former officers, employees, directors, employees, agents,

 attorneys, advisors, accountants, consultants, and all other persons acting or purporting to

 act on its behalf.

         34.     “Securities” shall have the meaning set forth in the Securities Exchange Act of

 1934, 15 U.S.C. §§ 78a, et seq.

         35.     “Seeking Alpha” shall mean SeekingAlpha of SeekingAlpha.com, any of its

 direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present or former officers, employees, directors, employees, agents, advisors, and all other

 persons acting or purporting to act on its behalf.

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         36.     “Shorts” shall mean INVESTORS engaged in the practice of short selling

 SECURITIES, including without limitation INVESTORS who sold BANC short in October

 2016.

         37.      “Sparrow Fund Management” shall mean any of the following entities and

 their direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present and former officers, directors, employees, agents, advisors, and all other persons

 acting or purporting to act on their behalf, including Sparrow Fund Management LP,

 Sparrow Fund Management LLP, Sparrow GP, LLC, Sparrow Partners, LP, and Sparrow

 Fund Performance, LLC.
         38.     “Stifel” shall mean Stifel Financial Corp., any of its direct or indirect

 subsidiaries, divisions or affiliates, parents, predecessors, successors, present or former

 officers, employees, directors, employees, agents, advisors, and all other persons acting or

 purporting to act on its behalf.

         39.      “Sugarman” shall mean Steven A. Sugarman and any of his agents,

 representatives, consultants, attorneys, or any other person acting on his behalf.

         40.      “This action” shall mean the present lawsuit, In re Banc of California Securities

 Litigation, Case No. SACV 17-00118 AG (DFMx), pending in the United States District Court

 for the Central District of California.

         41.      “Transactions” shall mean any actual or attempted orders, purchases,

 acquisitions, sales, swaps, dispositions, tenders, donations, receipt, gifts, transfers, puts, calls,

 short sales, equities, debt, derivatives, or any other means by which YOU, whether for your

 own account or benefit or for the account or benefit of any other person, acquired or disposed

 of any interest in securities.

         42.     “Wellington Management” shall mean Wellington Management Company LLP

 and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

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        43.     As used herein, the use of the singular form of any word shall include the plural

 form of the same and vice versa.

 II.    INSTRUCTIONS

        1.      In responding to these requests, you shall produce all responsive documents

 which are in your possession, custody, or control, or in the possession, custody, or control of

 your predecessors, successors, partners, managing agents, agents, employees, accountants, or any

 other representative. A document shall be deemed to be within your control if you have the

 ability or right to secure the document or a copy of the document from another person having

 possession or custody of the document.
        2.      All documents should be produced: (a) as they are kept in the ordinary course of

 business, complete with legible copies of the labels of file folders, binders, containers, or other

 devices from which they were taken, or (b) organized according to the request to which they

 respond.

        3.      If any responsive document was, but no longer is, in your possession or subject to

 your control, state whether the document is: (a) missing or lost; (b) destroyed; (c) transferred

 voluntarily or involuntarily to others; or (d) otherwise disposed of, and in each instance identify

 the name and address of its current or last known custodian, and the circumstances surrounding

 such disposition.

        4.      If you claim any form of privilege or any other objection, whether based on

 statute, common law, or otherwise, as a ground for not producing any requested document,

 please furnish a list identifying each document for which the privilege or other objection is

 claimed together with the following information:

                        a.      the privilege being asserted;

                        b.      the person on whose behalf the privilege is asserted;

                        c.      a precise statement of the facts upon which the claim of privilege is

                                based; and

                        d.      identify the purported privileged document, including:

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                                (1)     its nature, e.g., letter, memorandum, tape, etc.;

                                (2)     the date it was prepared;

                                (3)     the date the document bears;

                                (4)     the date the document was sent;

                                (5)     the date it was received;

                                (6)     the name of the person who prepared the document;

                                (7)     the name(s) of the person(s) who received the document;

                                (8)     the name of each person to whom it was sent or was

                                        intended to be sent, including all addressees and all

                                        recipients of copies; and
                                (9)     a statement of whom each identified person represented or

                                        purported to represent at all relevant times.

        5.      If a portion of any document responsive to these requests is withheld under claim

 of privilege pursuant to Instruction 4, any non-privileged portion of such document must be

 produced with the portion claimed to be privileged redacted.

        6.      You are to produce each document requested herein in its entirety, without

 deletion or excision (except as qualified by Instructions 4 and 5 above) regardless of whether you

 consider the entire document to be relevant or responsive to the requests.

        7.      The singular of any term includes the plural, the use of one gender or pronoun

 shall include all others, as appropriate in the context, and the disjunctive shall include the

 conjunctive, and vice versa. Construe the terms “and” and “or” as used in this document in the

 conjunctive and disjunctive so as to produce the broadest scope of documents pursuant to each

 request.

        8.      The requests herein are continuing so that any additional documents responsive to

 the requests herein that you acquire or discover, up to and including the time of trial, shall be

 furnished through prompt supplemental responses as required by Fed. R. Civ. P. 26(e). This

 paragraph shall not be construed to alter your obligations to comply with all other instructions

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  herein.

  III.      RELEVANT TIME PERIOD

            Unless otherwise specifically indicated, the requests herein refer to the period from

  October 1, 2015 to April 30, 2017 (the “Relevant Period”), and shall include documents and

  information that relate to such period, even though prepared or published outside of the Relevant

  Period. If a document prepared before this period is necessary for a correct or complete

  understanding of any document covered by a request, you must produce the earlier document as

  well. If any document is undated and the date of its preparation cannot be determined, the

  document shall be produced if otherwise responsive to the request.
  IV.       DOCUMENT REQUESTS

            REQUEST NO. 1:

            All COMMUNICATIONS with BANC, or third parties representing BANC in connection

 with the COMMUNICATION, including without limitation:

               • Non-disclosure agreements;

               • Due diligence materials obtained from BANC;

               • Documents regarding potential investments in BANC;

               • COMMUNICATIONS with BANC board members, officers, or other

                  representatives; and

               • COMMUNICATIONS regarding SUGARMAN, GALANIS, any ALLEGED

                  GALANIS ENTITY, AURELIUS, or Winston & Strawn LLP.

            REQUEST NO. 2:

            All DOCUMENTS that reflect YOUR TRANSACTIONS in BANC SECURITIES,

 including without limitation:

               • The total position YOU held in BANC SECURITIES at the end of the trading day

                  of October 17, 2016;

               • The total amount of put options YOU held in BANC SECURITIES at the end of the

                  trading day of October 17, 2016;

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            • YOUR transactions in BANC SECURITIES on October 18, 19, 20, and 21, 2016,

                and throughout the Relevant Period; and

            • Documents sufficient to reflect or calculate the amount of profit YOU earned on all

               put options YOU held in BANC SECURITIES that were set to expire on or after

               October 21, 2016.

         REQUEST NO. 3:

         All DOCUMENTS that refer, reflect or relate to the basis for YOUR decision to engage

 in any TRANSACTIONS in BANC SECURITIES including without limitation:

            • All investment memorandum, emails, models, and other analysis relating to

               TRANSACTIONS in BANC SECURITIES;

            • All investment committee minutes, resolutions or other COMMUNICATIONS

               regarding any TRANSACTION in BANC SECURITIES; and

            • All research, investigations, analysis or reports prepared by YOU, private

               investigators, investigation research firms or other third parties regarding BANC,

               GALANIS, or any ALLEGED GALANIS ENTITY.

         REQUEST NO. 4:
         All DOCUMENTS and COMMUNICATIONS that refer, reflect or relate to the

 BLOG or AURELIUS, including without limitation any COMMUNICATIONS with

 AURELIUS or SEEKING ALPHA, and including without limitation any DOCUMENTS

 relating to AURELIUS’s identity.

         REQUEST NO. 5:

         All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU

 and any third party regarding BANC, SUGARMAN, GALANIS, ALLEGED GALANIS

 ENTITY, the BLOG, or AURELIUS, including without limitation COMMUNICATIONS

 between YOU and any of the following people or entities: BLOOMBERG NEWS, PEAK 6

 CAPITAL MANAGEMENT LLC, James Gibson, Gary Robert Mathews, CSS LLC, Keith

 Allen Dilling, David Mathews, Rosemary Norris Hall, Kalyn Mathews Denno, Adam Denno,

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 JCSD PARTNERS LP, G2 TRADING LLC, Jacques Brousseau, Andrew Left, Michael David

 Gold, Kenneth Gold, Zeke Faux, Jenny Surane, Dakin Campbell, Eben Novy-Williams, Steven

 Didion, Richard Lashley, PL CAPITAL, W. Kirk Wycoff, PATRIOT CAPITAL, ENDICOTT

 MANAGEMENT CO., Basswood, Halle Bennett, KBW, STIFEL, Jeffrey Karish, Jonah Schnel,

 Robert Sznewajs, SUGARMAN, Francisco Turner, Jason Sugarman, Nathan Koppikar,

 SPARROW FUND MANAGEMENT, Andrew Secrist, Christopher Carroll, Tim Coffey, FIG

 PARTNERS, Thomas Michaud (or Thomas Beaulieu Michaud), BofI Holding Inc., COR

 CLEARING, COR SECURITIES HOLDINGS, Zeke Faux, Jenny Surane, Dakin Campbell, or

 GALANIS.

        REQUEST NO. 6:
       All COMMUNICATIONS with and DOCUMENTS that refer, reflect or relate to

 GALANIS or any ALLEGED GALANIS ENTITY.

        REQUEST NO. 7:

       All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

 COR CLEARING or COR SECURITIES HOLDINGS regarding BANC or SUGARMAN.

       REQUEST NO. 8:

       All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

 Robbins Geller Rudman & Dowd, Bragar Eagel & Squire, P.C., Bronstein, Gewirtz & Grossman,

 LLC, Faruqi & Faruqi, LLP, Glancy Prongay & Murray LLP, Goldberg Law PC, Hagens Berman

 Sobol Shapiro LLP, Holzer & Holzer, LLC, Hynes Keller & Hernandez, LLC, Johnson & Weaver,

 LLP, Khang & Khang LLP, Law Offices of Howard G. Smith, Levi & Korsinsky, LLP, Lifshitz &

 Miller Law Firm, Lundin Law PC, Rosen Law Firm, the SEC, other REGULATORS, or other

 BANC INVESTORS or SHORTS, or any representatives thereof, relating to BANC or

 SUGARMAN.

       REQUEST NO. 9:

       All CORRESPONDENCE with any of the following people or entities from 2013 to the

 present: PATRIOT CAPITAL (including W. Kirk Wycoff); PL CAPITAL (including Richard

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 Lashley); Halle Benett, Jeffrey Karish, SUGARMAN, Francisco Turner, Jonah Schnel, Chad

 Brownstein, COR CLEARING or its current or former employees, PEAK 6 CAPITAL

 MANAGEMENT LLC, James Gibson, Nathan Koppikar, SPARROW FUND MANAGEMENT,

 CASTALIAN PARTNERS VALUE FUND, LP, BLOOMBERG NEWS (or its journalists), or FIG

 PARTNERS.

        REQUEST NO. 10:

        All CORRESPONDENCE with any of the following people or entities: GALANIS, John

 Galanis, Jared Galanis, Hugh Dunkerely, Gary T. Hirst, Bevan T. Cooney, Michelle A. Morton,

 Devon D. Archer, Ymer Shahini, Derek Hamels, Francisco Martin or Monet Berger.




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                    EXHIBIT 8
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Central District
                                                       __________ Districtofof
                                                                             California
                                                                               __________
        In re Banc of California Securities Litigation
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. SACV 17-00118 AG (DFMx)
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                        Gary Matthews, 5623 Suwanee Road, Fairway, KS 66205

                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A



  Place: First Legal Records c/o Executive Investigative Service,                       Date and Time:
           927 S. Sunset Dr., Olathe, KS 66061, (877) 591-9979                                               08/08/2018 0:00 am

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/17/2018

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Kristen M. Tuey
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Defendant Steven A. Sugarman                                            , who issues or requests this subpoena, are:
Latham & Watkins LLP, 355 S. Grand Ave., Ste 100, Los Angeles, CA 90071, 213.485.1234, kristen.tuey@lw.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. SACV 17-00118 AG (DFMx)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           ATTACHMENT A

 I.         DEFINITIONS

            Unless otherwise stated, the terms set forth below are defined as follows:

            1.     “Mathews,” “you,” or “your” shall mean Gary Robert Mathews and any

 employees, agents, advisors, representatives, consultants, attorneys, and all other persons

 acting or purporting to act on your behalf.

            2.     “Affiliate” shall mean a person that directly, or indirectly through one or more

 intermediaries, controls or is controlled by, or is under common control with, the person

 specified.
            3.     “And” and “or” shall be construed either disjunctively or conjunctively, as

 necessary by the context, to bring within the scope of the definition, instruction, or request all

 responses that might otherwise be construed to be outside of its scope by any other construction.

            4.     The terms “all,” “any,” and “each” shall each be construed as encompassing any

 and all.

            5.     “Aurelius” shall mean the author listed on the byline of the blog

 post entitled “BANC: Extensive Ties to Notorious Fraudster Jason Galanis Make Shares Un-

 Investible,” posted on the website SeekingAlpha.com on October 18, 2016.

            6.     “Banc” shall collectively refer to Defendant Banc of California, Inc., Banc of

 California, N.A., and, without limitation, its predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf. As used

 herein, “Banc” shall be construed either disjunctively or conjunctively, to include Banc of

 California, Inc. individually as well as collectively with Banc of California, N.A. or any other

 affiliate, and as necessary by the context, to bring within the scope of the definition, instruction,

 or request all responses that might otherwise be construed to be outside of its scope by any other

 construction.

            7.     “Banc Securities” means any security, financial interest, preferred share, common

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 share, option, note, treasury stock, bond, debenture, evidence of indebtedness, collateral trust

 certificate, transferable share, voting trust certificate or any other certificate of interest or

 participation (whether permanent, temporary or interim), or any warrant, contract, option

 (including puts or calls), or right to subscribe to, purchase, borrow against, or sell any of the

 foregoing concerning Banc.

         8.      “Blog” refers to the blog post entitled “BANC: Extensive Ties to Notorious

 Fraudster Jason Galanis Make Shares Un-Investible,” posted on the website SeekingAlpha.com

 by “Aurelius” on October 18, 2016.
         9.      “Bloomberg News” shall mean Bloomberg News and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         10.      “Board” or “Boards” shall mean individually and collectively the Board of

 Directors of Banc of California, Inc. and Banc of California, N.A.

         11.     “Castalian Partners Value Fund, LP” shall mean Castalian Partners Value Fund,

 LP, and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on its behalf.

         12.      “Communication” or “communications” means e-mail, text message, letter

 (including attachments) or any other transmittal of information (in the form of facts, ideas,

 inquiries or otherwise).

         13.     “Concerning” means relating to, referring to, describing, evidencing, or

 constituting.

         14.     “COR Clearing” shall mean COR Clearing, LLC and, without limitation, its

 current or former predecessors, successors, parents, subsidiaries, affiliates, divisions, directors,

 officers, employees, principals, trustees, agents, representatives, consultants, internal and

 external attorneys, or any other person acting on their behalf.

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         15.     “COR Securities Holdings” shall mean COR Securities Holdings, Inc. and,

 without limitation, its current or former predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf.

         16.     “CSS LLC” shall mean CSS LLC and, without limitation, its predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, employees, principals,

 trustees, agents, representatives, consultants, internal and external attorneys, or any other

 person acting on their behalf.
         17.     “Document” or “documents” is defined to mean all documents, electronically

 stored information, and tangible things in the broadest sense under Rule 34 of the Federal Rules

 of Civil Procedure, and shall mean anything that can be read, viewed, heard, or otherwise

 understood. Subject to and in accordance with the Instructions herein, “document” shall not be

 limited in any way with respect to medium, embodiment, or process of creation, generation, or

 reproduction; “document” shall include, without limitation, all preliminary, intermediate, and

 final versions thereof, as well as any notations, comments, and marginalia (handwritten or

 otherwise) appearing thereon or therein; “document” shall include originals (or high quality

 duplicates), all non-identical copies or drafts, and all attachments, exhibits, or similar items. Any

 document bearing on any sheet or side thereof, any marks, including, without limitation, initials,

 notations, comments, or marginalia of any character which are not part of the original text or

 reproduction thereof, shall be considered a separate document. Document or documents shall

 include without limitation any and all Communications.

         18.     “Electronic data” refers to any original and any non-identical copies (whether

 non-identical because of notes made on copies or attached comments, annotations, marks,

 transmission notations, or highlighting of any kind), mechanical, facsimile, electronic, magnetic,

 digital, or other programs (whether private, commercial, or work-in-progress), programming

 notes or instructions, activity listings of electronic mail or “e-mail” receipts or transmittals,

 output resulting from the use of any software program, including word processing documents,

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 spreadsheets, database files, charts, graphs, and outlines, electronic mail, operating systems,

 source code of all types, programming languages, linkers and compilers, peripheral drives, PDF

 files, PRF files, batch files, ASCII files, crosswalks, code keys, pull down tables, logs, file

 layouts, or any miscellaneous files or file fragments, regardless of the media on which they

 reside and regardless of whether said electronic data consists of an active file, backup file,

 deleted file, or file fragment. “Electronic data” also includes, without limitation, any items

 stored on computer memory or memories, hard drives, zip drives, CD-ROM discs or in any other

 vehicle for electronic or digital data storage or transmittal, files, folder tabs, or containers and

 labels appended to or associated with any physical storage device associated with each original

 and each copy.
         19.      “Endicott Management Co.” shall mean Endicott Management Company and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         20.      “FIG Partners” shall mean FIG Partners and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         21.      “G2 Trading LLC” shall mean G2 Trading LLC or G-2 Trading LLC and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         22.      “Galanis” shall mean Jason W. Galanis and any of his agents, representatives,

 consultants, attorneys, or any other person acting on his behalf.

         23.      “Alleged Galanis Entity” shall mean Gerova Financial Group, Ltd., Hughes

 Capital Management, LLC, Atlantic Asset Management LLC, Burnham Securities, Inc.,

 Burnham Financial Group, Burnham Asset Management Corporation, BAM Holdings, LLC,

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 Thorsdale Fiduciary and Guaranty Company Ltd., Valor Group Ltd., Valorlife, Wealth

 Assurance Holdings Ltd., Wealth-Assurance AG, Wealth Assurance Private Client

 Corporation, Valorlife Lebensversicherungs AG, Holmby Capital Group, IP Global Investors

 Ltd., Prospect Global Resources, Inc., Private Equity Management LLC, Malaga Asset

 Management, LLC, Stanwich Absolute Return, Ltd., Bel Air LLC, Emerging Markets Global

 Hedge Ltd., Little Giggles LLC, Galanis Family Trust, Rosemont Seneca Bohai LLC, BOE

 Capital LLC, BFG Socially Responsible Investing Limited, GMT Duncan LLC, COR Fund

 Advisors, and COR International, including, without limitation, any of their predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, principals, trustees,

 agents, representatives, consultants, attorneys, or any other person acting on their behalf.

 Nothing in this definition shall admit, concede, or suggest that Jason Galanis had any control

 over such entities.
         24.     “Investors” shall mean persons or entities who engage in TRANSACTIONS in

 SECURITIES.

         25.     “JCSD Partners LP” shall mean JCSD Partners LP and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         26.      “KBW” shall mean Keefe, Bruyette & Woods, Inc. and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         27.     “Patriot Capital” shall mean Patriot Capital and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         28.     “Peak 6 Capital Management LLC” shall mean Peak 6 Capital Management,

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 LLC and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf.

         29.      “PL Capital” shall mean PL Capital, LLC and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         30.     “Person” shall mean any natural person or any legal entity, including, without

 limitation, any business or governmental entity or association.
         31.     “Refer, reflect, or relate to” and similar terms, used together or alone, shall mean

 all information, facts, or documents that directly, indirectly, or in any other way support,

 concern, negate, bear upon, touch upon, incorporate, affect, include, pertain to, or are otherwise

 connected with the subject matter about which the request is made.

         32.      “Regulators” shall refer to the regulatory agencies responsible for

 overseeing the securities industry or banking industry, including without limitation the

 Federal Reserve Board, United States Department of the Treasury, the Office of the

 Comptroller of the Currency, or the Financial Industry Regulatory Authority (FINRA).

         33.      “SEC” shall mean the United States Securities and Exchange Commission,

 including all present or former officers, employees, directors, employees, agents,

 attorneys, advisors, accountants, consultants, and all other persons acting or purporting to

 act on its behalf.

         34.     “Securities” shall have the meaning set forth in the Securities Exchange Act of

 1934, 15 U.S.C. §§ 78a, et seq.

         35.     “Seeking Alpha” shall mean SeekingAlpha of SeekingAlpha.com, any of its

 direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present or former officers, employees, directors, employees, agents, advisors, and all other

 persons acting or purporting to act on its behalf.

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         36.     “Shorts” shall mean INVESTORS engaged in the practice of short selling

 SECURITIES, including without limitation INVESTORS who sold BANC short in October

 2016.

         37.      “Sparrow Fund Management” shall mean any of the following entities and

 their direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present and former officers, directors, employees, agents, advisors, and all other persons

 acting or purporting to act on their behalf, including Sparrow Fund Management LP,

 Sparrow Fund Management LLP, Sparrow GP, LLC, Sparrow Partners, LP, and Sparrow

 Fund Performance, LLC.
         38.     “Stifel” shall mean Stifel Financial Corp., any of its direct or indirect

 subsidiaries, divisions or affiliates, parents, predecessors, successors, present or former

 officers, employees, directors, employees, agents, advisors, and all other persons acting or

 purporting to act on its behalf.

         39.      “Sugarman” shall mean Steven A. Sugarman and any of his agents,

 representatives, consultants, attorneys, or any other person acting on his behalf.

         40.      “This action” shall mean the present lawsuit, In re Banc of California Securities

 Litigation, Case No. SACV 17-00118 AG (DFMx), pending in the United States District Court

 for the Central District of California.

         41.      “Transactions” shall mean any actual or attempted orders, purchases,

 acquisitions, sales, swaps, dispositions, tenders, donations, receipt, gifts, transfers, puts, calls,

 short sales, equities, debt, derivatives, or any other means by which YOU, whether for your

 own account or benefit or for the account or benefit of any other person, acquired or disposed

 of any interest in securities.

         42.     “Wellington Management” shall mean Wellington Management Company LLP

 and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

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        43.     As used herein, the use of the singular form of any word shall include the plural

 form of the same and vice versa.

 II.    INSTRUCTIONS

        1.      In responding to these requests, you shall produce all responsive documents

 which are in your possession, custody, or control, or in the possession, custody, or control of

 your predecessors, successors, partners, managing agents, agents, employees, accountants, or any

 other representative. A document shall be deemed to be within your control if you have the

 ability or right to secure the document or a copy of the document from another person having

 possession or custody of the document.
        2.      All documents should be produced: (a) as they are kept in the ordinary course of

 business, complete with legible copies of the labels of file folders, binders, containers, or other

 devices from which they were taken, or (b) organized according to the request to which they

 respond.

        3.      If any responsive document was, but no longer is, in your possession or subject to

 your control, state whether the document is: (a) missing or lost; (b) destroyed; (c) transferred

 voluntarily or involuntarily to others; or (d) otherwise disposed of, and in each instance identify

 the name and address of its current or last known custodian, and the circumstances surrounding

 such disposition.

        4.      If you claim any form of privilege or any other objection, whether based on

 statute, common law, or otherwise, as a ground for not producing any requested document,

 please furnish a list identifying each document for which the privilege or other objection is

 claimed together with the following information:

                        a.      the privilege being asserted;

                        b.      the person on whose behalf the privilege is asserted;

                        c.      a precise statement of the facts upon which the claim of privilege is

                                based; and

                        d.      identify the purported privileged document, including:

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                                (1)     its nature, e.g., letter, memorandum, tape, etc.;

                                (2)     the date it was prepared;

                                (3)     the date the document bears;

                                (4)     the date the document was sent;

                                (5)     the date it was received;

                                (6)     the name of the person who prepared the document;

                                (7)     the name(s) of the person(s) who received the document;

                                (8)     the name of each person to whom it was sent or was

                                        intended to be sent, including all addressees and all

                                        recipients of copies; and
                                (9)     a statement of whom each identified person represented or

                                        purported to represent at all relevant times.

        5.      If a portion of any document responsive to these requests is withheld under claim

 of privilege pursuant to Instruction 4, any non-privileged portion of such document must be

 produced with the portion claimed to be privileged redacted.

        6.      You are to produce each document requested herein in its entirety, without

 deletion or excision (except as qualified by Instructions 4 and 5 above) regardless of whether you

 consider the entire document to be relevant or responsive to the requests.

        7.      The singular of any term includes the plural, the use of one gender or pronoun

 shall include all others, as appropriate in the context, and the disjunctive shall include the

 conjunctive, and vice versa. Construe the terms “and” and “or” as used in this document in the

 conjunctive and disjunctive so as to produce the broadest scope of documents pursuant to each

 request.

        8.      The requests herein are continuing so that any additional documents responsive to

 the requests herein that you acquire or discover, up to and including the time of trial, shall be

 furnished through prompt supplemental responses as required by Fed. R. Civ. P. 26(e). This

 paragraph shall not be construed to alter your obligations to comply with all other instructions

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  herein.

  III.      RELEVANT TIME PERIOD

            Unless otherwise specifically indicated, the requests herein refer to the period from

  October 1, 2015 to April 30, 2017 (the “Relevant Period”), and shall include documents and

  information that relate to such period, even though prepared or published outside of the Relevant

  Period. If a document prepared before this period is necessary for a correct or complete

  understanding of any document covered by a request, you must produce the earlier document as

  well. If any document is undated and the date of its preparation cannot be determined, the

  document shall be produced if otherwise responsive to the request.
  IV.       DOCUMENT REQUESTS

            REQUEST NO. 1:

            All COMMUNICATIONS with BANC, or third parties representing BANC in connection

 with the COMMUNICATION, including without limitation:

               • Non-disclosure agreements;

               • Due diligence materials obtained from BANC;

               • Documents regarding potential investments in BANC;

               • COMMUNICATIONS with BANC board members, officers, or other

                  representatives; and

               • COMMUNICATIONS regarding SUGARMAN, GALANIS, any ALLEGED

                  GALANIS ENTITY, AURELIUS, or Winston & Strawn LLP.

            REQUEST NO. 2:

            All DOCUMENTS that reflect YOUR TRANSACTIONS in BANC SECURITIES,

 including without limitation:

               • The total position YOU held in BANC SECURITIES at the end of the trading day

                  of October 17, 2016;

               • The total amount of put options YOU held in BANC SECURITIES at the end of the

                  trading day of October 17, 2016;

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            • YOUR transactions in BANC SECURITIES on October 18, 19, 20, and 21, 2016,

                and throughout the Relevant Period; and

            • Documents sufficient to reflect or calculate the amount of profit YOU earned on all

               put options YOU held in BANC SECURITIES that were set to expire on or after

               October 21, 2016.

         REQUEST NO. 3:

         All DOCUMENTS that refer, reflect or relate to the basis for YOUR decision to engage

 in any TRANSACTIONS in BANC SECURITIES including without limitation:

            • All investment memorandum, emails, models, and other analysis relating to

               TRANSACTIONS in BANC SECURITIES;

            • All investment committee minutes, resolutions or other COMMUNICATIONS

               regarding any TRANSACTION in BANC SECURITIES; and

            • All research, investigations, analysis or reports prepared by YOU, private

               investigators, investigation research firms or other third parties regarding BANC,

               GALANIS, or any ALLEGED GALANIS ENTITY.

         REQUEST NO. 4:
         All DOCUMENTS and COMMUNICATIONS that refer, reflect or relate to the

 BLOG or AURELIUS, including without limitation any COMMUNICATIONS with

 AURELIUS or SEEKING ALPHA, and including without limitation any DOCUMENTS

 relating to AURELIUS’s identity.

         REQUEST NO. 5:

         All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU

 and any third party regarding BANC, SUGARMAN, GALANIS, ALLEGED GALANIS

 ENTITY, the BLOG, or AURELIUS, including without limitation COMMUNICATIONS

 between YOU and any of the following people or entities: BLOOMBERG NEWS, PEAK 6

 CAPITAL MANAGEMENT LLC, James Gibson, Gary Robert Mathews, CSS LLC, Keith

 Allen Dilling, David Mathews, Rosemary Norris Hall, Kalyn Mathews Denno, Adam Denno,

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 JCSD PARTNERS LP, G2 TRADING LLC, Jacques Brousseau, Andrew Left, Michael David

 Gold, Kenneth Gold, Zeke Faux, Jenny Surane, Dakin Campbell, Eben Novy-Williams, Steven

 Didion, Richard Lashley, PL CAPITAL, W. Kirk Wycoff, PATRIOT CAPITAL, ENDICOTT

 MANAGEMENT CO., Basswood, Halle Bennett, KBW, STIFEL, Jeffrey Karish, Jonah Schnel,

 Robert Sznewajs, SUGARMAN, Francisco Turner, Jason Sugarman, Nathan Koppikar,

 SPARROW FUND MANAGEMENT, Andrew Secrist, Christopher Carroll, Tim Coffey, FIG

 PARTNERS, Thomas Michaud (or Thomas Beaulieu Michaud), BofI Holding Inc., COR

 CLEARING, COR SECURITIES HOLDINGS, Zeke Faux, Jenny Surane, Dakin Campbell, or

 GALANIS.

        REQUEST NO. 6:
       All COMMUNICATIONS with and DOCUMENTS that refer, reflect or relate to

 GALANIS or any ALLEGED GALANIS ENTITY.

        REQUEST NO. 7:

       All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

 COR CLEARING or COR SECURITIES HOLDINGS regarding BANC or SUGARMAN.

       REQUEST NO. 8:

       All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

 Robbins Geller Rudman & Dowd, Bragar Eagel & Squire, P.C., Bronstein, Gewirtz & Grossman,

 LLC, Faruqi & Faruqi, LLP, Glancy Prongay & Murray LLP, Goldberg Law PC, Hagens Berman

 Sobol Shapiro LLP, Holzer & Holzer, LLC, Hynes Keller & Hernandez, LLC, Johnson & Weaver,

 LLP, Khang & Khang LLP, Law Offices of Howard G. Smith, Levi & Korsinsky, LLP, Lifshitz &

 Miller Law Firm, Lundin Law PC, Rosen Law Firm, the SEC, other REGULATORS, or other

 BANC INVESTORS or SHORTS, or any representatives thereof, relating to BANC or

 SUGARMAN.

       REQUEST NO. 9:

       All CORRESPONDENCE with any of the following people or entities from 2013 to the

 present: PATRIOT CAPITAL (including W. Kirk Wycoff); PL CAPITAL (including Richard

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 Lashley); Halle Benett, Jeffrey Karish, SUGARMAN, Francisco Turner, Jonah Schnel, Chad

 Brownstein, COR CLEARING or its current or former employees, PEAK 6 CAPITAL

 MANAGEMENT LLC, James Gibson, Nathan Koppikar, SPARROW FUND MANAGEMENT,

 CASTALIAN PARTNERS VALUE FUND, LP, BLOOMBERG NEWS (or its journalists), or FIG

 PARTNERS.

        REQUEST NO. 10:

        All CORRESPONDENCE with any of the following people or entities: GALANIS, John

 Galanis, Jared Galanis, Hugh Dunkerely, Gary T. Hirst, Bevan T. Cooney, Michelle A. Morton,

 Devon D. Archer, Ymer Shahini, Derek Hamels, Francisco Martin or Monet Berger.




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                    EXHIBIT 9
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Central District
                                                       __________ Districtofof
                                                                             California
                                                                               __________
        In re Banc of California Securities Litigation
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. SACV 17-00118 AG (DFMx)
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                       Keith Allen Dilling, 13208 Meandering Way, Dallas TX 75240

                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A



  Place: First Legal Records c/o Courier Management Systems,                            Date and Time:
           1150 Empire Central Place, Ste. 106-A, Dallas, TX                                                 08/08/2018 9:00 am
           75247, (877) 591-9979

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/17/2018

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Kristen M. Tuey
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Defendant Steven A. Sugarman                                            , who issues or requests this subpoena, are:
Latham & Watkins LLP, 355 S. Grand Ave., Ste 100, Los Angeles, CA 90071, 213.485.1234, kristen.tuey@lw.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. SACV 17-00118 AG (DFMx)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           ATTACHMENT A

 I.         DEFINITIONS

            Unless otherwise stated, the terms set forth below are defined as follows:

            1.     “Dilling,” “you,” or “your” shall mean Keith Allen Dilling and any employees,

 agents, advisors, representatives, consultants, attorneys, and all other persons acting or

 purporting to act on your behalf.

            2.     “Affiliate” shall mean a person that directly, or indirectly through one or more

 intermediaries, controls or is controlled by, or is under common control with, the person

 specified.
            3.     “And” and “or” shall be construed either disjunctively or conjunctively, as

 necessary by the context, to bring within the scope of the definition, instruction, or request all

 responses that might otherwise be construed to be outside of its scope by any other construction.

            4.     The terms “all,” “any,” and “each” shall each be construed as encompassing any

 and all.

            5.     “Aurelius” shall mean the author listed on the byline of the blog

 post entitled “BANC: Extensive Ties to Notorious Fraudster Jason Galanis Make Shares Un-

 Investible,” posted on the website SeekingAlpha.com on October 18, 2016.

            6.     “Banc” shall collectively refer to Defendant Banc of California, Inc., Banc of

 California, N.A., and, without limitation, its predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf. As used

 herein, “Banc” shall be construed either disjunctively or conjunctively, to include Banc of

 California, Inc. individually as well as collectively with Banc of California, N.A. or any other

 affiliate, and as necessary by the context, to bring within the scope of the definition, instruction,

 or request all responses that might otherwise be construed to be outside of its scope by any other

 construction.

            7.     “Banc Securities” means any security, financial interest, preferred share, common

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 share, option, note, treasury stock, bond, debenture, evidence of indebtedness, collateral trust

 certificate, transferable share, voting trust certificate or any other certificate of interest or

 participation (whether permanent, temporary or interim), or any warrant, contract, option

 (including puts or calls), or right to subscribe to, purchase, borrow against, or sell any of the

 foregoing concerning Banc.

         8.      “Blog” refers to the blog post entitled “BANC: Extensive Ties to Notorious

 Fraudster Jason Galanis Make Shares Un-Investible,” posted on the website SeekingAlpha.com

 by “Aurelius” on October 18, 2016.
         9.      “Bloomberg News” shall mean Bloomberg News and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         10.      “Board” or “Boards” shall mean individually and collectively the Board of

 Directors of Banc of California, Inc. and Banc of California, N.A.

         11.     “Castalian Partners Value Fund, LP” shall mean Castalian Partners Value Fund,

 LP, and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on its behalf.

         12.      “Communication” or “communications” means e-mail, text message, letter

 (including attachments) or any other transmittal of information (in the form of facts, ideas,

 inquiries or otherwise).

         13.     “Concerning” means relating to, referring to, describing, evidencing, or

 constituting.

         14.     “COR Clearing” shall mean COR Clearing, LLC and, without limitation, its

 current or former predecessors, successors, parents, subsidiaries, affiliates, divisions, directors,

 officers, employees, principals, trustees, agents, representatives, consultants, internal and

 external attorneys, or any other person acting on their behalf.

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         15.     “COR Securities Holdings” shall mean COR Securities Holdings, Inc. and,

 without limitation, its current or former predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf.

         16.     “CSS LLC” shall mean CSS LLC and, without limitation, its predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, employees, principals,

 trustees, agents, representatives, consultants, internal and external attorneys, or any other

 person acting on their behalf.
         17.     “Document” or “documents” is defined to mean all documents, electronically

 stored information, and tangible things in the broadest sense under Rule 34 of the Federal Rules

 of Civil Procedure, and shall mean anything that can be read, viewed, heard, or otherwise

 understood. Subject to and in accordance with the Instructions herein, “document” shall not be

 limited in any way with respect to medium, embodiment, or process of creation, generation, or

 reproduction; “document” shall include, without limitation, all preliminary, intermediate, and

 final versions thereof, as well as any notations, comments, and marginalia (handwritten or

 otherwise) appearing thereon or therein; “document” shall include originals (or high quality

 duplicates), all non-identical copies or drafts, and all attachments, exhibits, or similar items. Any

 document bearing on any sheet or side thereof, any marks, including, without limitation, initials,

 notations, comments, or marginalia of any character which are not part of the original text or

 reproduction thereof, shall be considered a separate document. Document or documents shall

 include without limitation any and all Communications.

         18.     “Electronic data” refers to any original and any non-identical copies (whether

 non-identical because of notes made on copies or attached comments, annotations, marks,

 transmission notations, or highlighting of any kind), mechanical, facsimile, electronic, magnetic,

 digital, or other programs (whether private, commercial, or work-in-progress), programming

 notes or instructions, activity listings of electronic mail or “e-mail” receipts or transmittals,

 output resulting from the use of any software program, including word processing documents,

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 spreadsheets, database files, charts, graphs, and outlines, electronic mail, operating systems,

 source code of all types, programming languages, linkers and compilers, peripheral drives, PDF

 files, PRF files, batch files, ASCII files, crosswalks, code keys, pull down tables, logs, file

 layouts, or any miscellaneous files or file fragments, regardless of the media on which they

 reside and regardless of whether said electronic data consists of an active file, backup file,

 deleted file, or file fragment. “Electronic data” also includes, without limitation, any items

 stored on computer memory or memories, hard drives, zip drives, CD-ROM discs or in any other

 vehicle for electronic or digital data storage or transmittal, files, folder tabs, or containers and

 labels appended to or associated with any physical storage device associated with each original

 and each copy.
         19.      “Endicott Management Co.” shall mean Endicott Management Company and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         20.      “FIG Partners” shall mean FIG Partners and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         21.      “G2 Trading LLC” shall mean G2 Trading LLC or G-2 Trading LLC and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         22.      “Galanis” shall mean Jason W. Galanis and any of his agents, representatives,

 consultants, attorneys, or any other person acting on his behalf.

         23.      “Alleged Galanis Entity” shall mean Gerova Financial Group, Ltd., Hughes

 Capital Management, LLC, Atlantic Asset Management LLC, Burnham Securities, Inc.,

 Burnham Financial Group, Burnham Asset Management Corporation, BAM Holdings, LLC,

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 Thorsdale Fiduciary and Guaranty Company Ltd., Valor Group Ltd., Valorlife, Wealth

 Assurance Holdings Ltd., Wealth-Assurance AG, Wealth Assurance Private Client

 Corporation, Valorlife Lebensversicherungs AG, Holmby Capital Group, IP Global Investors

 Ltd., Prospect Global Resources, Inc., Private Equity Management LLC, Malaga Asset

 Management, LLC, Stanwich Absolute Return, Ltd., Bel Air LLC, Emerging Markets Global

 Hedge Ltd., Little Giggles LLC, Galanis Family Trust, Rosemont Seneca Bohai LLC, BOE

 Capital LLC, BFG Socially Responsible Investing Limited, GMT Duncan LLC, COR Fund

 Advisors, and COR International, including, without limitation, any of their predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, principals, trustees,

 agents, representatives, consultants, attorneys, or any other person acting on their behalf.

 Nothing in this definition shall admit, concede, or suggest that Jason Galanis had any control

 over such entities.
         24.     “Investors” shall mean persons or entities who engage in TRANSACTIONS in

 SECURITIES.

         25.     “JCSD Partners LP” shall mean JCSD Partners LP and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         26.      “KBW” shall mean Keefe, Bruyette & Woods, Inc. and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         27.     “Patriot Capital” shall mean Patriot Capital and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         28.     “Peak 6 Capital Management LLC” shall mean Peak 6 Capital Management,

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 LLC and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf.

         29.      “PL Capital” shall mean PL Capital, LLC and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         30.     “Person” shall mean any natural person or any legal entity, including, without

 limitation, any business or governmental entity or association.
         31.     “Refer, reflect, or relate to” and similar terms, used together or alone, shall mean

 all information, facts, or documents that directly, indirectly, or in any other way support,

 concern, negate, bear upon, touch upon, incorporate, affect, include, pertain to, or are otherwise

 connected with the subject matter about which the request is made.

         32.      “Regulators” shall refer to the regulatory agencies responsible for

 overseeing the securities industry or banking industry, including without limitation the

 Federal Reserve Board, United States Department of the Treasury, the Office of the

 Comptroller of the Currency, or the Financial Industry Regulatory Authority (FINRA).

         33.      “SEC” shall mean the United States Securities and Exchange Commission,

 including all present or former officers, employees, directors, employees, agents,

 attorneys, advisors, accountants, consultants, and all other persons acting or purporting to

 act on its behalf.

         34.     “Securities” shall have the meaning set forth in the Securities Exchange Act of

 1934, 15 U.S.C. §§ 78a, et seq.

         35.     “Seeking Alpha” shall mean SeekingAlpha of SeekingAlpha.com, any of its

 direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present or former officers, employees, directors, employees, agents, advisors, and all other

 persons acting or purporting to act on its behalf.

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         36.     “Shorts” shall mean INVESTORS engaged in the practice of short selling

 SECURITIES, including without limitation INVESTORS who sold BANC short in October

 2016.

         37.      “Sparrow Fund Management” shall mean any of the following entities and

 their direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present and former officers, directors, employees, agents, advisors, and all other persons

 acting or purporting to act on their behalf, including Sparrow Fund Management LP,

 Sparrow Fund Management LLP, Sparrow GP, LLC, Sparrow Partners, LP, and Sparrow

 Fund Performance, LLC.
         38.     “Stifel” shall mean Stifel Financial Corp., any of its direct or indirect

 subsidiaries, divisions or affiliates, parents, predecessors, successors, present or former

 officers, employees, directors, employees, agents, advisors, and all other persons acting or

 purporting to act on its behalf.

         39.      “Sugarman” shall mean Steven A. Sugarman and any of his agents,

 representatives, consultants, attorneys, or any other person acting on his behalf.

         40.      “This action” shall mean the present lawsuit, In re Banc of California Securities

 Litigation, Case No. SACV 17-00118 AG (DFMx), pending in the United States District Court

 for the Central District of California.

         41.      “Transactions” shall mean any actual or attempted orders, purchases,

 acquisitions, sales, swaps, dispositions, tenders, donations, receipt, gifts, transfers, puts, calls,

 short sales, equities, debt, derivatives, or any other means by which YOU, whether for your

 own account or benefit or for the account or benefit of any other person, acquired or disposed

 of any interest in securities.

         42.     “Wellington Management” shall mean Wellington Management Company LLP

 and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

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        43.     As used herein, the use of the singular form of any word shall include the plural

 form of the same and vice versa.

 II.    INSTRUCTIONS

        1.      In responding to these requests, you shall produce all responsive documents

 which are in your possession, custody, or control, or in the possession, custody, or control of

 your predecessors, successors, partners, managing agents, agents, employees, accountants, or any

 other representative. A document shall be deemed to be within your control if you have the

 ability or right to secure the document or a copy of the document from another person having

 possession or custody of the document.
        2.      All documents should be produced: (a) as they are kept in the ordinary course of

 business, complete with legible copies of the labels of file folders, binders, containers, or other

 devices from which they were taken, or (b) organized according to the request to which they

 respond.

        3.      If any responsive document was, but no longer is, in your possession or subject to

 your control, state whether the document is: (a) missing or lost; (b) destroyed; (c) transferred

 voluntarily or involuntarily to others; or (d) otherwise disposed of, and in each instance identify

 the name and address of its current or last known custodian, and the circumstances surrounding

 such disposition.

        4.      If you claim any form of privilege or any other objection, whether based on

 statute, common law, or otherwise, as a ground for not producing any requested document,

 please furnish a list identifying each document for which the privilege or other objection is

 claimed together with the following information:

                        a.      the privilege being asserted;

                        b.      the person on whose behalf the privilege is asserted;

                        c.      a precise statement of the facts upon which the claim of privilege is

                                based; and

                        d.      identify the purported privileged document, including:

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                                (1)     its nature, e.g., letter, memorandum, tape, etc.;

                                (2)     the date it was prepared;

                                (3)     the date the document bears;

                                (4)     the date the document was sent;

                                (5)     the date it was received;

                                (6)     the name of the person who prepared the document;

                                (7)     the name(s) of the person(s) who received the document;

                                (8)     the name of each person to whom it was sent or was

                                        intended to be sent, including all addressees and all

                                        recipients of copies; and
                                (9)     a statement of whom each identified person represented or

                                        purported to represent at all relevant times.

        5.      If a portion of any document responsive to these requests is withheld under claim

 of privilege pursuant to Instruction 4, any non-privileged portion of such document must be

 produced with the portion claimed to be privileged redacted.

        6.      You are to produce each document requested herein in its entirety, without

 deletion or excision (except as qualified by Instructions 4 and 5 above) regardless of whether you

 consider the entire document to be relevant or responsive to the requests.

        7.      The singular of any term includes the plural, the use of one gender or pronoun

 shall include all others, as appropriate in the context, and the disjunctive shall include the

 conjunctive, and vice versa. Construe the terms “and” and “or” as used in this document in the

 conjunctive and disjunctive so as to produce the broadest scope of documents pursuant to each

 request.

        8.      The requests herein are continuing so that any additional documents responsive to

 the requests herein that you acquire or discover, up to and including the time of trial, shall be

 furnished through prompt supplemental responses as required by Fed. R. Civ. P. 26(e). This

 paragraph shall not be construed to alter your obligations to comply with all other instructions

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  herein.

  III.      RELEVANT TIME PERIOD

            Unless otherwise specifically indicated, the requests herein refer to the period from

  October 1, 2015 to April 30, 2017 (the “Relevant Period”), and shall include documents and

  information that relate to such period, even though prepared or published outside of the Relevant

  Period. If a document prepared before this period is necessary for a correct or complete

  understanding of any document covered by a request, you must produce the earlier document as

  well. If any document is undated and the date of its preparation cannot be determined, the

  document shall be produced if otherwise responsive to the request.
  IV.       DOCUMENT REQUESTS

            REQUEST NO. 1:

            All COMMUNICATIONS with BANC, or third parties representing BANC in connection

 with the COMMUNICATION, including without limitation:

               • Non-disclosure agreements;

               • Due diligence materials obtained from BANC;

               • Documents regarding potential investments in BANC;

               • COMMUNICATIONS with BANC board members, officers, or other

                  representatives; and

               • COMMUNICATIONS regarding SUGARMAN, GALANIS, any ALLEGED

                  GALANIS ENTITY, AURELIUS, or Winston & Strawn LLP.

            REQUEST NO. 2:

            All DOCUMENTS that reflect YOUR TRANSACTIONS in BANC SECURITIES,

 including without limitation:

               • The total position YOU held in BANC SECURITIES at the end of the trading day

                  of October 17, 2016;

               • The total amount of put options YOU held in BANC SECURITIES at the end of the

                  trading day of October 17, 2016;

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            • YOUR transactions in BANC SECURITIES on October 18, 19, 20, and 21, 2016,

                and throughout the Relevant Period; and

            • Documents sufficient to reflect or calculate the amount of profit YOU earned on all

               put options YOU held in BANC SECURITIES that were set to expire on or after

               October 21, 2016.

         REQUEST NO. 3:

         All DOCUMENTS that refer, reflect or relate to the basis for YOUR decision to engage

 in any TRANSACTIONS in BANC SECURITIES including without limitation:

            • All investment memorandum, emails, models, and other analysis relating to

               TRANSACTIONS in BANC SECURITIES;

            • All investment committee minutes, resolutions or other COMMUNICATIONS

               regarding any TRANSACTION in BANC SECURITIES; and

            • All research, investigations, analysis or reports prepared by YOU, private

               investigators, investigation research firms or other third parties regarding BANC,

               GALANIS, or any ALLEGED GALANIS ENTITY.

         REQUEST NO. 4:
         All DOCUMENTS and COMMUNICATIONS that refer, reflect or relate to the

 BLOG or AURELIUS, including without limitation any COMMUNICATIONS with

 AURELIUS or SEEKING ALPHA, and including without limitation any DOCUMENTS

 relating to AURELIUS’s identity.

         REQUEST NO. 5:

         All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU

 and any third party regarding BANC, SUGARMAN, GALANIS, ALLEGED GALANIS

 ENTITY, the BLOG, or AURELIUS, including without limitation COMMUNICATIONS

 between YOU and any of the following people or entities: BLOOMBERG NEWS, PEAK 6

 CAPITAL MANAGEMENT LLC, James Gibson, Gary Robert Mathews, CSS LLC, Keith

 Allen Dilling, David Mathews, Rosemary Norris Hall, Kalyn Mathews Denno, Adam Denno,

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 JCSD PARTNERS LP, G2 TRADING LLC, Jacques Brousseau, Andrew Left, Michael David

 Gold, Kenneth Gold, Zeke Faux, Jenny Surane, Dakin Campbell, Eben Novy-Williams, Steven

 Didion, Richard Lashley, PL CAPITAL, W. Kirk Wycoff, PATRIOT CAPITAL, ENDICOTT

 MANAGEMENT CO., Basswood, Halle Bennett, KBW, STIFEL, Jeffrey Karish, Jonah Schnel,

 Robert Sznewajs, SUGARMAN, Francisco Turner, Jason Sugarman, Nathan Koppikar,

 SPARROW FUND MANAGEMENT, Andrew Secrist, Christopher Carroll, Tim Coffey, FIG

 PARTNERS, Thomas Michaud (or Thomas Beaulieu Michaud), BofI Holding Inc., COR

 CLEARING, COR SECURITIES HOLDINGS, Zeke Faux, Jenny Surane, Dakin Campbell, or

 GALANIS.

        REQUEST NO. 6:
       All COMMUNICATIONS with and DOCUMENTS that refer, reflect or relate to

 GALANIS or any ALLEGED GALANIS ENTITY.

        REQUEST NO. 7:

       All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

 COR CLEARING or COR SECURITIES HOLDINGS regarding BANC or SUGARMAN.

       REQUEST NO. 8:

       All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

 Robbins Geller Rudman & Dowd, Bragar Eagel & Squire, P.C., Bronstein, Gewirtz & Grossman,

 LLC, Faruqi & Faruqi, LLP, Glancy Prongay & Murray LLP, Goldberg Law PC, Hagens Berman

 Sobol Shapiro LLP, Holzer & Holzer, LLC, Hynes Keller & Hernandez, LLC, Johnson & Weaver,

 LLP, Khang & Khang LLP, Law Offices of Howard G. Smith, Levi & Korsinsky, LLP, Lifshitz &

 Miller Law Firm, Lundin Law PC, Rosen Law Firm, the SEC, other REGULATORS, or other

 BANC INVESTORS or SHORTS, or any representatives thereof, relating to BANC or

 SUGARMAN.

       REQUEST NO. 9:

       All CORRESPONDENCE with any of the following people or entities from 2013 to the

 present: PATRIOT CAPITAL (including W. Kirk Wycoff); PL CAPITAL (including Richard

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 Lashley); Halle Benett, Jeffrey Karish, SUGARMAN, Francisco Turner, Jonah Schnel, Chad

 Brownstein, COR CLEARING or its current or former employees, PEAK 6 CAPITAL

 MANAGEMENT LLC, James Gibson, Nathan Koppikar, SPARROW FUND MANAGEMENT,

 CASTALIAN PARTNERS VALUE FUND, LP, BLOOMBERG NEWS (or its journalists), or FIG

 PARTNERS.

        REQUEST NO. 10:

        All CORRESPONDENCE with any of the following people or entities: GALANIS, John

 Galanis, Jared Galanis, Hugh Dunkerely, Gary T. Hirst, Bevan T. Cooney, Michelle A. Morton,

 Devon D. Archer, Ymer Shahini, Derek Hamels, Francisco Martin or Monet Berger.




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                    EXHIBIT 10
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                                          #:559
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Central District
                                                       __________ Districtofof
                                                                             California
                                                                               __________
        In re Banc of California Securities Litigation
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. SACV 17-00118 AG (DFMx)
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                          Rosemary Norris Hall, 6848 Bandera Avenue, Apartment 237, Dallas, TX 75225

                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A



  Place: First Legal Records c/o Courier Management Systems,                            Date and Time:
           1150 Empire Central Place, Ste. 106-A, Dallas, TX                                                 08/08/2018 9:00 am
           75247, (877) 591-9979

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/17/2018

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Kristen M. Tuey
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Defendant Steven A. Sugarman                                            , who issues or requests this subpoena, are:
Latham & Watkins LLP, 355 S. Grand Ave., Ste 100, Los Angeles, CA 90071, 213.485.1234, kristen.tuey@lw.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                                         #:560
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. SACV 17-00118 AG (DFMx)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           ATTACHMENT A

 I.         DEFINITIONS

            Unless otherwise stated, the terms set forth below are defined as follows:

            1.     “Hall,” “you,” or “your” shall mean Rosemary Norris Hall and any employees,

 agents, advisors, representatives, consultants, attorneys, and all other persons acting or

 purporting to act on your behalf.

            2.     “Affiliate” shall mean a person that directly, or indirectly through one or more

 intermediaries, controls or is controlled by, or is under common control with, the person

 specified.
            3.     “And” and “or” shall be construed either disjunctively or conjunctively, as

 necessary by the context, to bring within the scope of the definition, instruction, or request all

 responses that might otherwise be construed to be outside of its scope by any other construction.

            4.     The terms “all,” “any,” and “each” shall each be construed as encompassing any

 and all.

            5.     “Aurelius” shall mean the author listed on the byline of the blog

 post entitled “BANC: Extensive Ties to Notorious Fraudster Jason Galanis Make Shares Un-

 Investible,” posted on the website SeekingAlpha.com on October 18, 2016.

            6.     “Banc” shall collectively refer to Defendant Banc of California, Inc., Banc of

 California, N.A., and, without limitation, its predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf. As used

 herein, “Banc” shall be construed either disjunctively or conjunctively, to include Banc of

 California, Inc. individually as well as collectively with Banc of California, N.A. or any other

 affiliate, and as necessary by the context, to bring within the scope of the definition, instruction,

 or request all responses that might otherwise be construed to be outside of its scope by any other

 construction.

            7.     “Banc Securities” means any security, financial interest, preferred share, common

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 share, option, note, treasury stock, bond, debenture, evidence of indebtedness, collateral trust

 certificate, transferable share, voting trust certificate or any other certificate of interest or

 participation (whether permanent, temporary or interim), or any warrant, contract, option

 (including puts or calls), or right to subscribe to, purchase, borrow against, or sell any of the

 foregoing concerning Banc.

         8.      “Blog” refers to the blog post entitled “BANC: Extensive Ties to Notorious

 Fraudster Jason Galanis Make Shares Un-Investible,” posted on the website SeekingAlpha.com

 by “Aurelius” on October 18, 2016.
         9.      “Bloomberg News” shall mean Bloomberg News and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         10.      “Board” or “Boards” shall mean individually and collectively the Board of

 Directors of Banc of California, Inc. and Banc of California, N.A.

         11.     “Castalian Partners Value Fund, LP” shall mean Castalian Partners Value Fund,

 LP, and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on its behalf.

         12.      “Communication” or “communications” means e-mail, text message, letter

 (including attachments) or any other transmittal of information (in the form of facts, ideas,

 inquiries or otherwise).

         13.     “Concerning” means relating to, referring to, describing, evidencing, or

 constituting.

         14.     “COR Clearing” shall mean COR Clearing, LLC and, without limitation, its

 current or former predecessors, successors, parents, subsidiaries, affiliates, divisions, directors,

 officers, employees, principals, trustees, agents, representatives, consultants, internal and

 external attorneys, or any other person acting on their behalf.

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         15.     “COR Securities Holdings” shall mean COR Securities Holdings, Inc. and,

 without limitation, its current or former predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf.

         16.     “CSS LLC” shall mean CSS LLC and, without limitation, its predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, employees, principals,

 trustees, agents, representatives, consultants, internal and external attorneys, or any other

 person acting on their behalf.
         17.     “Document” or “documents” is defined to mean all documents, electronically

 stored information, and tangible things in the broadest sense under Rule 34 of the Federal Rules

 of Civil Procedure, and shall mean anything that can be read, viewed, heard, or otherwise

 understood. Subject to and in accordance with the Instructions herein, “document” shall not be

 limited in any way with respect to medium, embodiment, or process of creation, generation, or

 reproduction; “document” shall include, without limitation, all preliminary, intermediate, and

 final versions thereof, as well as any notations, comments, and marginalia (handwritten or

 otherwise) appearing thereon or therein; “document” shall include originals (or high quality

 duplicates), all non-identical copies or drafts, and all attachments, exhibits, or similar items. Any

 document bearing on any sheet or side thereof, any marks, including, without limitation, initials,

 notations, comments, or marginalia of any character which are not part of the original text or

 reproduction thereof, shall be considered a separate document. Document or documents shall

 include without limitation any and all Communications.

         18.     “Electronic data” refers to any original and any non-identical copies (whether

 non-identical because of notes made on copies or attached comments, annotations, marks,

 transmission notations, or highlighting of any kind), mechanical, facsimile, electronic, magnetic,

 digital, or other programs (whether private, commercial, or work-in-progress), programming

 notes or instructions, activity listings of electronic mail or “e-mail” receipts or transmittals,

 output resulting from the use of any software program, including word processing documents,

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 spreadsheets, database files, charts, graphs, and outlines, electronic mail, operating systems,

 source code of all types, programming languages, linkers and compilers, peripheral drives, PDF

 files, PRF files, batch files, ASCII files, crosswalks, code keys, pull down tables, logs, file

 layouts, or any miscellaneous files or file fragments, regardless of the media on which they

 reside and regardless of whether said electronic data consists of an active file, backup file,

 deleted file, or file fragment. “Electronic data” also includes, without limitation, any items

 stored on computer memory or memories, hard drives, zip drives, CD-ROM discs or in any other

 vehicle for electronic or digital data storage or transmittal, files, folder tabs, or containers and

 labels appended to or associated with any physical storage device associated with each original

 and each copy.
         19.      “Endicott Management Co.” shall mean Endicott Management Company and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         20.      “FIG Partners” shall mean FIG Partners and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         21.      “G2 Trading LLC” shall mean G2 Trading LLC or G-2 Trading LLC and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         22.      “Galanis” shall mean Jason W. Galanis and any of his agents, representatives,

 consultants, attorneys, or any other person acting on his behalf.

         23.      “Alleged Galanis Entity” shall mean Gerova Financial Group, Ltd., Hughes

 Capital Management, LLC, Atlantic Asset Management LLC, Burnham Securities, Inc.,

 Burnham Financial Group, Burnham Asset Management Corporation, BAM Holdings, LLC,

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 Thorsdale Fiduciary and Guaranty Company Ltd., Valor Group Ltd., Valorlife, Wealth

 Assurance Holdings Ltd., Wealth-Assurance AG, Wealth Assurance Private Client

 Corporation, Valorlife Lebensversicherungs AG, Holmby Capital Group, IP Global Investors

 Ltd., Prospect Global Resources, Inc., Private Equity Management LLC, Malaga Asset

 Management, LLC, Stanwich Absolute Return, Ltd., Bel Air LLC, Emerging Markets Global

 Hedge Ltd., Little Giggles LLC, Galanis Family Trust, Rosemont Seneca Bohai LLC, BOE

 Capital LLC, BFG Socially Responsible Investing Limited, GMT Duncan LLC, COR Fund

 Advisors, and COR International, including, without limitation, any of their predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, principals, trustees,

 agents, representatives, consultants, attorneys, or any other person acting on their behalf.

 Nothing in this definition shall admit, concede, or suggest that Jason Galanis had any control

 over such entities.
         24.     “Investors” shall mean persons or entities who engage in TRANSACTIONS in

 SECURITIES.

         25.     “JCSD Partners LP” shall mean JCSD Partners LP and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         26.      “KBW” shall mean Keefe, Bruyette & Woods, Inc. and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         27.     “Patriot Capital” shall mean Patriot Capital and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         28.     “Peak 6 Capital Management LLC” shall mean Peak 6 Capital Management,

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 LLC and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf.

         29.      “PL Capital” shall mean PL Capital, LLC and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         30.     “Person” shall mean any natural person or any legal entity, including, without

 limitation, any business or governmental entity or association.
         31.     “Refer, reflect, or relate to” and similar terms, used together or alone, shall mean

 all information, facts, or documents that directly, indirectly, or in any other way support,

 concern, negate, bear upon, touch upon, incorporate, affect, include, pertain to, or are otherwise

 connected with the subject matter about which the request is made.

         32.      “Regulators” shall refer to the regulatory agencies responsible for

 overseeing the securities industry or banking industry, including without limitation the

 Federal Reserve Board, United States Department of the Treasury, the Office of the

 Comptroller of the Currency, or the Financial Industry Regulatory Authority (FINRA).

         33.      “SEC” shall mean the United States Securities and Exchange Commission,

 including all present or former officers, employees, directors, employees, agents,

 attorneys, advisors, accountants, consultants, and all other persons acting or purporting to

 act on its behalf.

         34.     “Securities” shall have the meaning set forth in the Securities Exchange Act of

 1934, 15 U.S.C. §§ 78a, et seq.

         35.     “Seeking Alpha” shall mean SeekingAlpha of SeekingAlpha.com, any of its

 direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present or former officers, employees, directors, employees, agents, advisors, and all other

 persons acting or purporting to act on its behalf.

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         36.     “Shorts” shall mean INVESTORS engaged in the practice of short selling

 SECURITIES, including without limitation INVESTORS who sold BANC short in October

 2016.

         37.      “Sparrow Fund Management” shall mean any of the following entities and

 their direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present and former officers, directors, employees, agents, advisors, and all other persons

 acting or purporting to act on their behalf, including Sparrow Fund Management LP,

 Sparrow Fund Management LLP, Sparrow GP, LLC, Sparrow Partners, LP, and Sparrow

 Fund Performance, LLC.
         38.     “Stifel” shall mean Stifel Financial Corp., any of its direct or indirect

 subsidiaries, divisions or affiliates, parents, predecessors, successors, present or former

 officers, employees, directors, employees, agents, advisors, and all other persons acting or

 purporting to act on its behalf.

         39.      “Sugarman” shall mean Steven A. Sugarman and any of his agents,

 representatives, consultants, attorneys, or any other person acting on his behalf.

         40.      “This action” shall mean the present lawsuit, In re Banc of California Securities

 Litigation, Case No. SACV 17-00118 AG (DFMx), pending in the United States District Court

 for the Central District of California.

         41.      “Transactions” shall mean any actual or attempted orders, purchases,

 acquisitions, sales, swaps, dispositions, tenders, donations, receipt, gifts, transfers, puts, calls,

 short sales, equities, debt, derivatives, or any other means by which YOU, whether for your

 own account or benefit or for the account or benefit of any other person, acquired or disposed

 of any interest in securities.

         42.     “Wellington Management” shall mean Wellington Management Company LLP

 and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

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        43.     As used herein, the use of the singular form of any word shall include the plural

 form of the same and vice versa.

 II.    INSTRUCTIONS

        1.      In responding to these requests, you shall produce all responsive documents

 which are in your possession, custody, or control, or in the possession, custody, or control of

 your predecessors, successors, partners, managing agents, agents, employees, accountants, or any

 other representative. A document shall be deemed to be within your control if you have the

 ability or right to secure the document or a copy of the document from another person having

 possession or custody of the document.
        2.      All documents should be produced: (a) as they are kept in the ordinary course of

 business, complete with legible copies of the labels of file folders, binders, containers, or other

 devices from which they were taken, or (b) organized according to the request to which they

 respond.

        3.      If any responsive document was, but no longer is, in your possession or subject to

 your control, state whether the document is: (a) missing or lost; (b) destroyed; (c) transferred

 voluntarily or involuntarily to others; or (d) otherwise disposed of, and in each instance identify

 the name and address of its current or last known custodian, and the circumstances surrounding

 such disposition.

        4.      If you claim any form of privilege or any other objection, whether based on

 statute, common law, or otherwise, as a ground for not producing any requested document,

 please furnish a list identifying each document for which the privilege or other objection is

 claimed together with the following information:

                        a.      the privilege being asserted;

                        b.      the person on whose behalf the privilege is asserted;

                        c.      a precise statement of the facts upon which the claim of privilege is

                                based; and

                        d.      identify the purported privileged document, including:

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                                (1)     its nature, e.g., letter, memorandum, tape, etc.;

                                (2)     the date it was prepared;

                                (3)     the date the document bears;

                                (4)     the date the document was sent;

                                (5)     the date it was received;

                                (6)     the name of the person who prepared the document;

                                (7)     the name(s) of the person(s) who received the document;

                                (8)     the name of each person to whom it was sent or was

                                        intended to be sent, including all addressees and all

                                        recipients of copies; and
                                (9)     a statement of whom each identified person represented or

                                        purported to represent at all relevant times.

        5.      If a portion of any document responsive to these requests is withheld under claim

 of privilege pursuant to Instruction 4, any non-privileged portion of such document must be

 produced with the portion claimed to be privileged redacted.

        6.      You are to produce each document requested herein in its entirety, without

 deletion or excision (except as qualified by Instructions 4 and 5 above) regardless of whether you

 consider the entire document to be relevant or responsive to the requests.

        7.      The singular of any term includes the plural, the use of one gender or pronoun

 shall include all others, as appropriate in the context, and the disjunctive shall include the

 conjunctive, and vice versa. Construe the terms “and” and “or” as used in this document in the

 conjunctive and disjunctive so as to produce the broadest scope of documents pursuant to each

 request.

        8.      The requests herein are continuing so that any additional documents responsive to

 the requests herein that you acquire or discover, up to and including the time of trial, shall be

 furnished through prompt supplemental responses as required by Fed. R. Civ. P. 26(e). This

 paragraph shall not be construed to alter your obligations to comply with all other instructions

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  herein.

  III.      RELEVANT TIME PERIOD

            Unless otherwise specifically indicated, the requests herein refer to the period from

  October 1, 2015 to April 30, 2017 (the “Relevant Period”), and shall include documents and

  information that relate to such period, even though prepared or published outside of the Relevant

  Period. If a document prepared before this period is necessary for a correct or complete

  understanding of any document covered by a request, you must produce the earlier document as

  well. If any document is undated and the date of its preparation cannot be determined, the

  document shall be produced if otherwise responsive to the request.
  IV.       DOCUMENT REQUESTS

            REQUEST NO. 1:

            All COMMUNICATIONS with BANC, or third parties representing BANC in connection

 with the COMMUNICATION, including without limitation:

               • Non-disclosure agreements;

               • Due diligence materials obtained from BANC;

               • Documents regarding potential investments in BANC;

               • COMMUNICATIONS with BANC board members, officers, or other

                  representatives; and

               • COMMUNICATIONS regarding SUGARMAN, GALANIS, any ALLEGED

                  GALANIS ENTITY, AURELIUS, or Winston & Strawn LLP.

            REQUEST NO. 2:

            All DOCUMENTS that reflect YOUR TRANSACTIONS in BANC SECURITIES,

 including without limitation:

               • The total position YOU held in BANC SECURITIES at the end of the trading day

                  of October 17, 2016;

               • The total amount of put options YOU held in BANC SECURITIES at the end of the

                  trading day of October 17, 2016;

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            • YOUR transactions in BANC SECURITIES on October 18, 19, 20, and 21, 2016,

                and throughout the Relevant Period; and

            • Documents sufficient to reflect or calculate the amount of profit YOU earned on all

               put options YOU held in BANC SECURITIES that were set to expire on or after

               October 21, 2016.

         REQUEST NO. 3:

         All DOCUMENTS that refer, reflect or relate to the basis for YOUR decision to engage

 in any TRANSACTIONS in BANC SECURITIES including without limitation:

            • All investment memorandum, emails, models, and other analysis relating to

               TRANSACTIONS in BANC SECURITIES;

            • All investment committee minutes, resolutions or other COMMUNICATIONS

               regarding any TRANSACTION in BANC SECURITIES; and

            • All research, investigations, analysis or reports prepared by YOU, private

               investigators, investigation research firms or other third parties regarding BANC,

               GALANIS, or any ALLEGED GALANIS ENTITY.

         REQUEST NO. 4:
         All DOCUMENTS and COMMUNICATIONS that refer, reflect or relate to the

 BLOG or AURELIUS, including without limitation any COMMUNICATIONS with

 AURELIUS or SEEKING ALPHA, and including without limitation any DOCUMENTS

 relating to AURELIUS’s identity.

         REQUEST NO. 5:

         All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU

 and any third party regarding BANC, SUGARMAN, GALANIS, ALLEGED GALANIS

 ENTITY, the BLOG, or AURELIUS, including without limitation COMMUNICATIONS

 between YOU and any of the following people or entities: BLOOMBERG NEWS, PEAK 6

 CAPITAL MANAGEMENT LLC, James Gibson, Gary Robert Mathews, CSS LLC, Keith

 Allen Dilling, David Mathews, Rosemary Norris Hall, Kalyn Mathews Denno, Adam Denno,

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 JCSD PARTNERS LP, G2 TRADING LLC, Jacques Brousseau, Andrew Left, Michael David

 Gold, Kenneth Gold, Zeke Faux, Jenny Surane, Dakin Campbell, Eben Novy-Williams, Steven

 Didion, Richard Lashley, PL CAPITAL, W. Kirk Wycoff, PATRIOT CAPITAL, ENDICOTT

 MANAGEMENT CO., Basswood, Halle Bennett, KBW, STIFEL, Jeffrey Karish, Jonah Schnel,

 Robert Sznewajs, SUGARMAN, Francisco Turner, Jason Sugarman, Nathan Koppikar,

 SPARROW FUND MANAGEMENT, Andrew Secrist, Christopher Carroll, Tim Coffey, FIG

 PARTNERS, Thomas Michaud (or Thomas Beaulieu Michaud), BofI Holding Inc., COR

 CLEARING, COR SECURITIES HOLDINGS, Zeke Faux, Jenny Surane, Dakin Campbell, or

 GALANIS.

        REQUEST NO. 6:
       All COMMUNICATIONS with and DOCUMENTS that refer, reflect or relate to

 GALANIS or any ALLEGED GALANIS ENTITY.

        REQUEST NO. 7:

       All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

 COR CLEARING or COR SECURITIES HOLDINGS regarding BANC or SUGARMAN.

       REQUEST NO. 8:

       All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

 Robbins Geller Rudman & Dowd, Bragar Eagel & Squire, P.C., Bronstein, Gewirtz & Grossman,

 LLC, Faruqi & Faruqi, LLP, Glancy Prongay & Murray LLP, Goldberg Law PC, Hagens Berman

 Sobol Shapiro LLP, Holzer & Holzer, LLC, Hynes Keller & Hernandez, LLC, Johnson & Weaver,

 LLP, Khang & Khang LLP, Law Offices of Howard G. Smith, Levi & Korsinsky, LLP, Lifshitz &

 Miller Law Firm, Lundin Law PC, Rosen Law Firm, the SEC, other REGULATORS, or other

 BANC INVESTORS or SHORTS, or any representatives thereof, relating to BANC or

 SUGARMAN.

       REQUEST NO. 9:

       All CORRESPONDENCE with any of the following people or entities from 2013 to the

 present: PATRIOT CAPITAL (including W. Kirk Wycoff); PL CAPITAL (including Richard

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 Lashley); Halle Benett, Jeffrey Karish, SUGARMAN, Francisco Turner, Jonah Schnel, Chad

 Brownstein, COR CLEARING or its current or former employees, PEAK 6 CAPITAL

 MANAGEMENT LLC, James Gibson, Nathan Koppikar, SPARROW FUND MANAGEMENT,

 CASTALIAN PARTNERS VALUE FUND, LP, BLOOMBERG NEWS (or its journalists), or FIG

 PARTNERS.

        REQUEST NO. 10:

        All CORRESPONDENCE with any of the following people or entities: GALANIS, John

 Galanis, Jared Galanis, Hugh Dunkerely, Gary T. Hirst, Bevan T. Cooney, Michelle A. Morton,

 Devon D. Archer, Ymer Shahini, Derek Hamels, Francisco Martin or Monet Berger.




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                    EXHIBIT 11
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                                          #:576
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Central District
                                                       __________ Districtofof
                                                                             California
                                                                               __________
        In re Banc of California Securities Litigation
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. SACV 17-00118 AG (DFMx)
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                     Michelman & Robinson, 10880 Wilshire Boulevard, 19th Floor, Los Angeles, CA 90024

                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A



  Place: Latham & Watkins LLP                                                           Date and Time:
           355 S. Grand Avenue, Suite 100                                                                    08/08/2018 9:00 am
           Los Angeles, CA 90071

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/17/2018

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Kristen M. Tuey
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Defendant Steven A. Sugarman                                            , who issues or requests this subpoena, are:
Latham & Watkins LLP, 355 S. Grand Ave., Ste 100, Los Angeles, CA 90071, 213.485.1234, kristen.tuey@lw.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. SACV 17-00118 AG (DFMx)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           ATTACHMENT A

 I.         DEFINITIONS

            Unless otherwise stated, the terms set forth below are defined as follows:

            1.     “Affiliate” shall mean a person that directly, or indirectly through one or more

 intermediaries, controls or is controlled by, or is under common control with, the person

 specified.

            2.     “And” and “or” shall be construed either disjunctively or conjunctively, as

 necessary by the context, to bring within the scope of the definition, instruction, or request all

 responses that might otherwise be construed to be outside of its scope by any other construction.
            3.     The terms “all,” “any,” and “each” shall each be construed as encompassing any

 and all.

            4.     “Banc” shall collectively refer to Defendant Banc of California, Inc., Banc of

 California, N.A., and, without limitation, its predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf. As used

 herein, “Banc” shall be construed either disjunctively or conjunctively, to include Banc of

 California, Inc. individually as well as collectively with Banc of California, N.A. or any other

 affiliate, and as necessary by the context, to bring within the scope of the definition, instruction,

 or request all responses that might otherwise be construed to be outside of its scope by any other

 construction.

            5.     “Communication” or “communications” means e-mail, text message, letter

 (including attachments) or any other transmittal of information (in the form of facts, ideas,

 inquiries or otherwise).

            6.     “Concerning” means relating to, referring to, describing, evidencing, or

 constituting.

            7.     “Document” or “documents” is defined to mean all documents, electronically

 stored information, and tangible things in the broadest sense under Rule 34 of the Federal Rules

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 of Civil Procedure, and shall mean anything that can be read, viewed, heard, or otherwise

 understood. Subject to and in accordance with the Instructions herein, “document” shall not be

 limited in any way with respect to medium, embodiment, or process of creation, generation, or

 reproduction; “document” shall include, without limitation, all preliminary, intermediate, and

 final versions thereof, as well as any notations, comments, and marginalia (handwritten or

 otherwise) appearing thereon or therein; “document” shall include originals (or high quality

 duplicates), all non-identical copies or drafts, and all attachments, exhibits, or similar items. Any

 document bearing on any sheet or side thereof, any marks, including, without limitation, initials,

 notations, comments, or marginalia of any character which are not part of the original text or

 reproduction thereof, shall be considered a separate document. Document or documents shall

 include without limitation any and all Communications.
         8.       “Electronic data” refers to any original and any non-identical copies (whether

 non-identical because of notes made on copies or attached comments, annotations, marks,

 transmission notations, or highlighting of any kind), mechanical, facsimile, electronic, magnetic,

 digital, or other programs (whether private, commercial, or work-in-progress), programming

 notes or instructions, activity listings of electronic mail or “e-mail” receipts or transmittals,

 output resulting from the use of any software program, including word processing documents,

 spreadsheets, database files, charts, graphs, and outlines, electronic mail, operating systems,

 source code of all types, programming languages, linkers and compilers, peripheral drives, PDF

 files, PRF files, batch files, ASCII files, crosswalks, code keys, pull down tables, logs, file

 layouts, or any miscellaneous files or file fragments, regardless of the media on which they

 reside and regardless of whether said electronic data consists of an active file, backup file,

 deleted file, or file fragment. “Electronic data” also includes, without limitation, any items

 stored on computer memory or memories, hard drives, zip drives, CD-ROM discs or in any other

 vehicle for electronic or digital data storage or transmittal, files, folder tabs, or containers and

 labels appended to or associated with any physical storage device associated with each original

 and each copy.

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        9.      “Engagement” shall mean Your representation of Banc of California, N.A. during

 the time period October 1, 2016 to January 23, 2017 in connection with (a) the investigation

 conducted by WilmerHale on behalf of the Special Committee of Banc of California, Inc., (b) the

 enhancement of Banc’s controls environment, and/or (c) whistleblower or other reports of

 potential or actual misconduct. For further clarification and avoidance of doubt, the Engagement

 includes Your representation of Banc of California, N.A. which resulted in or was in connection

 with the subject matters of the following: (a) the letters attached as Exhibit 1; and/or (b) the

 receipt, analysis, or communication of any whistleblowing or misconduct allegations against any

 member of the Special Committee of Banc of California, Inc. or Banc management during the

 time period October 1, 2016 to January 23, 2017.
        10.       “John Grosvenor” shall mean John C. Grosvenor and any of his agents,

 representatives, consultants, attorneys, or any other person acting on his behalf.

        11.       “Person” shall mean any natural person or any legal entity, including,

 without limitation, any business or governmental entity or association.

        12.       “Refer, reflect, or relate to” and similar terms, used together or alone, shall mean

 all information, facts, or documents that directly, indirectly, or in any other way support,

 concern, negate, bear upon, touch upon, incorporate, affect, include, pertain to, or are otherwise

 connected with the subject matter about which the request is made.

        13.       “Sugarman” shall mean Steven A. Sugarman and any of his agents,

 representatives, consultants, attorneys, or any other person acting on his behalf.

        14.       “This action” shall mean the present lawsuit, In re Banc of California Securities

 Litigation, Case No. SACV 17-00118 AG (DFMx), pending in the United States District Court

 for the Central District of California.

        15.       “WilmerHale” shall mean the law firm Wilmer Cutler Pickering Hale and Dorr,

 and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, principals, trustees, agents, representatives, consultants, attorneys, or any other

 person acting on its behalf.

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         16.      “You,” or “your” shall mean Michelman & Robinson, LLP and, without

 limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions, directors,

 officers, employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         17.      As used herein, the use of the singular form of any word shall include the plural

 form of the same and vice versa.

  II.     INSTRUCTIONS

          1.      In responding to these requests, you shall produce all responsive documents

  which are in your possession, custody, or control, or in the possession, custody, or control of

  your predecessors, successors, partners, managing agents, agents, employees, accountants, or any

  other representative. A document shall be deemed to be within your control if you have the

  ability or right to secure the document or a copy of the document from another person having

  possession or custody of the document.
          2.      All documents should be produced: (a) as they are kept in the ordinary course of

  business, complete with legible copies of the labels of file folders, binders, containers, or other

  devices from which they were taken, or (b) organized according to the request to which they

  respond.

          3.      If any responsive document was, but no longer is, in your possession or subject to

  your control, state whether the document is: (a) missing or lost; (b) destroyed; (c) transferred

  voluntarily or involuntarily to others; or (d) otherwise disposed of, and in each instance identify

  the name and address of its current or last known custodian, and the circumstances surrounding

  such disposition.

          4.      If you claim any form of privilege or any other objection, whether based on

  statute, common law, or otherwise, as a ground for not producing any requested document,

  please furnish a list identifying each document for which the privilege or other objection is

  claimed together with the following information:

                          a.      the privilege being asserted;

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                        b.      the person on whose behalf the privilege is asserted;

                        c.      a precise statement of the facts upon which the claim of privilege is

                                based; and

                        d.      identify the purported privileged document, including:

                                (1)     its nature, e.g., letter, memorandum, tape, etc.;

                                (2)     the date it was prepared;

                                (3)     the date the document bears;

                                (4)     the date the document was sent;
                                (5)     the date it was received;

                                (6)     the name of the person who prepared the document;

                                (7)     the name(s) of the person(s) who received the document;

                                (8)     the name of each person to whom it was sent or was

                                        intended to be sent, including all addressees and all

                                        recipients of copies; and

                                (9)     a statement of whom each identified person represented or

                                        purported to represent at all relevant times.

        5.      If a portion of any document responsive to these requests is withheld under claim

 of privilege pursuant to Instruction 4, any non-privileged portion of such document must be

 produced with the portion claimed to be privileged redacted.

        6.      You are to produce each document requested herein in its entirety, without

 deletion or excision (except as qualified by Instructions 4 and 5 above) regardless of whether you

 consider the entire document to be relevant or responsive to the requests.

        7.      The singular of any term includes the plural, the use of one gender or pronoun

 shall include all others, as appropriate in the context, and the disjunctive shall include the

 conjunctive, and vice versa. Construe the terms “and” and “or” as used in this document in the

 conjunctive and disjunctive so as to produce the broadest scope of documents pursuant to each

 request.

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            8.     The requests herein are continuing so that any additional documents responsive to

  the requests herein that you acquire or discover, up to and including the time of trial, shall be

  furnished through prompt supplemental responses as required by Fed. R. Civ. P. 26(e). This

  paragraph shall not be construed to alter your obligations to comply with all other instructions

  herein.

  III.      DOCUMENT REQUESTS

            REQUEST NO. 1:

            All Communications with WilmerHale in connection with, relating to, or arising out of the

 Engagement, including without limitation Communications relating to the attorney-client privilege,

 the common interest privilege, the joint defense privilege, or any waiver or potential waiver

 thereof.

            REQUEST NO. 2:
            All final or draft Communications with John Grosvenor in connection with, relating to, or

 arising out of the Engagement.

            REQUEST NO. 3:

            All Communications with any director of Banc in connection with, relating to, or

 arising out of the Engagement.

            REQUEST NO. 4:

            All memoranda regarding or reflecting allegations, claims, reports or concerns of

 potential or actual wrongdoing or misconduct at Banc prepared in connection with, relating

 to, or arising out of the Engagement.




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